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   Case Type    COURT OF APPEALS                                 Action:            APPEAL OF DEFENDANT
   Case Status: Closed                                           Status Date:       07131/1995
   File Date:   07131/1995                                       Cue Judge:         KOEHLER, RICHARD N
   DCMTrack:                                                     Next Event:


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                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                         APPENDIX - Page 2135
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                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                    CASE NO. 2:16-cv-00495
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                                                                                                         CA95 07 0124

                                         IN THE COURT OF COMMO~, p~ijAS                                          l.,.,...,l..._,,
                                              BUTLER COUNTY, ol-fi{)                                I) "\   1.
                                                                                       '31. ?~ .1'-
          STATE OF OHIO                                           )    ' 95 J\ll
                             '   -                                                                 Q(~
                                 fiLE~ In Court           of A        peal~ \. ~t>.R~ Sf>. \.lR\S
                 Respondent-App§~l, .• ER rn1 ,r.,...-v . Y)H!O "Lt.R¥.. Or CO
                                                                  )       ,... \1.   - -   - - ·
          -vs-                            /JUL 3 1 1995 )                 Case No . CR 83-I2 :o6J4' and

1:/
 /                                       LfklJB C011JJ1'9!! .Pl
          VON CLARK DAVIS, (;i_~W~'t~ ~~) OHI
                                                                        Cour               216 55
                                                                             EATH PENALTY CASE

/                Petitioner-Appellant.          JUL 3 l
                                            l    MARK BADEN
                                                    NOTieEEQfiQ\.PPEAL

                  Now comes Von Clark Davis, Appellant in the above-styled case, and hereby gives notice

          of his appeal from the final ENTRY OF DISMISSAL of petitions for post-conviction relief of

          the Butler County Common Pleas Court, entered on the 30th day of June 1995 to the Court of

          Appeals of Butler County, Ohio, Twelfth Appellate District.


                                                             Respectfully submitted,




                                                             L~~
                                                             Assistant State Public Defender

                                                             TRACEY LEONARD -0064013
                                                             Assistant State Public Defender

                                                             Ohio Public Defender Commission
                                                             8 East Long Street - 11th Floor
                                                             Columbus, Ohio 43266-0587
                                                             (614) 466-5394

                                                             COUNSEL FOR APPELLANT




                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                         CASE NO. 2:16-cv-00495
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                                                                        CA95 07 01.24

                                         CERTIFICATE OF SERVICE

                  I hereby certify that a true copy of the foregoing NOTICE OF APPEAL was forwarded

      by regular U.S. Mail to John F. Holcomb, Prosecuting Attorney, Butler County, Courthouse,

      Hamilton, Ohio 45011, on thi s'3.l.Jday of July, 1995.




                                                       L~
                                                       COUNSEL FOR RESPONDENT-APPELLEE


      #11757/gg




                                                                          VON CLARK DAVIS v. WARDEN
                                                                               CASE NO. 2:16-cv-00495
                                                                                APPENDIX - Page 2138
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                                     IN THE COMMON   PLTfA~{J~ :· ';.UTLER                COUNTY, OHIO
                                                          -   T~            Hf?    9 29
                                                          Ct,En'K. til: JADE II
                          STATE OF OHIO                        ' 8F COUR"f!'SE NO. CR83-12-0614
                                                                                   CASE NO. 21655
                                       Plaintiff-Respondent
                                                                                   ENTRY OF DISMISSAL

                            -vs-
                                                  F!lEO lfl Common P:leas Court                        .     ,.,        .
                          VON CLARK DAVIS            BUTlER COUNTY OHIO Final                 A~)f)P:>l:lhin u~tll'll
                                       Defendant-Peti "\;jijflh~   )995
                                                               :        June 29, 1995
                                                      T   MM~K Bh.Df'-N
                                                    cLERK oF coUtns
                          CASE NO. CR83-12-0614


                                  This matter came on before the Court as a R. C.                              2953.21

                          petition challenging Von Clark Davis's murder conviction in Case
                          Number    21655 and challenging his conviction and sentence of

                          death    in case No.    CR83-12-0614.             The State responded to both

                          petitions on October 15, 1993.             The State claimed the doctrine

                          of res     judicata   applied   to    27     of         the    28   causes of action,

                          excepting the Nineteenth Cause of Action.                        Petitioner responded

                          with a motion to strike the state's answer and with a Motion to

                          Dismiss on the basis that it is improper for the State to raise

                          the defense of res judicata in a post-conviction action.                                  The
JUDGE MATTHEW J. CREHAN
   Common Pie•• Court
                          State filed a memorandum in opposition to the defendant's motion
   Butler County,   Oh~
                          to strike.     The Court conducted a hearing on June 28, 1994.                            The

                          court denied the Petitioner's motion to strike and found that

                          res judicata barred all causes of action except the Nineteenth

                          Cause of Action.       (See Journal Entry dated November 1, 1994)

                                  Petitioner's Nineteenth Cause of Action claims a defect in

                          his conviction and sentence due to an ineffective jury waiver




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                                                                                               CRBJ-12-0614
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                          and election to be tried by a three-judge panel.                           Petitioner

                          alleges that he was not informed that Judges Stitsinger and

                          Moser    (2 members of the panel), as attorneys,                     prior to their

                          election to office as judges of the Butler County Common Pleas

                          Court, had represented the Federal National Mortgage Company in

                          a 1970 foreclosure action against defendant and his then, but

                          now deceased, wife Ernestine Davis.                    Petitioner claims had he

                          known these facts he would not have waived his right to trial by

                          jury.

                                  Petitioner in his affidavit, claims he was not aware of the

                          Judges'      involvement         in         the    foreclosure        action       until

                          approximately       July     1993.          This     Court,     finding     that   this

                          allegation     is       dehors   the    record,       conducted      an    evidentiary

                          hearing on January 11, 1995.                The issue to be determined at the

                          hearing was whether Judges Moser and Stitsinger's representation

                          of a mortgagee in a 1970 foreclosure action, with the Petitioner

                          as a defendant, of which no one had any recollection, unfairly

                          prejudiced    the       defendant      in    his     decision   to   waive     a   jury,

JUDGE MATTHEW J. CREHAN
                          requiring reversal of conviction and the death sentence.                           Post-
   Common Pleee Court
   Butler County, Ohio    evidentiary hearing briefs were filed by both the Petitioner and

                          Respondent.

                                  Judges' Moser and Stitsinger testified that in 1984 they
                          were    unaware     that    they      had     been    attorneys      representing      a

                          mortgagee     in    a     foreclosure        action     against      the   Petitioner

                          fourteen years earlier.                Even after the case was brought to

                                                                        2




                                                                                    VON CLARK DAVIS v. WARDEN
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                                                                                            CR83-12-0614
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                          their attention,        both Judges'          testified that they could not
                          recall the foreclosure action from the approximately 200-300

                          foreclosure      actions       circa     1969-1970         the       time    of     the

                          foreclosure in question.            (T.p. 27 & 45)       Both Judges testified

                          that    since they      were completely unaware            of    the    foreclosure

                          action against Petitioner, much less their participation, during

                          the     1984   and    1989    proceedings,       the    fact    of     their      brief
                          participation         fourteen     and    nineteen      years    earlier        played

                          absolutely no part "whatsoever" in their decisions.                         (T.p. 27-

                          28)     Indeed, Judge Moser opined that if anything, it would have

                          invoked a degree of compassion on his part for the defendant.

                          (T.p. 45)

                                  The Petitioner was informed in writing of who would be the

                          members of the three judge panel if he elected to waive the

                          jury.    He testified that at the time of the court proceedings in

                          1984    and    1989    he    was   unaware     that    Judge    Moser    and      Judge

                          Stitsinger were attorneys in the prior foreclosure.                         (T.p. 7   &

                          21) He now states that had he had that information, he would not

JUDGE MATTHEW J. CREHAN
                          have waived the jury.
   Common Pie•• Cour1
   Buller County, Ohio            Petitioner apparently reasons that he should be entitled to

                          post-trial withdrawal of his jury waiver, after conviction, if

                          he perceives some fact (relevant or not) which, if known at the

                          time of his waiver,           may have altered his decision.                   Similar

                          arguments have been rejected in State v. D'Ambrosio (1993), 67

                          Ohio St.3d 185, 189, State v. Dickerson (1989), 45 Ohio St.3d

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                                                                                  VON CLARK DAVIS v. WARDEN
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                                                                                                          CR83-12-0614
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                          206,   209-210,         and the supreme Court's decision in this very
                          case, State v. Davis (1992), 63 Ohio St.3d 44, 48-49.
                                 The    evidence           in        the   case       at     bar        shows     that    the
                          representation           of    Judge         stitsinger          (and    peripherally          Judge

                          Moser)    as attorneys for a mortgagee in a                                  foreclosure action

                          almost two decades earlier had no impact at all on the 1984 and
                          1989     proceedings.                 In    fact,       neither        the     Judges    nor     the
                          Petitioner were aware of their peripheral contact at the time of
                          the    1984       and     1989        proceedings.               The     foreclosure        itself
                          apparently        occurred        shortly           after    Petitioner          purchased       and
                          abandoned the property.

                                 In the absence of bias, prejudice, or other disqualifying

                          factors,      a        judge     is        not   automatically               disqualified       from
                          presiding         in     later        litigation,           even        if     that     litigation
                          tangentially concerns a legal matter handled by the Judge prior
                          to assuming the bench.                 In re Disqualification of Martin (1989),

                          43 Ohio St.3d 602.

                                 Whether there             is    a    valid waiver depends                 on the unique

JUDGE MATTHEW J. CREHAN
                          circumstances of each case, see State v. Ruppert (1978), 54 Ohio
   Common Pte•• Court
   Bu11•r County, Ohio    St.2d 263,        271, citing Adams v. United States ex rel. McCann

                          (1942), 317 u.s. 269, 281, 63 s.ct. 236, 87 L.E. 268, 274.                                        A

                          defendant seeking to set aside a jury waiver on the ground that
                          it was not freely and intelligently made must sustain the burden
                          of showing essential unfairness "not as a matter of speculation
                          but as a demonstrable reality." Adams, Id. at 281, 87 L.E. at

                                                                              4




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                                                                                           21655
                          268.     Petitioner suggests that there is a duty on the part of
                          the trial court to advise him of collateral facts such as were
                          involved      in the case sub judice.             The    law in Ohio is that

                          "[w]hile      it may be better         practice    for    the trial     judge to
                          enumerate all the possible implications of a waiver of a jury,

                          there is no error in failing to do so."                 State v. Jells (1990),
                          53 Ohio St.3d 22, 26.
                                  This court finds that neither Judge Stitsinger, nor Judge

                          Moser, nor the Petitioner were aware,              in 1984 or 1989, of the
                          Judges    indirect contact with the Defendant as a result of a
                          foreclosure action in 1970.             Such unknowing involvement could

                          have no possible        impact on the trial proceedings or on the

                          fairness of the sentence. By the same token the court does not
                          believe       the   statement   of     the   Petitioner       that   having    such
                          knowledge would have altered his decision to waive a                          jury.

                          Petitioner's self serving testimony to the contrary is simply
                          that.
                                  The    court   finds    that     there    was    no    infringement      of

JUDGE MATTHEW J. CREHAN
                          Petitioner's Constitutional rights so as to render the judgments
   Common Pleaa Cour1
   Butler County, Ohio    in this case to be void or voidable.                Petitioner's Nineteenth
                          cause of Action is dismissed.                The Court having granted the

                          motion of the State of Ohio to dismiss each of the causes of
                          action     enumerated     in    the    Petitioner's       petition    for     post-
                          conviction relief, in case number CR83-12-0614, the court hereby

                          dismisses the petitioner's motion for post-conviction relief.
                                                                   5




                                                                              VON CLARK DAVIS v. WARDEN
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                                                                                                  CR83-12-0614
                                                                                                  21655

                          CASE NO. 21655

                                 Defendant filed a motion requesting an evidentiary hearing

                          pursuant to R. c.        2953.21 alleging that the                    judgment in case

                          number 21655 is void or voidable.               Plaintiff's responded with an

                          answer and motion to dismiss defendant's petition for post-

                          conviction relief.

                                 Defendant was indicted for first degree murder pursuant to

                          R.C. 2901.01.      On April 20, 1971 he plead guilty to murder in

                          the    second   degree      in   violation          of    R.C.       2901.05.           He    was

                          convicted and sentenced on that charge.

                                 A judgment of conviction is void within the meaning of R.C.

                          2953.21    only     if      rendered     by     a        court       having       either       no

                          jurisdiction over the person of the defendant or no jurisdiction

                          of the subject matter.            state v. Perry (1967),                  10 Ohio st.2d

                          175.      Defendant's        petition         fails       to     allege       a     lack       of

                          jurisdiction over the defendant or subject matter, therefore the

                          judgment cannot be void as a matter of law.

                                 A judgment      of    conviction       is voidable             under       the   United

JUDGE MATTHEW J. CREHAN
                          States    or    Ohio     Constitutions,        within          the    meaning       of       R.c.
   Common PI••• Court
   Butler County, Ohio    2953.21, if the constitutional claim of the defendant in post-

                          conviction proceedings           is    such that          it could not have been

                          litigated before the judgment of conviction and hence could not

                          reasonably be said to have been either waived by the Defendant

                          or adjudicated against him.             See Perry at 179-180.

                                 The petition alleges,           and the record reflects,                     that the

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                                                                                          CR83-12-0614
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                         Defendant,       represented by counsel,            entered a    guilty plea to

                         Murder in the Second Degree in violation of R.C. 2901.05, after

                         the commencement of trial and after the Prosecuting Attorney

                         entered     a    Nolle    Prosequi     to     the    words     "deliberate"     and

                         "premeditated"       in an     indictment      for   the greater      offense    of
                         Murder in the First Degree in violation of R.C. 2901.01.                  Murder

                         in the Second Degree is a purposeful killing of another but
                         committed in the absence of premeditation or deliberation.                       It

                         is a   lesser included offense of Murder in the First Degree.

                         State v. Muskus (1952), 158 Ohio st. 276.
                                Defendant's       post-conviction       petition      merely    seeks     to
                         relitigate the substantive issue of his guilt of a purposeful

                         killing.        This issue was resolved in his conviction which was
                         based upon a guilty plea.            Any issue as to the sufficiency of

                         facts necessary to prove his guilt was clearly waived when he

                         plead guilty; he could have litigated such issue at a trial but

                         did not.        Under the doctrine of res judicata,             such a claim is

                         merged with the judgment of conviction based upon the guilty

JUDGE MAnHEW J. CREHAN
                         plea and Defendant cannot now relitigate the issue.                     State v.
   Com"'on Pie•• Cour1
   Butler County, Ohio   Ishmail (1981), 67 Ohio st.2d 16, 18, 21.
                                A   petition      for   post-conviction        relief     is   subject    to

                         dismissal without a hearing when the Petitioner fails to submit

                         with his petition evidentiary material setting forth sufficient

                         operative facts to demonstrate substantive grounds for relief.

                         R.C.   2953.21(C); State v.          Sowell    (1991),   73 Ohio App.3d 672,

                                                                 7


                                                         J y ~t) p _. ~_·{1
                                                                                VON CLARK DAVIS v. WARDEN
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                                                                                                 CR83-12-0614
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                          682; State v. Pankey (1981), 68 Ohio St.2d 58.                         The Petitioner

                          has failed to submit any such information.
                               The petition's claim for post-conviction relief is based

                          solely on the recanting of trial testimony by Robert Beard.

                          Having   reviewed       all   the    available         court      records      and     the

                          applicable    law,   this     court        finds     that     such   allegedly        "new

                          evidence" does not rise to the level of "substantive grounds"

                          for a finding a denial or infringement of Petitioner's rights

                          under the Ohio Constitution or the Constitution of the United

                          States. (R.C. 2953.21)
                               Even    if   the    court      were       to   somehow     find    that     Beard's

                          recantation is a substantive ground, the Defendant's petition is

                          barred by the defense of res judicata.                  on      April      14,       1981,

                          Petitioner filed a motion for leave to file for a new trial and

                          for an oral hearing on the basis of the same letter written by

                          Robert Beard which is the subject of the present motion.                               The

                          motion was denied by entry filed on April 22, 1981 and was not

                          appealed.

JUDGE MATTHEW J. CREHAN
                               Under the doctrine of res judicata, a final judgment
   Common Pleas Court          of conviction bars a convicted defendant who was
   BuUer County, Ohio          represented by counsel from raising and litigating in
                               any proceeding except an appeal from that judgment,
                               any defense or any claimed lack of due process that
                               was raised or could have been raised by the defendant
                               at trial,    which resulted in that judgment or
                               conviction, or on an appeal from that judgment.

                          State v. Perry (1967), 10 Ohio st.2d 175, 180.

                          The Petitioner could have appealed the decision denying the


                                                                     8




                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 2146
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 13 of 235 PAGEID #: 2181




                                                                                            CR83-12-0614
                                                                                            21655

                          motion for leave to file for a new trial, but did not.

                                 The law in Ohio as to the defense of res judicata in a

                          post-conviction action has a long history.                 Recently in state v.

                          Lentz (1994), 70 Ohio st.3d 527, 529, the Supreme Court of Ohio

                          referred to its holding in Perry and found res judicata to be a

                          proper basis upon which to dismiss, without hearing, a petition

                          for post-conviction relief.              This Court, therefore, finds that

                          the doctrine of res judicata is a bar to this post-conviction

                          action.

                                 For    the   foregoing      reasons    this    Court   finds   Petitioner

                          failed to produce, in the petition, substantive grounds to grant

                          an    evidentiary       hearing     as   required     by   R.C.    2953.21.   The

                          Petitioner's petition for a hearing is denied and the motion of

                          the State of Ohio to dismiss the petition for post-conviction

                          relief is granted.


                                    FILED 111 Common Pleas Court
                                       BUTLER COUNTY OHIO
                                          JUN 3 0 1995

JUDGE MATTHEW J. CREHAN
                                        T. MARK BADEN
   Common Pleas Court     cc:   JoAtin~SlfacJ;OI;j:llj'".S                     John F. Holcomb, Esq.
   Butler County, Ohio          Ohio Public Defender Commission                Prosecuting Attorney
                                8 East Long street, 11th Floor                 216 Society Bank Building
                                Columbus, Ohio 43215-2998                      Hamilton, Ohio 45011




                                                                    9




                                                                                VON CLARK DAVIS v. WARDEN
                                                                                     CASE NO. 2:16-cv-00495
                                                                                      APPENDIX - Page 2147
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 14 of 235 PAGEID #: 2182




                                                                                 CA95 07 0124
                                      IN THE COURT OF COMMON PLEAS
                                           BUTbtfuFOUNTY , OHIO
                                                                                               fMAGi:r
      STATE OF OHIO,
                                      ' 95 JUL 31    I'~ lZ '12
             Respondent-Appellee,          T MAR\\ B~O E H
                               ,... . -·    ·   nf ooUR1S
      -vs-                     Lt:L1 16Lt8ftrt o:~App~l~ N CR 83-12-0614 and
                               :· i
                             BUTLEF: COU~!T'f, Oitt~e o. 21655
                                                    )
      VON CLARK DAVIS,               ~J UL' ' 31 199   DEATH PENALTY CASE
                                                    )
          Petitioner-Appellant. T . MJ1. R K 8 A Of. N
                                  CLERK
                                                    PRAECIPE

      TO THE CLERK OF COURTS:

              Immediately prepare and assemble the original papers and exhibits thereto filed in this

      court at both the trial level and during post-conviction proceedings in Case Nos. CR83-12-0614

      and 21655 and a certified copy of the docket and journal entries. The complete transcript of

      proceedings filed in Case Nos. CR83-12-0614 and 21655 should be included in the record ofthis

      appeal. Once prepared and assembled, please transmit all documents to the Clerk of the Court of

      Appeals to file as the record on appeal.

                                                     Respectfully submitted,



                                                      ~~
                                                     L DA E. PRUCHA - 0040689
                                                     Assistant State Public Defender

                                                     TRACEY LEONARD- 0064013
                                                     Assistant State Public Defender

                                                     Ohio Public Defender Commission
                                                     8 East Long Street - 11th Floor
                                                     Columbus, Ohio 43266-0587
                                                     (614) 466-5394

                                                     COUNSEL FOR APPELLANT




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 2148
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 15 of 235 PAGEID #: 2183




                                                                             CA95 07 01.24
                                                                                             IMA.   :o
                                           CERTIFICATE OF SERVICE

                   I hereby certify that a true copy of the foregoing PRAECIPE was forwarded by regular

      U.S. Mail to John F. Holcomb, Prosecuting Attorney, Butler County, Courthouse, Hamilton,

      Ohio 45011, on this      ~ay of July, 1995.


                                                           o<~~
                                                         LINDA E. PRUCHA - 0040689
                                                         COUNSEL FOR RESPONDENT -APPELLEE


      # 11760/gg




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 2149
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 16 of 235 PAGEID #: 2184



                                                           TRIAL COURT NO  .. CR83-12-0614
                                                                        .. - . 21655
                                                           TRIAL JUDGE               Judg"e Matthew Crehan


                            CRIMINAL DOCKET STATEMENT                                         I

                     Parties:                               FlLEO            Counsel:*
    Von Clark Davis
                                                  '95 JUL 3 arne & Supreme Court Re~tration No.)
                                    _Uhiq~~blic Defender Commission
    --------.y.;'-~·~"r"T"--- T. MA I-<S' MJ-t• ~onl! St.. 11th Floor
                               I   a' LEO Ir.   Court Qk~ R K /Of,~Q~Yij s
                                    UTLER       cou "'A'P ~a s
                                                    NTY,    o,st   umbus, Ohi o   43215-2998
   --------------
              UL' 31 9 S                 1                   ._                      _______ ___
                                                               ( 614) 466-5-394
                                     1-· .VMF{R BA
    Plaintiff-Appellant/ Appellee=:LER K              DEN     (Telephone Number)
      (Ctrcle designation)

                         vs.                                                      vs.
    State of Ohio                                             John F. Holcomb - 0001499
                                                              (Name & Supreme Court Registration No.)
                                                              Butler County Courthouse
                                                             (Address)
                                                              216 Society Bank Building
                                                              Hamilton, Ohio 45011

                                                              (513) 887-3474
   Defendant-Appellant/ Appellee                             (Telephone Number)
    (Circle designation)
                                                                                          I

     1. This appeal should be assigned to:               I-

        A The Regular Calendar - with -Full Briefmg for the Reasons
                                                                                          !
             Checked:
             __ Transcript is more than 100 pages
             _x_Brief in excess of 15 pages is necessary to argue the issues
                 adequately, or more than 15 days will be required to file
                 the brief
             __ Appeal concerns uniq~e issues of law which will be pf sub-
                 stantial precedential value in determination of similar cases
             ___ Other-=-=-----------------------------------
  - •Please list at least one representative for each party to the appeal. If a party will be represented
   by more than one counsel, designate which counsel is to be primarily responsible for prosecuting
   the appeal and receiving notices and pleadings from the court and all other parties. See
   Loc. R. 9(A).


                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 2150
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 17 of 235 PAGEID #: 2185

              B. 'Ute Acl'eteraied CaLendar ior tue ueasons U1ecKeu: ·...        .,.
                 _     No transcript required                         . ,
                 __ Transcript consists of less than 100 pages, or is of such
                      _length that preparation time will not be a source of delay
                 __ Agreed statement will be submitted in lieu of record within
                       20 days
                 __ Record was made in an administrative hearing and was
                      filed with the trial court
                 __ All parties 'to 't'he :appeal. agr-ee to an assignment to the
                       accelerated calendar, and agree to comply with filing
                       requirements of Loc. R. 6
                 __ O t h e r : - - - - - - - - - - - - - - - - - - -


         ~: ~= ~~~;::1 :::no:;;~~~:~r::!?a;peal by ~rial~~~~?a;s ~g
                                    1
                                                                                                                                    u•




         4. Will request for appointment of counsel be made
            to this court?                                                                                       YES
         5. Was Motion for Bond or Stay of Execution made in
            the tria} court? Mot;i.on     made in and granted by
                               Ohio Supreme Court                                                                                    NO
         6. If so, was the motion granted?                                                                                           NO
         7. 0 ffense COnvicted 0 f: A,£g~r~a~va~t:.!!e:£d.JM~u!f:r£!de~r:fuha~vdi!!JnLi!a....ll1S:.;mOIL.Idl.iiJ:e:::m:i:aeJ:....a....d.i.sab i l i t y
         8. Length of sentence: Appellant-defendant was sentenced to death

         9. Probable issues for review:                             See post-conviction brief' filed 10/8/93 in the
              Butler County Court of Common Pleas/failure to grant relief on claims and
              failure to grant evidentiary hearing on majority of claims.



        10. Will a transcript of proceedings or App. R. 9(C) or (D)
             statement be necessary? (If not, see Loc. R. 5)                           ~ NO
        11. Has a transcript of proceedings been ordered?                                  ·· ·S         NO
        12. If so, designate parts ordered: Evidentiary hearing held
        13. Estimated length of transcript: ::.:58o:....r.p:::.Jago:,e;:;_s....:t:.:;o:..:;t~al~-:---:--:------
              .        d d         I           . Transcript has already been prepared and
        14 . Tillle nee e tO COmpete tranSCript: filed with Cammon Pleas Cgprt 1/30/95
        15. Time needed to file brief after transcript is filed: 60 days                    after complete
                                                                                     record f1led.
        16. List all related/pending appeals: _N~/"""A_ _ _ _ _ _ _ _ _ __

        17. Identify any special problems anticipated with this appeal: _ __




                                                                     Counsel's Signature

                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 2151
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 18 of 235 PAGEID #: 2186




                                                                                                                 fM ,..,...D
                                                      IN THE CObJfi.T OF APPEALS
                                                                                                         CA95 0? 0124
                                                  TWELFTH~PlfELL'\'lj~STRICT
                                                     BUTL~C~t~, OHIO
                                                      •tjS S~\..                ~')t\\
      VON CLARK DAVIS,                                               ~~~'h ~ ou~\S
                                                                '· '(..ore
               Appellant,                                      c\..t..~ :
                                  !-' iL..c0 In Col.l.rt of Appeals
                                            ~n
                                     BUT I_._,~.     COU~<1.JTV       OH 10
      -vs-                                                              : Case No. CR83-12-0614
                                              tJUL:·         £W ~            21655
      STATE OF OHIO,                                         BIJTLEi~~~~1eas Court
                                         T. MARK BADEN .                        · '   OHIO
               Appellee.                 CLERK     JUL                      1
                                                             -r MARK         BADE
                                                       AFFIDAVJT OR:INQ!w NCY
                    ,,     ,,~   JL
               I, v)f.'Yt IJ..A~.'/~ do solemnly swear that I presently this                          ·'"·tiL day of
                                                                                                     /t(

          ~~a
             ~j~,
                }
                                 '   1995, no means of financial support and no assets of any value and therefore

      carulot afford to pay for any legal services, fees or costs on my behalf in the above-styled case;

      that I am presently incarcerated at the Mansfield Correctional Facility; and that I have

      $_---1-/__.C,;..<....:..,_.L.:;_'.lc_'>_ _ income per month.



                                                                        Signature


                                                                                         ~L
              BE IT REMEMBERED that on the i}!'-ctay of

      subscribed, a Notary Public, personally

      finding thereof to be his voluntary act.
                                                                                      , ::o
                                                                 came~c;vel; \)is,v'\4,"' .e.
                                                                                                        , 1995, before me the

                                                                                                     , and acknowledged the




              IN TESTIMONY WHEREOF, I have hereunto subscribed my name and affixed my

      official notary seal on the day and year last aforesaid.




                                                                            0 A YPUBLIC
                                                                                               JACQUELINE L. VISINTINE
                                                                                              N~TARY PUBLIC, STATE OF 0+4LO
                                                                                             My commisiion Expires Apr. 5, 2000




                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 2152
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 19 of 235 PAGEID #: 2187


                        CRIMINAL     APPEA~ANCl    AND EXECUTION DOCKEl
    ==;;;~~=~;=~;;~===~==========;;;~~~~~~llf.o=~=======;;;;~=~;=~~;~======== ~:==~=========
    ==~===============;=========~ t~= ~~ ==~ == ~ = ~=s~ ===================================
                                  ~ ,) nuu ~    r111 ~ •J
    STATE OF OHIO             JOHN HO LCOMB        JlkEO            COMMON PLEAS CO URT ,   Zlh~s-
                                          T.     1\ ~<' J! DEN      BUTLER CO           '
          vs                           '9S'ltlltP ~F RPJU R..T Mt.!oER        \to~ _cA95       o? o124

    VON CLARK DAVIS          LINDA
                                            ·~    'A .., LlAD \Jt
                                      PRUCHt;f:~K:~-
                                                                          "    O~O
                                                                              CED Dl/05/1971

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           PLEADINGS FILED, WRITS ISSUED, WRI TS            RETURN~~~                  EN TRIES
    :::::::::::::::::::::::::::: :::: : : ::: :: : :: : ::: ~ ~ - -= = : : : :: : ::: : : :: ::::::::::::::::::



        1/5/71        1.COPY OF INDICTMENT ISSUED TO SHERIFF
        1/12/71       2.DEFT ARRAIGNED PLEADS NOT GUILTY
        2/9/71        3.MOTION TO TAKE DEPOSITION FILED
        3/5/71        4.ENTRY ORDERING VENIRE TO BE ISSUED FILED CRAMER,J
        5/11/71       5.ENTRY ORDERING SHERIFF TO TRANSPORT DEFT FOR PSYCHOLOGICAL
                         TEST FILED CRAMER,J
         5/18/71      6.ENTRY ORDERING SHERIFF TO CONVEY DEFT FOR PYSHICIATRIC TEST
                         FILED,CRAMER,J
        5/18/71       ?.MOTION TO RELEASE EVIDENCE FILED
        5/18/71      8.MOTION FOR BILL OF PATICULARS FILED
        5/26/71      9.ENTRY ALLOWING ADDITIONAL PLEA OF NOT GUILTY BY REASON OF
                         INSANITY CRAMER,J
        5/26/71     10.MOTION FOR DEFT TO BE ALLOWED TO ENTER PLEA OF NOT GUILTY BY
                         REASON OF INSANITY FILED
        5/26/71     11.ENTRY AFFIRMING ROBERT J MCDEVITT,M D TO EXAMINE DEFT FILED
                         CRAMER,J
        4/2/71      12.ENTRY ORDERING SHERIFF TO CONVEY DEFT FILED CRAMER,J
        4/9/71      13.PSYCHIACTRIC REPORT OFROBERT J MCDEVITT,M D FILED
        4/12/71     14.ENTRY TO CONVEY DEFT FOR TESTS ON 4,13,71 FILED CRAMER,J
        4/13/71     15.ENTRY ORDERING PAYMENT TO DR ROBERT J MCDEVITT FILED CRAMER,J
        4/13/71     16.ENTRY OVERRULING MOTION FOR BILL OF PARTICULARS FILED CRAMER,J
        4/13/71     17.ENTRY FINDING DEFT OF SOUND MIND FILED CRAMER,J
        4/13/71     18.ENTRY OVERRULING MOTION TO DISCLOSE AND PRODUCE EVIDENCE
                         FILED CRAMER,J
        4/13/71     19.ENTRY WITHDRAWING PLEA OF GUILTY BY REASON OF INSANITY FILED
                         CRAMER,J
        4/20/71     20.NOLLI PROSEQUI ONLY TO WORDS CONSTITUTING FIRST DEGREE MURDER,
                         FILED
       4/20/71     21.ENTRY SENTENCING DEFT TO OHIO STATE PEN. FOR LIFE CRAMER,J
       4/14/81     22.MOTION FOR LEAVE TO FILE MOTION FOR A NEW TRIAL FILED
       4/14/81     23.ENTRY FOR ORAL HEARING ON MOTION 4/21/81 FILED STITSINGER,J
       4/14/81     24.LETTER FROM ROBERT BEARD FILED
       4/22/81     25.ENTRY OVERRULING MOTION FOR NEW TRIAL FILED STITSINGER,J




                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                      CASE NO. 2:16-cv-00495
                                                                                       APPENDIX - Page 2153
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                                                                      ~ '.~ .:·: .. -
                      COMMON PLEAS Court of Butler County, OHIO
CROO 02 1655                                                                            (Page   1)
                          CRIMINAL APPEARANCE AND EXECUTION DOCKET
===============================================================================
      TITLE OF CASE              ATTORNEYS         I STATE OF OHIO
=========================+=========================+===========================
                                                           COMMON PLEAS    Court
      STATE OF OHIO                                     Butler County    , ss.
            VS                                          Information for:
VON CLARK DAVIS              LINDA E PRUCHA             MURDER
                                                        Found and Filed 01/05/1971
                                  Judge                    Comments
                             MATTHEW J. CREHAN          CA95 07 0124
================================================================================
      Pleadings Filed, Writs Issued, Writs Returned and Copies of Return
+==============================================================================+
           Transcript filed from      DIRECT
           Charged with               MURDER
           Arrest or served date
           Bond amount set at             $0.00
           Municipal court fees           $0.00
           Constable fees                 $0.00
           Witness fees                   $0.00
================================================================================
Date of I Page I      Findings, Judgments, Orders and Decrees
========+======+====================================================+===========
10/12/93     0026   JOURNAL ENTRY OF RECUSAL REMOVING JUDGE SAGE FROM                        2.00
                    CASE FILED SAGE,J
                                             Journal 00311   Page 00227
10/12/93             [ Clerk's memo ] : SEE FILING DOCKET FOR PREVIOUS
                    FILINGS
10/15/93     0027   ASSIGNMENT OF JUDGE MOSER TO CASE FIELD ELLIOTT,J
                                             Journal 00311   Page 00228
10/15/93     0028   ANSWER AND MOTION TO DISMISS DEFT'S PETITION FOR
                    POSTCONVICTION RELIEF FILED
10/18/93     0029   ASSIGNMENT OF JUDGE CREHAN FROM JUDGE MOSER FILED
                    ELLIOTT,J
                                             Journal 00311   Page 00575
10/20/93     0030   MOTION & MEMORANDUM TO RECUSE JOHN MOSER,JUDGE
                    FILED LINDA E PRUCHA,ATTY
03/14/94     0031   ORDER SETTING CONFERENCE FOR 3/30/94 AT 4:00PM                           2.00
                    FILED CREHAN,J
                                             Journal 00349   Page 00573
04/11/94     0032   DEFT'S MOTION TO STRIKE AND MEMORANDUM IN SUPPORT
                    OF FILED/JOANN BOUR-STOKES AND LINDA E PRUCHA,ATTYS
07/31/95    0033    NOTICE OF APPEAL FILED cc:CA-Midd;Judge;CDS>file &                      25.00
                    by mail>attys\parties indicated as of record
                    FILED,LINDA E PRUCHA & TRACEY LEONARD,ASST ST
                    PUBLIC DEF,ATTYS
=== == ================================ ==== ===========================+===========
                                                             TOTAL                      I   29.00




                                                          VON CLARK DAVIS v. WARDEN
                                                               CASE NO. 2:16-cv-00495
                                                                APPENDIX - Page 2154
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 21 of 235 PAGEID #: 2189




                CASE NO.

                TITLE OF CASE
                                                               •
                                                      CR83-12-0614          F~~ ~ D

                                                                                                                    ACTION


                THE STATE OF                                                                   Holcomb              Butler County
                                                                                                                    s.s., Court of
                              vs.                                                                                   Common Pleas:
                                                                                                                    Indictment for:
                VON CLARK DAVIS                                                                                     Aggravated
                                                                                                                    Murder
                                                                                                                    and Having
                                                                                2 I                                 Weapons under
                                                                                                                    Disability
                                                                     T.   MARK SA BEN
                                                                                CLERI<
                PLEADINGS FILED, WRITS ISSUED, WRITS RETURNED AND COPIES OF RETURNED

                Transcript filed from Docket of Hamilton Municipal Court
                                                (83-CRA-3565 & 83-CR-A3539)
                Charge                          Aggravated Murder & Having Weapons
                                                while under disability
                Committed                                -
                Bond                            No Bond
                Municipal Court Fees            $37.00
                Justice's Fees
                Constables's Fees               $6.30
                Witness Fees
                                                                                                                         ....
                1984 Jan 06                                On the 6th day of Jan. 1984 I serve'd ·~\'--c't:!r't:t;:.t.!i~J1 7 .topy
                                                      ~
                                                           of the Summons in above entitled case upon t~                      ·
                                                          :defendant, by delivering Him Said Copy
                                                                               R. R. Walton, Sheriff
                                                                               R. Smith,     Deputy
                1984 Ma~~ On the 22nd day of May                                         1984 I served a certified copy
                  - ~  ~~ ' of Order/Exam in above                                       entitled case upon the
                            Butler County Forensic                                       Center
                                                By                                       Delivering to Him Said Copy
                                                                                                    Sheriff
                                                                                      R. Smith      Deputy
                                              , 11.
                                -·    ';" '       ._
                     . -· ·. . \}'.           a::J.-.. ~

'~ .,-;..-~
     ·~~· -·· ~·--.J~-.vAT~-
                ·
                  · >? . ~ ·
                             OF:                                   FINDINGS, JUDGMENTS, ORDERS AND DECREES
, .....~·.. ·
                1.'         1983                      Dec 22       Transcript, filed
                2/ 1983 Dec                               22       J373 P430 Entry regarding bond, filed
                3.          1984                      Jan 06       Prosecutor's request for summons, filed Summons,
                                                                   Copy of Indictment issued
                4./ 1984                              Jan 06       Notice to Supreme Court of Ohio of filing Agg.
                                                                   Murder with Specification, filed
                5.          1984                      Jan 06       Two copies of notice issued to Supreme Court
                                                                   of Ohio by Certified Mail

                                                                                                                 continued
--   '



                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 2155
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 22 of 235 PAGEID #: 2190




        CASE NO.       CR83-12-0614          -2-                    CA89-09-0123

        NO.      DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES


         6 .... 1984   Jan 11      Return Receipt of: Supreme Court of Ohio
                                   Signed: R. Eaton Date: 1-10-84
         7.     1984   Jan 13      J374 P209 Defendant arraigned, Pleads not
                                   guilty
         8:     1984   Jan   17    Motion to sever, filed
         9. /   1984   Jan   17    Motion for Bill of Particulars, filed
        10/     1984   Jan   17    Motion for change of Venue, filed
        11/     1984   Jan   17    Motion to view the scene, filed
        12/     1984   Jan   17    Motion to dismiss and inspect Grand Jury
                                   Transcript, filed
        13 _, - 1984   Jan 20      Memorandum in opposition to motion to sever
                                   counts, filed
        14/ 1984       Jan 20      Memorandum in opposition to motion to dismiss
                                   and inspect transcript, filed
        15./ 1984      Jan 20      Memorandum in opposition to motion for change
                                   of venue, filed
        16/     1984   Jan 26      J374 P761 Entry scheduling pre-trial hearing
                                   and continuing trial date for pre-trial
                                   motions 2-15-84m filed, Bruewer, J.
        17 / 1984      Jan 26      Memorandum in support of motion to sever, filed
        18."' 1984     Jan 26     Memorandum in support of motion for change of
                                   venue, filed
       19.      1984   Feb   01    Praecipe for witness, filed
       20.      1984   Feb   01    Subpoena issued
       21.      1984   Feb   01   Praecipe for witness, filed
       22.      1984   Feb   01   Subpoena issued
       23.      1984   Feb   01   Praecipe for witness, filed
       24./     1984   Feb   01   Subpoena issued
       25.      1984   Feb   01   Motion and memorandum for discoverv, filed
       26 t'/   1984   Feb   01   Motion and memorandum to Bifurcate' trial-
                                  Motion in Limine, filed.
       27.      1984   Feb 01     Motion to prohibit Death Qualification of the
                                  Jury and memorandum, filed
       28 /     1984   Feb 02     Praecipe for witness, filed
       29.      1984   Feb 02     Subpoena issued
       30 /     1984   Feb 03     Memorandum in opposition to motion limine
                                  RE: Death Qualification of Jurors, filed
       31/ 1984        Feb 08     State's answer to Defendant's request for
                                  discovery, filed
       32. 1984        Feb 08     Motion to provide discovery,filed
       33/ 1984        Feb 08     J375 P250 Order to provide discovery, filed,
                                  Bruewer, J.
       34. r 1984      Feb 09     Bill of Particulars, filed
       35. 1984        Feb 13     Return Receipt of: Dick Perry, Cincinnati
                                  Post Signed: Glenn Blade Date: 2-7-84
                                                                continued




                                                            VON CLARK DAVIS v. WARDEN
                                                                 CASE NO. 2:16-cv-00495
                                                                  APPENDIX - Page 2156
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         CASE NO.         CR83-12-0614          -3-                    CA89-09-0123

         NO.        DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES


         36.       1984   Feb 13      Return Receipt of: Karla Stanley, WCPL
                                      Signed: G.R. Thomas Date:2-8-84
         37.' 1984        Feb 14      Motion to Appoint counsel, filed
         38,/ 19~4        Feb 14      Affidavit of Von Clark Davis, filed
         39. 19~4         Feb 14      J375 P435 Entry appointing M. Shanks as
                                      attorney, Bruewer, J.
         40.       1984   Feb 14      J3 7 5 P435 Entry appointing John Garretson
                                      as attorney, Bruewer, J.
         41.       1984   Feb 15      J375 P468 Certificate of witness fee for
                                      transportation, Moser, J.
         42.       1984   Feb 24     J375 P808 Entry setting trial date of 5-9-84
                                     Defendant having waived rights to speedy
                                      trial, and vacating 2-23-84 trial date,
               /                     Bruewer, J.    r
         43.       1984   Feb 24     J375 P810 Entry orderi~g special venire
                                     pursuant O.R.C. 2945.18; 75 jurors 8-7-84 and
               /                     order for Sheriff's returns, Bruewer, J.
         44.       1984   Feb 24     J375 P809 Entry ordering additional special
                                     venire pursuant O.R.C. 2945.19; 50 jurors,
                                     filed, Bruewer, J.
         45.;' 1984       Mar 05     Return copy of notice to Supreme Court(CC84-4)
         46 .... 1984     Mar 22     Return of venire, filed
         47/ 1984         Apr 20     J378 P223 Entry ordering additional special
                                     venire, Bruewer, J.
        48.        1984   Apr   20   Supplemental discovery, filed
        49/        1984   Apr   23   Praecipe for witness filed
        50,'       1984   Apr   23   Subpoena issued
        51/        1984   Apr   25   Defendant's response to plaintiff's request
                                     for discovery, filed
        52.~ 1984         Apr 26     Praecipe for witness files
        53./ 1984         Apr 26     Subpoena issued
        54. 1984          Apr 26     Amended response to plaintiff's request for
                                     discovery, filed
        55.        1984   Apr   27   Supplemental discovery, filed
        56...... 1984     Apr   27   Praecipe for witness, filed
        57/ 1984          Apr   27   Subpoena issued
        58./ 1984         Apr   27   Election of defendant pursuant Section
                                     2929.022 O.R.C. Concerning the specification
                                     of Aggravating circumstances, and to have
                                     motion in limine to preclude prosection's
                                     introduction of evidence or comment of
                                     defendant's prior conviction and to sever
                                     counts of indictment, filed
        59/        1984   Apr 27     Motion to have reasons for defense objections
                                     placed on record, filed
        60. ' 1984        Apr 27     Motion for notice of prospective three judge
                                     panel, filed
        61./ 1984         Apr 27     Motion for ruling on number of premetory
                                     challenges, filed
                                                                      continued




                                                              VON CLARK DAVIS v. WARDEN
                                                                   CASE NO. 2:16-cv-00495
                                                                    APPENDIX - Page 2157
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 24 of 235 PAGEID #: 2192




          CASE NO.          CR83-12-0614          -4-                    CA89-09-0123

          NO.         DATE OF:          FINDINGS, JUDGMENTS, ORDERS AND DECREES

          62./1984          Apr 27      Motion to record all proceedings, filed
          63 . . ~ 1984     Apr 27      Motion for pre-trial hearing, filed
          64 .. 1984        Apr 27      Motion to increase the burden of proof to
                                        beyond all doubt, filed
          65..-- 1984       Apr 27      Motion for pretrial disclosure of prosecuting
                                        witnesses written or recorded statements, filed
          66 (       1984   Apr 27      Motion to compel prosecutor to disclose death
                                        pe.nalty data filed
         67/ 1984           Apr 27      Motion to compel disclosure of prosecuting
                                        attorney's jury selection data
         68.         1984   Apr 27      Motion to require prosecutor to state reason
                /'                      for exercising premetory challenges, filed
         69.         1984   Apr 27      Motion for leave to file additional motions
                                        and for leave to supplement the memoranda in
             /'                         support of motions already filed
         70.         1984   Apr 27      Motion for all motions to heard on the record,
                                        filed
         71,/ 1984          Apr 27      Motion for sequestration of jurors for duration
                                        of trial, filed
         72.         1984   Apr 27      Further motion to prohibit death qualification
                                        of jury in the alternative to seal separate
                                        juries during the guilt and penalty phases of
                                        trial and supplemental memorandum thereon, filed
         73.         1984   Apr 27     Further memorandum in support of disclosure of
                                       Grand Jury testimony, filed
         74. / 1984         Apr 27     Motion for individual sequestered voir dire,
                                        filed
         75./ 1984          Apr   27   Motion to insulate the venire and jury, filed
         76.' 1984          Apr   27   Motion to dismiss, filed
         77.~ 1984          Apr   30   Praecipe for witness, filed
         78/ 1984           Apr   30   Subpoena issued
         79./ 1984          Apr   30   Motion in limine, filed
         80.1 1984          Apr   30   Motion for expert services, Dr. Roger Fisher,
                                       filed
         81...... 1984      Apr 30     J378 P580 Order for exam and Pmt. pursuant
                                       Chapter 120, Bruewer, J.
         82 ..... 1984      Apr 30     Motion and memorandum for order releasing
                                       records, filed
         83.; 1984          May 01     State's memorandum in response to motions of
                                       defendant, filed on April 27, 1984, filed
        84,/         1984   May 03     Motion for appointment of Psychologist or
                                       Psychiatrist from Butler County Forensic
                                       center and to remove Dr. Roger Fisher from
                                       participation in case, filed
        85 . . . - 1984     May 03     Motion to strike entry filed ex parte 4-30-84,
                                       for appointment of Roger H. Fisher and for
                                       clarification of his employment capacity by
                                       defendant, field

                                                                         continued




                                                                VON CLARK DAVIS v. WARDEN
                                                                     CASE NO. 2:16-cv-00495
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                                                          r.
                                                          )1..:;.


        CASE NO.         CR83-12-0614        -5-                            CA89-09-0123

        NO.       DATE OF:         FINDINGS, JUDGMENTS, ORDERS AND DECREES

        86./ 1984        May 04     Praecipe for witness, filed
        87, / 1984       May 04     Subpoena issued
        88./ 1984        May 04     J378 P794 Entry of rulings on defendant
                                    motions, filed, Bruewer, J.
        89.--· 1984      May 04     J378 P793 Waiver and election of judge deter-
                                    mination of aggravated specification, filed,
                                    Bruewer, J.
        90/ 1984         May 08     J378 P909 Jury waiver and election of three
                                    judge panel, filed, Bruewer, J.
        91./ 1984        May 08     Praecipe for witness, filed
        92 ...... 1984   May 08     Subpoena issued
        93 . . .- 1984   May 09    J379 P0007 Motion and entry appointing
                                    Vernon Lyons as process server, Moser, J.
        94r 1984         May 09    J370 P0009 Entry designating three judge
                                   panel, Black, J.
        95 .r 1984       May 09    Praecipe for witness filed
        96/ 1984         May 09    Subpoena issued
        97."' 1984       May 10    J379 P0060 Motion and entry appointing
                                   Vernon Lyons, filed, Bruewer, J.
        98./ 1984        May 10    J379 P0062 Clerk's transcript fee for indigent
                                   defendant, filed, issued
        99/    1984      May 10    J379 P0088 Certificate transportation cost,
                                   Bruewer, J.
        100:' 1984       May 14    Return Receipt of: Mr. Steven Dix Signed:
                                   Bernadine Durley Date: 5-7-84
        101."1984        May 14    Praecipe for witness filed
        102 ..11984      May 14    Subpoena issued
        103: 1984        May 16    J379 P260 Entry of findings, guilty (count
                                   one) aggravated murder, guilty as to spec-
                                   ification I of count one (prior murder)
                                   guilty as to specification II (firearm) and
                                   guilty as to having weapon under disability
                                   (count 2), Bruewer,J, Stitsinger,J, Moser, J.
                         Jun 22   J379 P503 Entry ordering presentence inves-
                                   tigation and psychiatric exam for mitigation
                                   in imposing death penalty to be provided by
                                  5-24-84, filed, Bruewer, J., Stitsinger, J.,
                                  Moser, J.
       104." 1984        May 25   Praecipe for witness, filed
       105 ... 1984      May 25   Subpoena issued
       106.'1984         Jun 04   J379 P828 Judgment conviction entry sentencing
                                  defendant to be converyed within 30 days to
                                  Southern Ohio Correctional Facility as Lucas
                                  Hills and that on the first day of October 1984
                                  defendant shall be electrocuted until dead by
                                  the Warden or deputy warden of said faciltiy
                                  and further ordered as to sentence upon the
                                  second specification a term of actual incar-
                                  ceration of 3 years pursuant Section 2929.71
                                  O.R.C. to served prior and consecutively with
                                  any other term of imprisonment imposed herein
                                  and further confined at S.O.C.F. for definite
                                  term of 1~ yrs. and pay cost, Judge panel


                                                                    VON CLARK DAVIS v. WARDEN
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        NO.    DATE OF:          FINDINGS, JUDGMENTS, ORDERS AND DECREES

        107./19~4     Jun 11      J3~0 Pll7   Opinion, filed, Bruewer, J.,
                                  Stitsinger, J., Moser, J,.
       108.   1984    Jun 11      J380 Pll8 Notice to Supreme Court of Ohio
                                  of sentencing as to death penalty imposition,
                                  filed, issued to Suprem Court of Ohio and
                                  Court of Appeals
       109/ 1984      Jun 12      J380 Pl54 Entry appointing Jack Garretson,
                                  Attorney filed, Bruewer, J.
       110./ 1984     Jun 12     J380 Pl55 Certificate of attorney fees, filed
                                  Bruewer, J.
       111./ 1984     Jun 13     Return Receipt of: Supreme Court of Ohio
                                  Signed: R. Eaton Date: 6-7-84
       112./ 1984     Jun 18     Notice of Appeal, filed, CA84-06-0070
       113/ 1984      Aug 01     Motion for transcript at State expense, filed
       114./ 1984     Aug 01     J383 P0003 Entry ordering transcript at State
                                 expense, filed, Bruewer, J.
       115./ 1984     Aug 16     Motion for stay of execution date, filed
       116/ 1984      Aug 16     J383 P473 Entry granting stay of execution
                                 date, filed, Bruewer, J.
              1984    Aug 16     Copy issued to S.O.C.F. record clerk by
                                 certified mail and attorneys.
              1984    Aug 16     Copy to Court of Appeals, Supreme Court of
                                 Ohio by certified
              1984   Aug 20      Return Receipt of: Wallace E. Stein - Record
                                 Clerk Signed: Wallace E. Stein Date: 8-17-84
              1984   Aug 20      Return Receipt of: Thomas L. Startzman
                                 Signed: R. Eaton Date: 8-17-84
       117.   1984   Sep 25      J383 P840,843 Entry for payment of transcript
                                 of trial proceedings, filed, Bruewer, J.
       118.   1984   Sep 26     J383 P841,842 Certificate of transcript fee for
                                 indigent
              1986   May   27   Mandate, filed - CA84-06-0070
       119/ 1986     May   27   Separate opinion/2929.05(A), filed
       120.f 1988    Sep   29    (Sep 14, 1986) Mandate-remanding
       121../ 1988   Sep   29   J31 P210,211 Judgment-reversing and remanding
                                death sentence and affirming judgment conviction,
                                Thomas J. Moyer-Chief Justice
       122/ 1988     Sep 29     Defendant's motion to return defendant for
                                sentencing and memorandum filed
      123./ 1988     Oct 05     J31 P476 Entry ordering new hearing on 10-14-~8
                                at 9:00 a.m. and ordering release to custody of
                                Butler County Sheriff from Luscasville, OH
                                Penal Institute to attend hearing filed, Moser, J.
      124 ./ 1988    Nov 04     J33 P0076 Entry ordering defendant's convey
                                to S.O.C.F., Bruewer, J.
      125/ 1989      Jan 19     Motion for scheduling of date for sentencing
                                hearing before a three judge panel.
      126.) 1989     Feb 06     J36 P663 Entry ordering hearing before Judges
                                Bruewer, Stitsinger and Moser, 2-24~89 at 8:45 a.m.
                                                                 continued




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         CASE NO.             CR83-12-0614            -7-                    CA89-09-0123

         NO.        DATE OF:               FINDINGS, JUDGMENTS, ORDERS AND DECREES

         12 7. ,. 1989         Feb 10       J37 P0032-35 Certificate of attorney fees,
                                            Bruewer, J. ($2,670.25)
         128. / 1989           May 09       Motion to extend time to file pre-trial motions
                                            and motion to continue sentencing mitigation
                                            hearing, filed
                    1989       Jun 05       Notice of hearing date, (Moser, Stitsinger and
                                            Bruewer) August 04, 1989
         129 ... ..... 1989    Jun 28       J42 P214 Entry attainting John Garretson;
                                            Mike Shanks and Time Evans as counsel, filed
                                            Stitsinger, J.
        130:'".    1989        Jun   29     Withdrawl of jury waiver
        131 .. ·   1989        Jun   29    Motion for life sentence, filed.
        132: '     1989        Jun   29    Motion to withdraw jury waiver
        133 .·     1989        Jul   21    Motion to strike defendant's withdrawl of
                                            jury waiver and memorandum
        134 . .. 1989          Jul 21      Motion for further psychological evaluation,
                                            appointment of a social worker to prepare a
                                           social history and for payment of extra-
                                           ordinary expenses for said experts
        135Y"'' 1989           Jul 21      Motion to prohibit three judge panel from
                                           resentencing to death and motion to disqualify
                                           panel
                   1989        Jul 25      Return Receipt on subpoena for: Sgt. Gordy Pull-
                                           man Signed: Gordy Pullman Date: 7-21-89
                   1989        Jul 25      Return Receipt on subpoena for: Oscar McGraw
                                           Signed: Oscar McGraw Date: 7-Zl-89
                   1989        Jul 25      Return Receipt on subpoena: Herb Wendler
                                           Signed: Erwin Wendler Date: 7-25-89
        136.       1989       Jul 24       J43 P534 Order-transport to hearing (on remand)
                                           Bruewer, J.
        137. / 1989           Jul 24      Motion to renew tretrial motions
        13M./ 1989            Jul 24      Motion to permit defense to admit all relevant
                                           evidence at the sentencing pleas
        139.' 1989            Jul 26      Memorandum in opposition to motion to prohibit
                                           three judge panel from re-sentencing to death
                                          and disqualify panel
        140 ...... 1989       Jul 26      J43 P664 Entry appointing Judge Bruewer to
                                          serve in the gereral division (trial division)
                                          in accordance with Rules of Court, Stitsinger, J.
        141/ 1989             Aug 01      J44 P0031 Entry as to motions heard 7-21-89,
                                          filed, Bruewer,J., Stitsinger, J., Moser, J.
                   1989       Aug 04      Return Receipt: Capt. Oscar McGraw Signed:
                                          Oscar McGraw Date: 7-27-89
                   1989       Aug 04      Return Receipt: Herb Wendler Signed:
                                          Erwin Wendler Date: 7-27-89
                   1989       Aug 04      Return Receipt: Sgt. Gordy Signed:
                                          Gordon Pullman Date: 7-27-89
       142./ 1989             Aug 07      J44 P230 Judgment Conviction entry-findings
                                          that affravating circumstances outweigh the
                                          mitigating factor by a proof beyond a reasonable
                                          doubt and sentence-to death(count one) and;
                                          order to the clerk to issued writ, Judge panel



                                                                    VON CLARK DAVIS v. WARDEN
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         NO.   DATE OF:       FINDINGS, JUDGMENTS, ORDERS AND DECREES


         143(1989    Aug 10   Opinion - J44 P388 (Finding that mitigating
                              factors outweighed by the circumstances).
        144/1989     Sep 06   Notice of Appeal - CA89-09-0123



                                                              COMPLETE




                                                         VON CLARK DAVIS v. WARDEN
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                              COMMON PLEAS Court of Butler County, OHIO
CR83 12 0614                                                                     (Page   1)
                                 CRIMINAL APPEARANCE AND EXECUTION DOCKET

===============================================================================
      TITLE OF CASE              ATTORNEYS         I STATE OF OHIO
=========================+=========================+===========================
                                    DANIEL G. EICHEL             COMMON PLEAS     Court
      STATE OF OHIO                                           Butler County     , ss.
                 vs                                           Information for:
VON CLARK DAVIS                     J.BOUR-STOKES/L.PRUCHA    AGGRAVATED MURDER
                                    SUPREME CT # 90-2524      Found and Filed 12/22/1983
                                         Judge                   Comments
                                    MATTHEW J. CREHAN         CA84060071/CA89090123
                                                              CA95 07 0124
================================================================================
      Pleadings Filed, Writs Issued, Writs Returned and Copies of Return
+==============================================================================+
           Transcript filed from
                                             SPECFN,
           Charged with
           Arrest or served date
           Bond amount set at                    $0.00
           Municipal court fees                  $0.00
           Constable fees                        $0.00
           Witness fees                          $0.00
================================================================================
Date of    I   Page   I         Findings, Judgments, Orders and Decrees
========+======+====================================================+===========
05/27/86                  MEMO :NUNC PRO TUNC ENTRY TO THIS DATE FILED 5/7/90
04/10/90                  PLEASE SEE DOCKET FOR PREVIOUS FILINGS
05/07/90       0145        APPOINTMENT OF ATTORNEY FOR INDIGENT DEFENDANT             2.00
                          (NUNC PRO TUNC 5/27/86) ,BRUEWER,J.
                                                   Journal 00026  Page 00042
10/29/90       0146       MANDATE FILED AFFIRMING CA89 09 0123                        2.00
03/30/92       0147       [ Clerk's memo ] : SUPREME CT.OH upheld (affirmed
                          12th District Decision) for DEATH PENALTY
                          CA89 09 0123
                          S.C.OH.# 90-2524
03/31/92       0148       [ Clerk's memo ] :
                          COPY OF SUPREME CT OF OH MANDATE AFIRMING &
                          UPHOLDING DEATH PENALTY FILED,
                          COPIES TO Grace White for issuance of Death Warrant
                          & certified copy of Mandate to institution/
                          &
                          copy to trial court file/CA-Midd & Moser,J
04/08/92                  ALL PAPERS RETURN FROM SUPREME COURT OF OH
05/19/92                   [ Clerk's memo ] : DATE OF SCHEDULED EXECUTION
10/08/93       0149       EVIDENTIARY HERING REQUSTED ; PETITION TO VACATE OR
                          SET ASIDE SENTENCE: R.C. 2953.21 FILED BY ATTY
                          JOANN BOUR-STOKES & LINDA E PRUCHA FOR DEFENDANT
10/08/93       0150       EVIDENTIARY HEARING REQUESTED; PETITION TO VACATE
                          OR SET ASIDE SENTENCE; R.C.2953.21 FILED BY ATTY
                          JOANN BOUR-STOKES/LINDA E PRUCHA FOR DEFENDANT
                           (EXHIBITS ATTACHED)
10/18/93       0151       ASSIGNMENT OF JUDGE CREHAN FROM JUDGE MOSER FILED




                                                                 VON CLARK DAVIS v. WARDEN
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                                                                       APPENDIX - Page 2163
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                       COMMON PLEAS Court of Butler County, OHIO
CR83 12 0614                                                               (Page   2)
                           CRIMINAL APPEARANCE AND EXECUTION DOCKET
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      TITLE OF CASE              ATTORNEYS         I STATE OF OHIO
=========================+=========================+===========================
                              DANIEL G. EICHEL             COMMON PLEAS     Court
      STATE OF OHIO                                     Butler County     , ss.
               vs                                       Information for:
VON CLARK DAVIS               J.BOUR-STOKES/L.PRUCHA    AGGRAVATED MURDER
                              SUPREME CT # 90-2524      Found and Filed 12/22/1983
                                   Judge                   Comments
                              MATTHEW J. CREHAN         CA84060071/CA89090123
                                                        CA95 07 0124
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Date of I Page I      Findings, Judgments, Orders and Decrees
========+======+====================================================+===========
                      (Con't from previous page)
                     ELLIOTT,J
                                              Journal 00311   Page 00576
10/18/93   0152      ANSWER AND MOTION TO DISMISS DEFT'S PETITION FOR
                     POSTCONVICTION RELIEF FILED
10/20/93   0153      DEFT'S MOTION FOR JUDGE MOSER TO RECUSE HIMSELF
                     FILED
03/14/94   0154      ORDER SETTING CONFERENCE FOR 3/30/94 AT 4:00PM            2.00
                     FILED CREHAN,J
                                              Journal 00349   Page 00573
03/30/94   0155      STATE'S MOTION FOR LEAVE TO FILE ADDITIONAL PAGE OF
                     THE STATE'S MEMORANDUM IN SUPPORT OF MOTION TO
                    /DIMISS FILED/DAN EICHEL,ATTY
04/04/94   0156      JOURNAL ENTRY SETTING DATE FOR ORAL ARGUMENT SET:         4.00
                     6/24/94 9:00 AM FILED CREHAN,J
                                              Journal 00355  Page 00559
04/07/94   0157,     AMENDED ENTRY SETTING DATE FOR ORAL ARGUMENT FILED        4.00
                     CREHAN,J
                                              Journal 00356  Page 00637
04/11/94   0158      DEFT'S MOTION TO STRIKE AND MEMORANDUM FILED/JOANN
                     BOUR-STOKES AND L PRUCHA,ATTYS
04/12/94   0159      MEMORANDUM IN OPPOSITION TO DEFENDANT'S MOTION TO
                     STRIKE FILED BY ATTY DAN EICHEL
07/12/94   0160 '    SUPPLEMENTAL MEMORANDUM FILED
11/01/94   0161'     ENTRY RE: DEFTS MOTION FOR POST CONVICTION               16.00
                     RELIEF;MOTION TO STRIKE AND SETTING DATE FOR
                     EVIDENTIARY HEARING 11/23/94 FILED,CREHAN,J (DAVIS)
                                              Journal 00411  Page 00508
11/16/94   0162      HEARING ON PETITION FOR POST-CONVICTION RELIEF SET
                     12-20-94 1:15 FILED ASSIGNMENT COMMISSIONER CINDY
                     BAKER
12/05/94   0163'     DEFENDANT'S FIRST SET OF INTERROGATORIES TO
                     PLAINTIFF FILED JOANN M JOLSTAD, LINDA E PRUCHA OH
                     PUBLIC DEFENDER
12/05/94   0164      MOTION TO SECURE ATTENDANCE OF VON CLARK DAVIS AT
                     POST-CONVICITON EVIDENTIARY HEARING FILED JOANN M
                     JOLSTAD, OH PUBLIC DEFENDER FOR VON CLARK DAVIS
12/05/94             PRECIPE FILED SUBPOENA ISSUED TO HON. JOHN R.             4.00




                                                          VON CLARK DAVIS v. WARDEN
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                          COMMON PLEAS Court of Butler County, OHIO
CR83 12 0614
                             CRIMINAL APPEARANCE AND EXECUTION DOCKET
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      TITLE OF CASE              ATTORNEYS         I STATE OF OHIO
=========================+=========================+===========================
                                DANIEL G. EICHEL             COMMON PLEAS     Court
      STATE OF OHIO                                       Butler County     , ss.
            VS                                            Information for:
VON CLARK DAVIS                 J.BOUR-STOKES/L.PRUCHA    AGGRAVATED MURDER
                                SUPREME CT # 90-2524      Found and Filed 12/22/1983
                                     Judge                   Comments
                                MATTHEW J. CREHAN         CA84060071/CA89090123
                                                          CA95 07 0124
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Date of    I   Page   I     Findings, Judgments, Orders and Decrees
========+======+====================================================+===========
                      (Con't from previous page)
                     MOSER, HON. WILLIAM R. STITSINGER ON DECEMBER 5,
                     1994 BY JOHN F. HOLCOMB, PROS. ATTY.
12/07/94       0165  ORDER: WARRANT TO CONVEY PRISONER FOR POST                  2.00
                     CONVICTION HEARING R.C. 2953.22 FILED SAGE,J FOR
                     CREHAN,J (VON CLARK DAVIS)
                                              Journal 00420  Page 00688
12/09/94             RETURN:PERSONAL SERVICE OF SUBPOENA UPON : TO HON.
                     JOHN R. MOSER ON DECEMBER 9, 1994 BY JIM FARQUIS,
                     PROCESS SERVER
12/14/94       0166~ ORDER VACATING WARRANT TO CONVEY PRISONER AND               2.00
                     RESCHEDULING HEARING DATE UNTIL 1-11-95 10LOOAM
                     FILED CREHAN,J
                                              Journal 00422  Page 00343
01/05/95       0167  ORDER: warrant to convey prisoner for                       2.00
                     postconviction hearing filed SAGE,J FOR MATTHEW J
                     CREHAN (VON CLARK DAVIS)
                                              Journal 00428  Page 00629
01/06/95             PRECIPE FILED SUBPOENA ISSUED TO HON. WILLIAM R.            4.00
                     STITSINGER, HON. JOHN R. MOSER ON JANUARY 6, 1995
                     BY JOHN F. HOLCOMB, ATTY.
01/06/95             RETURN:PERSONAL SERVICE OF SUBPOENA UPON : TO HON
                     WILLIAM R. STITSINGER ON JANUARY 6, 1995 BY PROCESS
                     SERVER
01/06/95             RETURN:PERSONAL SERVICE OF SUBPOENA UPON : TO HON.
                     JOHN R. MOSER ON JANUARY 6, 1995 BY PROCESS SERVER
01/12/95       0168  JOURNAL ENTRY : ORDER TO RETURN DEFENDANT TO                2.00
                     SOUTHERN OH CORRECTIONAL FACILITY FILED CREHAN,J
                                              Journal 00430  Page 00259
01/25/95       0169  JOURNAL ENTRY STATEMENT FROM SHIRLEY ROESCH TO              2.00
                     PROSECUTOR'S OFFICE $72.50 FILED CREHAN,J
                                              Journal 00433  Page 00196
01/25/95       0170  ORDER FOR PAYMENT/CLERK'S TRANSCRIPT FEE\Ct.Reprtr          2.00
                     SHIRLEY ROESCH $72.50 FILED CREHAN,J
                                              Journal 00433  Page 00197
01/30/95       0171  *TRANSCRIPT OF POST CONVICTION RELIEF HEARING FILED
                     SHIRLEY ROESCH,COURT REPORTER
01/30/95       0172  EXHIBIT FILED BY COURT REPORTER SHIRLEY ROESCH




                                                            VON CLARK DAVIS v. WARDEN
                                                                 CASE NO. 2:16-cv-00495
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                      COMMON PLEAS Court of Butler County, OHIO
CR83 12 0614                                                                 (Page     4)
                         CRIMINAL APPEARANCE AND EXECUTION DOCKET

      TITLE OF CASE                ATTORNEYS           I    STATE OF OHIO
=========================+=========================+===========================
                            DANIEL G. EICHEL                  COMMON PLEAS     Court
      STATE OF OHIO                                        Butler County     , ss.
               vs                                          Information for:
VON CLARK DAVIS             J.BOUR-STOKES/L.PRUCHA         AGGRAVATED MURDER
                            SUPREME CT # 90-2524           Found and Filed 12/22/1983
                                 Judge                        Comments
                            MATTHEW J. CREHAN              CA84060071/CA89090123
                                                           CA95 07 0124
================================================================================
Date of I Page I      Findings, Judgments, Orders and Decrees
========+======+====================================================+===========
01/30/95   0173~  CERTIFICATE \ TRANSCRIPT FEES ,filed (amount                       2.00
                  +$2. in line 3) (certifed copies>Auditor) $217.50 TO
                  SHIRLEY ROESCH,COURT REPORTER FILED CREHAN,J
                                           Journal 00434    Page 00101
01/30/95   0174   ORDER FOR PAYMENT/CLERK'S TRANSCRIPT FEE\Ct.Reprtr                 2.00
                  $217.50 TO SHIRELEY ROESCH,COURT REPORTER FILED
                  CREHAN,J
                                           Journal 00434    Page 00102
02/21/95   0175.) POST EVIDENTIARY HEARING BRIEF FILED
02/22/95          SHERIFFS RETURN OF PERSONAL SERVICE OF ENTRY UPON:              60.45
                  VON CLARK DAVIS DATE:    01-10-95 BY BCSD
02/28/95          SHERIFFS RETURN OF PERSONAL SERVICE OF ENTRY UPON:
                  VON CLARK DAVIS DATE:    02-11-95 BY BCSD (PER JAIL
                  ALREADY)
03/02/95   0176   STATE'S MEMORANDUM IN RESPONSE FILED
03/15/95   0177   POST-EVIDENTIARY HEARING REPLY BRIEF FILED JOANN
                  JOLSTAD, LINDA E PRUCHA, ATTYS FOR VON CLARK DAVIS
06/30/95   0178   FINAL APPEALABLE ORDER DISMISSAL ENTRY;
                  PETITIONER'S PETITION FOR A HEARING IS DENIED AND
                  THE MOTION OF THE STATE OF OHIO TO DISMISS THE
                  PETITION FOR POST-CONVICTION RELIEF IS GRANTED
                  FILED CREHAN,J
                                           Journal 00480    Page 00581
07/31/95   0179   NOTICE OF APPEAL FILED/CA95 07 0124                             25.00
                  cc:CA-Midd;Judge;CDS>file & by mail>attys\parties
                  indicated as of record BY LINDA E PRUCHA & TRACEY
                  LEONARD,ASST ST PUBLIC DEFENDER,ATTYS
====================================================================+===========
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                                                             VON CLARK DAVIS v. WARDEN
                                                                  CASE NO. 2:16-cv-00495
                                                                   APPENDIX - Page 2166
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 33 of 235 PAGEID #: 2201




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                                             \..:._ L 1=._I"
      STATE OF OHIO,

             Respondent-Appellee,

      -vs-                                                                Case No. CR 83-12-0614 and
                                                                                   21655
      VON CLARK DAVIS,

             Petitioner-Appellant.

                                     MOTION TO FILE BRIEF IN EXCESS
                                          OF TWENTY PAGES


             Now comes Appellant Von Clark Davis, through counsel, and moves this Court pursuant

     to Loc. R. 11 (A) (3) for leave to file a brief in excess of twenty (20) pages. The reasons for this

     request are explained in the attached memorandum.

                                                               Respectfully submitted,




                                                               Assistant State Public Defender

                                                              Ohio Public Defender Commission
                                                              8 East Long Street - 11th Floor
                                                              Columbus, Ohio 43215-2998
                                                              (614) 466-5394

                                                              COUNSEL FOR APPELLANT




                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 2167
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 34 of 235 PAGEID #: 2202




                                                                                         IMA~""·


                                      MEMORANDUM IN SUPPORT

             Appellant Von Clark Davis was convicted of Aggravated Murder with a death penalty

      specification. On May 29, 1984, a three-judge panel sentenced Von Clark Davis to die in the

      electric chair. The Ohio Supreme Court affirmed Mr. Davis' conviction but vacated the death

      sentence on September 14, 1988. The Court held that the trial court committed reversible error

      when it allowed non-statutory aggravating circumstances to enter into the weighing process. On

      August 4, 1989, the same three-judge panel again sentenced Mr. Davis to die.

             On October 8, 1993, Mr. Davis filed his Petition to Vacate and/or Set Aside Sentence

      pursuant to R.C. § 2953 .21, in the Butler County Court of Common Pleas. On January 11, 1995,

      a hearing was held on only one cause of action, out of the total twenty-eight (28) causes of action

      set forth in the petition; and the court affirmed the sentence in a decision which Mr. Davis now

      appeals.

             The United States Supreme Court has consistently recognized that death is qualitatively

      different from all other punishments in its finality. Lankford v. Idaho, 500 U.S. 110, 125-26

      (1991); Caldwell v. Mississippi, 472 U.S. 320, 323 (1985); Beck v. Alabama, 447 U.S. 625,

      637-38 (1980); Gardner v. Florida, 430 U.S. 349, 357 (1977); Woodson v. North Carolina, 428

      U.S. 280, 305 (1976). "Because of that qualitative difference, there is a corresponding difference

      in the need for reliability in the determination that death is the appropriate punishment in a

      specific case." Woodson, 428 U.S. at 305. To insure the reliability of his sentence, it is crucial

      that Mr. Davis receive a complete review of his case.

             Counsel for Appellant Davis cannot effectively, fully and fairly, raise and argue all of the

      appellate issues within the twenty-page limit imposed by Loc. R. ll (A)(3). Von Clark Davis'




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 2168
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      post-conviction petition contained twenty-eight (28) causes of action spanning one-hundred and

      thirty pages (130) and supported by twenty-four (24) exhibits. Additionally, the record of Mr.

      Davis' post-conviction proceedings before the Butler County Common Pleas Court contains

      issues that must be briefed and raised before this court. Counsel estimates that one-hundred fifty

      (150) pages will be needed to adequately raise and preserve all of the issues which arose in this

      capital case.

              Furthermore, in order to be effective, Mr. Davis' counsel must be cognizant of the

      prerequisites for federal habeas corpus review should the state courts deny relief. Among the

      prerequisites, the paramount concern is the doctrine of exhaustion. In deference to state courts,

      federal courts will not review a claim if a state court has not first "had an opportunity to pass

      upon the matter." Rose v. Lundy, 455 U.S. 509, 518 (1982); Granberry v. Green, 481 U.S. 129

      (1987). In order to exhaust a claim, the petitioner must apprise the state courts of both the facts

      and the legal theory on which the claim is based. Picard v. Connor, 404 U.S. 270, 275 (1971);

      Hafley v. Sowders, 902 F.2d 480, 483 (6th Cir. 1990). Failure to exhaust one claim could result

      in the federal court refusing to review the entire petition. Rose, 455 U.S. 509. In an effort to

      forestall delays caused by a failure to exhaust state remedies should habeas relief become

      necessary, counsel for Appellant Davis requires one-hundred and fifty (150) pages to preserve all

      of his claims for relief, and to give this Court the first opportunity to fully and fairly review

      them.

              The finality of the death penalty mandates exceptional vigilance, not only by Appellant's

      counsel, but also by the state courts. Both constitutional concerns and fundamental fairness




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 2169
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      dictate that Mr. Davis be permitted to brief all matters which arose in this case in his post-

      conviction appellate brief.

             Wherefore, Von Clark Davis respectfully requests this Court to grant him leave to file a

      one-hundred and fifty ( 150) page brief.




                                                            LINDA PRUCHA - 0040689
                                                            Assistant State Public Defender

                                                            Ohio Public Defender Commission
                                                            8 East Long Street - 11th Floor
                                                            Columbus, Ohio 43215-2998
                                                            (614) 466-5394

                                                            COUNSEL FOR APPELLANT




                                        CERTIFICATE OF SERVICE


             I hereby certify that a true copy of the foregoing MOTION TO FILE BRIEF IN EXCESS

      OF TWENTY PAGES was forwarded by regular U.S. Mail to John F. Holcomb, Prosecuting

      Attorney, Butler County, Courthouse, Hamilton, Ohio 45011 on this      ~~of August, 1995.




                                                            COUNSEL FOR APPELLANT




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 2170
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 37 of 235 PAGEID #: 2205


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             51-t:;l-e_. e~ I      oJ~· ~                                                                                D
                                                                FILED
          Plaintiff-Appellant               '9S AU~f&· ~f.rfiNdi C 1195 ,tPl -t1;J. t/
                                              : i. Trial           Co urt Case No. C/!'<?3-/.2                      - cJ &I'/
       vs./ttl1 {!.lt[tJ(       04/lt:.f       ,. : ,. . < r c-
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         Defendant-Appellee                           Date                                           Y-//J- 9S



                                      * * * * * * * *                                           in Court
                                                                                         FILEBUTLER       o ~npeals
                                                                                                    COl JNTY olftO .
                                   Rule 11 (B) Notification -
                                Record for Appeal is Complete                                        AUG 1 0 1995
                                      * * * * * * * *                                         T, MARK BADEN
                                                                                                  .   CLERK
 TO:     ~~ p. ~_eo.J-_, V aLl' adn >"-7 's ~~
      Pursuant to App. R. ll(B), you are hereby notified that the record
 for appeal in the above case is complete. Please refer to the scheduling
 order issued by the court to determine the dates when briefs are to
 be filed.
                                            Sincerely,

                                                         ~(lj_Lp~
                                            Clerk of Courts
                                            By:



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Docket and Journal Entries filed --------'f._-_::;.;:J.:..,_-....;9_5_ __
Transcript of Proc.eedings or Loc. R. 5 Notice filed - - - - - - -
cc: Court of Appeals




                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                           APPENDIX - Page 2171
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 38 of 235 PAGEID #: 2206




                        IN THE COURT OF APPEALS OF BUTLER COUNTY, OHIO


             STATE OF OHI O,                    FILEO                      *
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                    Appelle e,
                                 95 AUG 11 ~~ "\9                                    CAS E NO:        CA95-07-1 2 4
              vs.                         l . MAR !<.   !3A0~              *
                                     r-       EAA   Qf --:C O U ~~
             VON CLARK DAVIS , vl t';.                  T~               0!-y""•     NOTI CE OF REQUIREMENTS
                                              (~ ~         Ql             '·~.' o_.... OF LOCAL APP. R. 12 (A) .
                    Appellant .
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                    *   *   *    *        *     *       * ")'v.?;_. -: ~ * .-•.~ ,I!'
                                                                                  •:'_,., *   *   *   *   *   *
                                                                ':1,           ...
                    Upon conside r a t i on of the p endenc y of the within appeal, it

             is hereby ORDERED that oral argument shall not                                           ~   heard in the

             above-captioned matter unless, pursuant to Local App.R. 12(A), a

             request for oral argument is filed in the clerk's office by the

            time the appellant's reply brief is due for filing.                                               Unless such

            request is made,              the above-captioned appeal shall be submitted

            to the court without oral argument at the court's convenience,

            and without prior notice to counsel.                                        If said request is made,

            counsel shall be duly notified by the court of the time and lo-

            cation of oral argument.

                    IT IS SO ORDERED.




            To the Clerk:

            Please send copies of this notice to those individuals listed on
            the scheduling order.




                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                    APPENDIX - Page 2172
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 39 of 235 PAGEID #: 2207


                                                                                                                         IW,C~D

                        IN THE COURT OF APPEALS OF BUTLER COUNTY, OHIO


             STATE OF OHIO,                                  *                    CASE NO:                   CA95-07-124

               Appellee,
                                                             *~                                   f\LE.O
                                                             ~ <;._"\                                             u,..
                                                                 c.       ·~r::                   •1   Pr\   'i    Ij
              vs.                                            *    ~\~ R4ft~toULING                                ORDER.
                                                  .>. . ;) OJ u t.RI\ 8AOE.N
             VON CLARK DAVIS,                   0 ·       "f2~
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                                                  ~...C..~;<} * ,>                ·-.:,   0
               Appellant.                          -,- '1-            /               >.., :-A'
                                                             ~            ~               -~
                    *   *   *   *   *   *   *      *     *   }7    * ~                    * ? -<:1< *        *     *     *
                                                                 0                           ·.>-~
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             Upon consideration of the pendency of the within appeal:

            IT IS HEREBY ORDERED that the TRANSCRIPT OF DOCKET AND JOURNAL
            ENTRIES shall be filed by the trial court clerk of courts with
            the Appellate Clerk at the Butler    Count y Clerk of Courts
            within   40   days of the filing of the notice of appeal.

            IT IS FURTHER ORDERED that the TRANSCRIPT OF PROCEEDINGS (or,
            if applicable, Statement of the Evidence, Statement of the
            Proceedings, or Agreed Statement of the Case as allowed by
            Appellate Rule 9) shall be filed with the County Clerk of
            Courts no later than   N/A .   If a transcript of proceedings,
            statement of the evidence, statement of the proceedings, or
            agreed statement of the case is not to be filed, then a NOTICE
            OF LOCAL APPELLATE RULE 5 shall be filed with the County Clerk
            of Courts within _JQ_ days of the filing of the notice of
            appeal.

            IT IS FURTHER ORDERED that after the TRANSCRIPT OF DOCKET AND
            JOURNAL ENTRIES and either the TRANSCRIPT OF PROCEEDINGS,
            STATEMENT OF THE EVIDENCE, STATEMENT OF THE PROCEEDINGS,
            AGREED STATEMENT OF THE CASE or NOTICE OF LOCAL APPELLATE RULE
            5 have been filed, the record shall be considered filed and
            the County Clerk of Courts shall issue a notice pursuant to
            App.R. ll(B) to all counsel of record indicating that the
            record is filed.

            IT IS FURTHER ORDERED that the APPELLANT'S BRIEF shall be
            filed with the County Clerk of Courts and served upon the
            appellee or opposing counsel on or before September 19, 1995.




                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                        APPENDIX - Page 2173
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 40 of 235 PAGEID #: 2208




             Butler -124
             Crehan, J.


             IT IS FURTHER ORDERED that the APPELLEE'S BRIEF shall be filed
             with the County Clerk of Courts and served upon the appellant
             or opposing counsel within _AQ_ days of the filing of appel-
             lant's brief.

             IT IS FURTHER ORDERED that the APPELLANT'S REPLY BRIEF shall
             be filed with the County Clerk of Courts and served upon the
             appellee or opposing counsel within _lQ_ days of the filing of
             the appellee's brief.

             IT IS FURTHER ORDERED that NO EXTENSION OF TIME WILL BE
             GRANTED in the filing of any of the above-noted items except
             upon the demonstration of good cause.

            IT IS FURTHER ORDERED that any failure to comply with the time
            requirements of this order may result in the ~ sponte dis-
            missal of the appeal or the striking of a brief.

             IT IS SO ORDERED.




             To Clerk:

            Copies of this scheduling order shall be sent to the following
            individuals:

            John Holcomb
            216 Society Bank Bldg.
            Ham., OH 45011

            Linda E. Prucha
            Tracey Leonard
            Ohio Public Defender Commission
            8 E. Long St., 11th Fl.
            Col., OH 43266-0587




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 2174
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 41 of 235 PAGEID #: 2209


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                        IN THE COURT OF APPEALS FOR BUTLER COUNTY, OHIO


                                                                            f\LE.D
            STATE OF OHIO,
                                                           '9S RUG 17                 PM 5 39
                 Respondent-Appellee,                                    MARl<. B~fis~ No .               cA9s-o7-124
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                                                                   "LE.RK Of coURTS
               -vs-                                            : v                     ENTRY
                                                             'b:... ~ ,_...... rr -~ft ..: J):l i.r·
            VON CLARK DAVIS,                 r1rltE~t~. r"nu y..            . . .... ~H j~     ...
                                                   BUTLEI< 0              w 1 -~ .;   ::• du
                 Petitioner-Appellant.                      AlJG 1 7 1995
                                                       T. MARK BADt.N
                                                     CLER K
                 The above cause is before the court upon motion of counsel for

            appellant,    Von Clark Davis,      requesting leave to file a brief in

            excess of this court's twenty (20) page limitation as set forth in

            Local App.R. ll(A) (3).

                 Upon due consideration of the foregoing and for good cause

            shown,    IT IS HEREBY ORDERED that said motion is GRANTED allowing

            appellant    to file   a   brief thirty            (30)        pages          in excess of this

            court's twenty (20) page limitation.                     Appellant's brief shall not

            exceed fifty (50) pages in length.

                 IT IS SO ORDERED.




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 2175
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                                       IN THE COURT OF APijJ:?A.Y8 1
                                     TWELFTH APPELLATE DlSTIUtT l                     ~l
                                         BUTLER COUNTY, OHIO
                                                         '
                                                                          '    - :
                                                         '
       STATE OF OHIO,

              Plaintiff-Appellee,

       -vs-

      VON CLARK DAVIS,

              Defendant-Appellant.

                 MOTION FOR EXTENSION OF TIME TO FILE APPELLANT'S BRIEF

              Counsel respectfully requests leave of this Court for an extension of time in which to file

      Appellant's Brief on the Merits to October 19, 1995. Appellant's brief is currently due on

      September 19, 1995.     The reasons for this request are more fully set forth in the attached

      Memorandum.

                                                   Respectfully submitted,




                                                   Assistant State Public Defender

                                                   TRACEY A. LEONARD- 0064013
                                                   Assistant State Public Defender

                                                   Ohio Public Defender Commission
                                                   8 East Long Street - 11th Floor
                                                   Columbus, Ohio 43266-0587
                                                   (614) 466-5394

                                                   COUNSEL FOR DEFENDANT-APPELLANT




                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
                                                                                           APPENDIX - Page 2176
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 43 of 235 PAGEID #: 2211




                                      MEMORANDUM IN SUPPORT

              Von Clark Davis was indicted for aggravated murder with a death penalty specification.

      He was sentenced to death. His case is presently being appealed to this Court from a denial of

      post-conviction relief in the Butler County Common Pleas Court. His merit brief is currently due

      September 19, 1995. Due to counsel's commitments in other cases before other courts (see

      Exhibits A and B), an extension of time is necessary to prepare an appeal commensurate with the

      scope and severity of this case. For this reason, counsel requests an extension of time to file

      Appellant's Merit Briefuntil October 19, 1995.

             Indigent appellants are entitled to be provided with counsel to present an appeal of right.

      Douglas v. California, 372 U.S. 353 (1963). Appellate counsel must perform in the role of a

      zealous advocate, as opposed to that of amicus curiae, Ellis v. United States, 356 U.S. 674

      (1958). Appellant is guaranteed the right to effective assistance of counsel on appeal. Evitts v.

      Lucey, 469 U.S. 387, 105 S. Ct. 830 (1985), rehearing denied (1985), I 05 S. Ct. 1783.

             It is axiomatic that counsel cannot be an advocate on appeal if he does not file a brief. It

      is the primary vehicle by which the defendant's claims of error are presented to the appellate

      court. Thus, "a brief is a necessity." R. Stern, Appellate Practice in the United States (1981),

      Section 7.2 at 210 (quoting Judge Charles E. Clark of the Second Circuit).

                    There must be a brief, to summarize the evidence, to set out the
                    record references, to collect citations, to discuss the authorities - to
                    do all that oral argument cannot do and at the same time to buttress
                    and support and substantiate the impression made by oral
                    argument.

      Id. at 210-211 (quoting F. Wiener, Briefing and Arguing Federal Appeals (1967), 32).




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 2177
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              In Mylar v. Alabama, 671 F.2d 1299 (11th Cir. 1982), cert. denied 463 US. 1229 (1983),

       the Eleventh Circuit stated the importance of appellate counsel's advocacy in a brief:

                      As an active advocate, appellate counsel is duty bound to
                      affirmatively promote his client's position before the court. Such a
                      duty not only requires counsel to inform the court of errors
                      committed at trial but additionally mandates that counsel provides
                      legal citations and reasoning to support any claim for relief.
                      Unquestionably a brief containing legal authority and analysis
                      assists an appellate court in providing a more thorough deliberation
                      of an appellant's case.

      Id. at 1301.

              The necessity for Appellant's counsel to file a brief in this post-conviction appeal is

      crucial because Appellant's case is a capital case. Accordingly, counsel must be given sufficient

      time to prepare a quality brief.

              WHEREFORE, an extension of time is respectfully requested until October 19, 1995 to

      file the Appellant's Merit Brief in this case.

                                                       Respectfully submitted,



                                                       L~~~
                                                       Assistant State Public Defender

                                                       TRACEY A. LEONARD- 0064013
                                                       Assistant State Public Defender

                                                       Ohio Public Defender Commission
                                                       8 East Long Street - 11th Floor
                                                       Columbus, Ohio 43266-0587
                                                       (614) 466-5394

                                                       COUNSEL FOR DEFENDANT-APPELLANT




                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                      CASE NO. 2:16-cv-00495
                                                                                       APPENDIX - Page 2178
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                                     CERTIFICATE OF SERVICE

               I hereby certify that a true copy of the foregoing MOTION FOR EXTENSION OF TIME

       TO FILE APPELLANT'S BRIEF was forwarded by regular U.S. Mail to John F. Holcomb,

       Prosecuting Attorney, Courthouse, Hamilton, Ohio 45011 on this   ~ay of September,
       1995.




                                                    ~~~---
                                                      COUNSEL FOR APPELLANT




                                                                        VON CLARK DAVIS v. WARDEN
                                                                             CASE NO. 2:16-cv-00495
                                                                              APPENDIX - Page 2179
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 46 of 235 PAGEID #: 2214




                                         IN THE COURT OF APPEALS
                                       TWELFTH APPELLATE DISTRICT
                                           BUTLER COUNTY, OHIO



       STATE OF OHIO,

               Respondent-Appellee,

       -vs-                                                         Case No.: CA95-07-0124

       VON CLARK DAVIS,

               Petitioner-Appellant.

                                                 EXHffiiT "A"

                                AFFIDAVIT IN SUPPORT OF APPELLANT'S
                                   MOTION FOR EXTENSION OF TIME


       IN THE STATE OF OHIO              )
                                         )    SS :
       COUNTY OF FRANKLIN                )

              I, Tracey A. Leonard, after being duly sworn according to law, state as follows :

               1)     I am an attorney licensed to practice law in the State ofOhio.

              2)      I began working at the Ohio Public Defender Commission as an Assistant State

       Public Defender May 8, 1995 .

              3)      I am currently assigned to State v. Von Clark Davis.

              4)      My case load consists exclusively of capital cases.

              5)      Since beginning work with the Ohio Public Defender Commission, I have had to

       read the entire record of the above titled case, in addition to the following two cases to which I

       have been assigned: State v. Moreland, Montgomery County, Case No . 85-CR-2117; and State v.

       Williams, Ohio Supreme Court; Case No. 93-007.




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 2180
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 47 of 235 PAGEID #: 2215




                   6)      I have also been assisting counsel with the case State v. Brewer, Greene County,

           Case No. 85-CR-71.

                   7)      Since the Scheduling Order was received in the above titled case, I have had a

           prior commitment in the following case: State v. Williams, Ohio Supreme Court; Case No. 93-

           007, Motion for Reconsideration filed August 28, 1995.

                   8)     The circumstances above have precluded me from devoting most of my time to

           work on Mr. Davis' case.

                  9)      An extension of time is necessary to provide Mr. Davis effective representation in

           his capital post-conviction appeal.

                   10)    This motion is not being filed for the purposes of delay.

       Further Affiant saith naught.




       Sworn and subscribed to me this the        \   \-\h   day of September 1995 .




#13562v1




                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 2181
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 48 of 235 PAGEID #: 2216




                                       IN THE COURT OF APPEALS
                                     TWELFTH APPELLATE DISTRICT
                                         BUTLER COUNTY, OHIO

       STATE OF OHIO,                                   )

              Plaintiff-Appellee,                       )

       -vs-                                             )     Case No. CA95-07-124

      VON CLARK DAVIS,                                  )

              Defendant-Appellant.

                                                 EXHIBIT "B"

                               AFFIDAVIT IN SUPPORT OF APPELLANT'S
                                  MOTION FOR EXTENSION OF TIME

      IN THE STATE OF OHIO,                         )
                                                    )   ss:
      COUNTY OF FRANKLIN,                           )

              I, Linda E. Prucha, after being duly sworn according to law, state as follows:

              1)     I am an attorney licensed to practice law in the State of Ohio .

              2)     I am an Assistant State Public Defender at the Ohio Public Defender Commission.

              3)     I am currently assigned to State v. Von Clark Davis.

              4)     My case load consists exclusively of capital cases.

              5)     Since the record was filed in the above entitled case, I have had the following

      prior commitments in the following cases that have precluded work on Mr. Davis' case.

                     a)     Combs v. Anderson, United States District Court Case No.
                            C 1-95-733, federal habeas petition filed August 30, 1995.

                     b)     Bedford v. Collins, United States District Court Case No.
                            C1-92-547, Traverse in Response to Respondent's Return
                            of Writ due.




                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 2182
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 49 of 235 PAGEID #: 2217




                  6)     An extension of time is necessary to provide Mr. Davis effective representation in

       his capital appeal.

                  7)     This Motion is not being filed for the purpose of delay.

                  Further affiant sayeth naught.




                                                            ~ ~J;?~
                                                            iDA E. PRUCHA
                  Sworn and subscribed to me this the   _il_ day of September, 1995.




       13642/gg




                                                                                VON CLARK DAVIS v. WARDEN
                                                                                     CASE NO. 2:16-cv-00495
                                                                                      APPENDIX - Page 2183
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                                                                                                                                                                                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                                                                                                                                                                                          CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 51 of 235 PAGEID #: 2219




                        IN THE COURT OF APPEALS FOR BUTLER COUNTY, OHIO

                                                                                            r-   _,
            STATE OF OHIO,

                 Plaintiff-Appel lee ,                                             NO. CA95-07-124

               -vs-                                                        ENTRY

            VON CLARK DAVIS,         ;..     "~
                                   <.(·_,_    ~
                                    ~~
                 Defendant-Appe lla ~ j
                                                       ~0          '"
                                             -,                ~
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                 The above cause is before the court upon motion of counsel for

            appellant, Von Clark Davis, filed on September 12, 1995, requesting

            thirty (30) additional days in which to file appellant's brief in

            the above - captioned matter.

                 Upon due consideration of the foregoing,                    and for good cause

            shown,    IT IS HEREBY ORDERED that appellant is GRANTED thirty (30)

            additional days to file appellant's brief to be due no later than

            October 19, 1995.




                                                                        VON CLARK DAVIS v. WARDEN
                                                                             CASE NO. 2:16-cv-00495
                                                                              APPENDIX - Page 2185
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                                                                                                             ·-v..:



                                      IN THE COURT o'P-~~PEALS c._
                                    TWELFTH AP~~I,.Lf.\TE ~~'l
                                     /.. BUTL'flW OOUNtv, OHIO
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      STATE OF OHIO,                    </~o,...              1
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             Plaintiff-Appelle~     0,.               ~<-:
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      -vs-                    ~1'~-?· . / / ">{!-'"1.              )       CaseNo.CA95-07-124
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      VON CLARK DAVIS,                  ~           ~        0
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                                          0<\                     0 IS'
                                              'V
             Defendant-Appellant.

                MOTION FOR EXTENSION OF TIME TO FILE APPELLANT'S BRIEF

             Counsel respectfully requests leave of this Court for a final extension of time in which to

      file Appellant's Brief on the Merits to November 19, 1995. Appellant's brief is currently due on

      October 19, 1995.    The reasons for this request are more fully set forth in the attached

      Memorandum.

                                                             Respectfully submitted,




                                                                 DA E. PRUCHA- 0040689
                                                             Assistant State Public Defender
                                                                                                                      -
                                                             TRACEY A LEONARD- 0064013
                                                             Assistant State Public Defender

                                                             Ohio Public Defender Commission
                                                             8 East Long Street - 11th Floor
                                                             Columbus, Ohio 43266-0587
                                                             (614) 466-5394

                                                             COUNSEL FOR DEFENDANT-APPELLANT




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
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             Von Clark Davis wa-z.indicted f<1!> ~gravated    fh'n~der with a death penalty specification.
      He was sentenced to death. His case is presently being appealed to this Court from a denial of

      post-conviction relief in the Butler County Common Pleas Court. His merit brief is currently due

      October 19, 1995.     Due to counsel's commitments in other cases before other courts (see

      Exhibits A and B), an extension of time is necessary to prepare an appeal commensurate with the

      scope and severity of this case. For this reason, counsel makes a final request for an extension of

      time to file Appellant's Merit Brief until November 19, 1995.

             Indigent appellants are entitled to be provided with counsel to present an appeal of right.

      Douglas v. California, 372 U.S. 353 (1963). Appellate counsel must perform in the role of a

      zealous advocate, as opposed to that of amicus curiae, Ellis v. United States, 356 U.S. 674

      (1958). Appellant is guaranteed the right to effective assistance of counsel on appeal. Evitts v.

      Lucey, 469 U.S . 387, 105 S. Ct. 830 (1985), rehearing denied (1985), 105 S. Ct. 1783.

             It is axiomatic that counsel cannot be an advocate on appeal if he does not file a brief. It

      is the primary vehicle by which the defendant's claims of eJTor are presented to the appellate

      court. Thus, "a brief is a necessity." R. Stern, Appellate Practice in the United States (1981),

      Section 7.2 at 210 (quoting Judge Charles E. Clark of the Second Circuit).

                    There must be a brief, to summarize the evidence, to set out the
                    record references, to collect citations, to discuss the authorities - to
                    do all that oral argument cannot do and at the same time to buttress
                    and support and substantiate the impression made by oral
                    argument.

      ld. at 210-211 (quoting F. Wiener, Briefing and Arguing Federal Appeals (1967), 32).




                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
                                                                                          APPENDIX - Page 2187
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              In Mylar v. Alabama, 671 F.2d 1299, 1301 (11th Cir. 1982), cert. denied 463 US. 1229

      (1983), the Eleventh Circuit explained the importance of a brief to appellate counsel's effective

      advocacy:

                     As an active advocate, appellate counsel is duty bound to
                     affirmatively promote his client's position before the court. Such a
                     duty not only requires counsel to inform the court of errors
                     committed at trial but additionally mandates that counsel provides
                     legal citations and reasoning to support any claim for relief.
                     Unquestionably a brief containing legal authority and analysis
                     assists an appellate court in providing a more thorough deliberation
                     of an appellant's case.



             The necessity for Appellant's counsel to file a brief in this post-conviction appeal is

      crucial because Appellant's case is a capital case. Accordingly, counsel must be given sufficient

      time to prepare a quality brief.

              WHEREFORE, a final extension of time is respectfully requested until November 19,

      1995 to file the Appellant's Merit Brief in this case.

                                                     Respectfully submitted,




                                                     LINDA E. PRUCHA - 0040689
                                                     Assistant State Public Defender

                                                    TRACEY A. LEONARD- 0064013
                                                    Assistant State Public Defender

                                                    Ohio Public Defender Commission
                                                    8 East Long Street - 11th Floor
                                                    Columbus, Ohio 43266-0587
                                                    (614) 466-5394

                                                    COUNSEL FOR DEFENDANT -APPELLANT




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
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                                     CERTIFICATE OF SERVICE

             I hereby certify that a true copy of the foregoing MOTION FOR EXTENSION OF TIME

      TO FILE APPELLANT'S BRIEF was forwarded by regular U.S. Mail to John F. Holcomb,

      Prosecuting Attorney, Courthouse, Hamilton, Ohio 45011 on this   ~ay of October, 1995.


                                                       COUNSEL FOR APPELLANT                     -




                                                                         VON CLARK DAVIS v. WARDEN
                                                                              CASE NO. 2:16-cv-00495
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                                      IN THE COURT OF APPEALS
                                    TWELFTH APPELLATE DISTRICT
                                        BUTLER COUNTY, OHIO

      STATE OF OHIO,                                   )

             Plaintiff-Appellee,                       )

      -vs-                                             )     Case No. CA95-07-124

      VON CLARK DAVIS,                                 )

             Defendant-Appellant.                      )

                                               EXHIBIT "A"

                              AFFIDAVIT IN SUPPORT OF APPELLANT'S
                                 MOTION FOR EXTENSION OF TIME

      IN THE STATE OF OHIO,                        )
                                                   )   ss:
      COUNTY OF FRANKLIN,                          )

             I, Linda E. Prucha, after being duly sworn according to law, state as follows:

             1)     I am an attorney licensed to practice law in the State of Ohio.

             2)     I am an Assistant State Public Defender at the Ohio Public Defender Commission.

             3)     I am currently assigned to State v. Von Clark Davis.

             4)     My case load consists exclusively of capital cases.

             5)     Since the record was filed in the above entitled case, I have had the following

      prior commitments in the following cases that have precluded work on Mr. Davis' case.

                    a)      Combs v. Anderson, United States District Court Case No.
                            C1-95-733, currently conducting discovery.

                    b)      Bedford v. Collins, United States District Court Case No.
                            C1-92-547, Traverse in Response to Respondent's Return
                            of Writ due on October 17, 1995.




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 2190
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                 6)     An extension of time is necessary to provide Mr. Davis effective representation in

      his capital appeal.

                 7)     This Motion is not being filed for the purpose of delay.

                 Further affiant sayeth naught.




                 Sworn and subscribed to me this the ; J eay ofOctober, 1995.




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                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 2191
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 58 of 235 PAGEID #: 2226




                                       IN THE COURT OF APPEALS
                                     TWELFTH APPELLATE DISTRICT
                                         BUTLER COUNTY, OHIO


      STATE OF OHIO,

             Respondent-Appellee,

      vs.                                                         Case No. CA95-07-0124

      VON CLARK DAVIS,

             Petitioner-Appellant.


                                               EXHIBIT "B"

                              AFFIDAVIT IN SUPPORT OF APPELLANT'S
                                 MOTION FOR EXTENSION OF TIME


      IN THE STATE OF OHIO
                                            SS:
      COUNTY OF FRANKLIN

             I, Tracey A. Leonard, after being duly sworn according to law, state as follows:

             1)     I am an attorney licensed to practice law in the State of Ohio.

             2)     I began working at the Ohio Public Defender Commission as an Assistant State

      Public Defender May 8, 1995.

             3)     I am currently assigned to State v. Von Clark Davis.

             4)     My case load consists exclusively of capital case.

             5)     Since the last request for a time extension, I was assigned as counsel to State v.

      Dunlap, Ohio Supreme Court; Case No. 94-1777. This case will necessitate traveling to Idaho in




                                                                             VON CLARK DAVIS v. WARDEN
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          order to meet the client within the next couple of weeks. I have been reviewing the record in

          preparation for filing a petition for certiorari to the United States Supreme Court.

                 6)      In addition to the case above, I have been preparing a petition for certiorari to the

          United States Supreme Court and a post-conviction petition for State v. Williams, Ohio Supreme

          Court; Case No. 93-007.

                 7)      I am also assigned to State v. Moreland, Montgomery County; Case No. 85-CR-

          2117, and have been assisting counsel with State v. Brewer, Greene County; Case No. 85-CR-H.

                 8)      Since the Scheduling Order was received in the above titled case, I have had a

          prior commitment in the following case: State v. Williams, Ohio Supreme Court; Case No. 93-

          007, Motion for Reconsideration filed August 28, 1995.

                 9)      The circumstances above have precluded me from devoting most of my time to

          work on Mr. Davis' case.

                 10)     An extension of time is necessary to provide Mr. Davis effective representation in

          his capital post-conviction appeal.

                 11)     This motion is not being filed for the purposes of delay.

          Further Affiant saith naught.




      Sworn and subscribed to me this the \D~ day of October 1995.




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                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
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                        Office of the Ohio Pu€fjc Defender
                        8 East Long Street      ~ \ \.,:          \)   ?JS
                        Columbus, Ohio 43215-2998          ~~ ~
                        (614) 466-5394        ::\ \ \              -
                        FAX NUMBER: (9~ ~-3670                '0~\)'t. :\~
                                                       ~· ~      f:l~~
                        DAVID H. BODIKER      \.     ~ 'f. Qt   C
                        State Public Defender c\..'i:..~


                                                                 October 10, 1995




      Mark Baden
      Clerk of Courts
      Butler County Court of Appeals
      3rd Fl. Courthouse
      Hamilton, Ohio 45011

                                                       Re: State of Ohio v. Von Clark Davis
                                                           Case No. CA95-07-124

      Dear Mr. Baden,

              Enclosed please find the original and four (4) copies of the Motion for Extension of Time
      to File Appellant's Brief to be filed in the above referenced case. Please return extra time-
      stamped copies to me in the enclosed postage-paid, self-addressed envelope.

             Thank you for your assistance.




                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
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                                                                                                       CASE NO. 2:16-cv-00495
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                        IN THE COURT OF APPEALS FOR        B~L~~ ~UNTY,        OHIO
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                                                    \. ' '- c;t c\l
            STATE OF OHIO,                         e\..tR~
                    Plaintiff-Appellee,                                CAS E NO. CA95 - 07-124

               -vs-                                                    ENTRY

            VON CLARK DAVIS,

                    Defendant-Appellant.




                    The above cause is before the court upon motion of counsel for

            appellant, Von Clark Davis, requesting additional time in which to

            file appellant's brief in the above-captioned matter.

                    Upon due consideration of the foregoing,             and for good cause

            shown,    IT IS HEREBY ORDERED that appellant is GRANTED additional

            time to file appellant's brief to be due no later than November 19,

            1995.     No further extension will




                                                                    VON CLARK DAVIS v. WARDEN
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                                     IN THE COURT OF APPEALS
                                   TWELFTH APPELLATE DISTRICT
                                       BUTLER COUNTY, OIDO

     STATE OF OlllO,                                    )

            Plaintiff-Appellee,       F/I.EJ.           )
     -vs-                         ~       l,.,.{n Coutt     .<;as• No. cA9S-o7-124
     VON CLARK DAVIS,                        -f:R en, r~!!     Anneafp
                                            Nov 2            nT,f;)   "
                                                   2
            Defendant-Appellant.          1            1f 9$
                                           • MARK
                                                     b ALJEN


                                       MERIT BRIEF OF APPELLANT



                                                                LINDA E. PRUCHA - 0040689
                                                                Assistant State Public Defender

                                                                TRACEY LEONARD - 0064013
     Daniel Eichel - 0008259                                    Assistant State Public Defender
     Assistant Prosecuting Attorney
                                                                Ohio Public Defender Commission
     Butler County Courthouse                                   8 East Long Street - 11th Floor
     216 Society Bank Building                                  Colwnbus, Ohio 43266-0587
     Hamilton, Ohio 45012                                       (614) 466-5394

     COUNSEL FOR APPELLEE                                       COUNSEL FOR APPELLANT




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
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     STATEMENT OF THE FACTS                                                      2

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          THE TRIAL COURT ERRED WHEN IT DENIED
          APPELLANT DAVIS AN EVIDENTIARY HEARING
          BASED ON THE DOCTRINE OF RES JUDICATA,
          THUS VIOLATING HIS RIGHTS UNDER THE FIFTH,
          SIXTH, EIGHTH, NINTH AND FOURTEENTH
          AMENDMENTS         TO   THE   UNITED   STATES
          CONSTITUTION AND ARTICLE I, SECTIONS 1, 2, 9,
          10, 16, AND 20 OF THE OHIO CONSTITUTION.

     ISSUES PRESENTED FOR REVIEW AND ARGUMENT:

          1.     A trial court must grant an evidentiary hearing when
                 a post-conviction petition is facially sufficient to
                 raise constitutional issues which depend on
                 evidence dehors the record.

     AUTHORITIES

          Ake v. Oklahoma, 470 U.S. ?8 (1985)                                    5

          Evitts v. Lucey, 469 U.S. 387 (1985)                                   7

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           State y. Davis, 63 Ohio St. 3d 44 (1992)                             6

           State y . Davis, No. 89-09-123, 1990 WL 165137 at •3 (Butler Cty.
               6App., October 29, 1990)                                         6

           State y. Milaoovjch, 42 Ohio St. 2d 46, 325 N.E.2d 540 (1975)        4

           State v. Post, 32 Ohio St. 3d 380 (1987)                             6

           2.     Res judicata is improper in a motion to dismiss.              7

           Mjsteff v. Wheeler, 38 Ohio St.3d 112, 526 N.E.2d 798 (1988),
              cert. denied by 48 U.S. I 079 (1 988)                             7

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           Ohio R.Civ. P. 12                                                    7, 8

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          State ex rei. Freeman v. Morris, 62 Ohio St. 3d 107, 579 N.E.2d
              702(1991 )                                                        8

          State v. Milanovich, 42 Ohio St. 2d 46, 325 N.E.2d 540 (1975)         7, 8

          State v. Post, 32 Ohio St. 3d 380 (1 987)                             6




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          3.      The doctrine of res judicata cannot bar Appellant's
                  claims when they were supported by evidence
                  dehors the record.                                             8

          State y, Cole, 2 Ohio St. 3d 112,443 N.E.2d 169 (1982)                 9

          State v. Kapper, 5 Ohio St. 3d 36, 448 N.E.2d 823 (1983),     ~
              ~by 464 u.s. 856 (1983)                                            9

          State v. Lester, 41 Ohio St. 2d 51,322 N.E.2d 656 (1975)               9

           State y, Peo:y, 10 Ohio St. 2d 175,226 N.E.2d 104 (1967)              10

           State v, Scott, 63 Ohio App. 3d 304, 578 N.E.2d 841 (1989)            9

     ASSIGNMENT OF ERROR NO. II                                                  10


          THE TRJAL COURT ERRED WHEN II DISMISSED
          APPELLANT DAVIS' THIRD CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Motion to sever charges in an indictment must be
                  granted when appellant demonstrates prejudice
                  which cannot be overcome by the state' s
                  demonstration that the evidence would have come
                  in under Evid. R. 404(B) or § 2945.59.

     AUTHORJIIES

          Article I, § 10 of the Ohio Constitution                               11

          Article I,§ 16 ofthe Ohio Constitution                                 11

          Article I, § 5 of the Ohio Constitution                                11, 13

          Eighth Amendment to the United States Constitution                     10

          Fifth Amendment to the United States Constitution                      10

          Fourteenth Amendment to the United States Constitution                 10, 12

          Johnson v, Zerbst, 304 U.S. 458 (1938)                                 13


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           Ohio R. Crim. P. 16                                                    11

          Ohio R. Evid. 404                                                       12

          Ohio Rev. Code Ann.§ 2923.13                                            11,13

          Ohio Rev. Code Ann. § 2929.022                                          11, 12, 13

          Ohio Rev. Code Ann.§ 2929.04                                            11

          Ohio Rev. Code Ann.§ 2945.59                                            12, 13

          Simmons v. State, 75 Ohio St. 346 (1906)                                13

          Sixth Amendment to the United States Constitution                       10, 12, 13

          State y . Hector, 19 Ohio St. 2d 167,249 N.E.2d 912 (1969)              13

          State y. Martin, 19 Ohio St. 3d 122, 483 N .E.2d 1157 ( 1985 ), km.
              ~by 474 u.s. 1073 (1986)                                            12

          State v. Schiam, 65 Ohio St. 3d 51, 600 N .E.2d 661 (1992)              11, 12

          State v. VanSickle, 90 Ohio App. 3d 301, 629 N.E.2d 39 (lOth
              Dist. 1993)                                                         12

     ASSIGNMENT OF ERROR NO. III                                                  14

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S FIFTH CAUSE OF
          ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          1.     The judgment against Petitioner Davis is void or
                 voidable because he was denied the effective
                 assistance of counsel in violation of his
                 constitutional rights as guaranteed by the Fifth,
                 Sixth, Eighth, and Fourteenth Amendments of the
                 United States Constitution and Article I, Sections 2,
                 9, 10, and 16 of the Ohio Constitution.



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     AUTHORJTIES

          Furman y. Geoq~ia, 408 U.S. 238 (1972), reb'a denied, 409 U.S.
             902 (1972)                                                            14

           State y. Davis, 63 Ohio St. 3d 44 (1992)                                15

           State y. Davis, No. 89-09-123, 1990 WL 165137 at •3 {Butler C.A.
               October 29, 1990)                                                   15

           State y. Post, 32 Ohio St. 3d 380 (1987), cert. denied, 484 U.S.
               1079(1988)                                                          14

     ASSIGNMENT OF ERROR NO. IV                                                    15

           THE TRJAL COURT ERRED BY GRANTING THE
           PROSECUTOR' S MOTION TO DISMISS AS TO
           PETITIONER-APPELLANT'S SIXTH CAUSE OF
           ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           I.     Where a capital defendant is not permitted to
                  introduce relevant, available mitigating evidence at
                  his resentencing hearing, it is a violation of rights
                  under the Fifth, Sixth, Eighth, and Fourteenth
                  Amendments of the United States Constitution and
                  Article I, Sections 2, 9, 10 and 16 of the Ohio
                  Constitution.

     AUTHORJTlES

           Eighth Amendment to the United States Constitution                      16

           Fourteenth Amendment to the United States Constitution                  16

          Lockett v. Ohio, 438 U.S. 586 (1978)                                     16

           Ohio Rev. Code Ann. § 2929.04                                           17

           Skipper v. South Carolina, 476 U.S. 1 (1986)                            16, 17

          Zant v. Stephens, 462 U.S. 862 (1983)                                    16



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     ASSIGNMENT OF ERROR NO. V                                                        17

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S EIGHTH CAUSE OF
          ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.      The death sentence imposed on Appellant was
                   inappropriate, in violation of Appellant's rights
                   under the Fifth, Sixth, Eighth, and Fourteenth
                   Amendments of the United States Constitution and
                   Article I, Sections I 0 and 16 of the Ohio
                   Constitution.

     AUTHORITIES

          Eddjn~s    v. Oklaboma, 455 U.S. 104 (1982), cert, denied by 470
                U.S. 1051 (1985)                                                      18

          Furman v.      Geor~ia,    408 U.S. 238,   reh'~   denied, 409 U.S. 902
             (1972)                                                                   18

          Gre~~   v,   Geor~ia,   428 U.S . 153, reh'~ denied, 429 U.S. 875 (1976)    18, 20

          Ohio Rev. Code Ann. § 2929.04                                               18, 19

          Skipper v. South Carolina, 476 U.S. 1 (1986)                                18

          State v. Lawrence, 44 Ohio St. 3d 24 ( 1989)                                18

     ASSIGNMENT OF ERROR NO, YI

          THE TRIAL COURT ERRED WHEN IT DISMISSED
          APPELLANT DAVIS' ELEVENTH CAUSE OF
          ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.      Ohio courts' failure to comply with Ohio law
                   requiring life verdicts to be written in capital cases
                   skews proportionality review of death sentences in
                   favor of death.


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     AUTHORITIES

          Article I, § 10 of the Ohio Constitution                               20

          Article I, § 16 of the Ohio Constitution                               20

          Douilas y California, 372 U.S. 353 (1963)                              21

          Eighth Amendment to the United States Constitution                     20, 21

          Fetterly v. Paskett, 997 F.2d 1295 (9th Cir. 1993), nili..:i ~by
              15 F.3d 1472 (1994)                                                21

          Fifth Amendment to the United States Constitution                      20

          Fourteenth Amendment to the United States Constitution                 20

          Funnan v. Georiia, 408 U.S. 238 (1972)                                 21

          Ohio Rev. Code Ann. § 2929.021                                         20

          Ohio Rev. Code Ann.§ 2929.03                                           20

          Ohio Rev. Code Ann. § 2929.05                                          20

          Pullev v. Harris, 465 U.S. 37 (1984)                                   21

          Sixth Amendment to the United States Constitution                      20

          Solem v. Helm, 463 U.S. 277 (1983)                                     21

     ASSIGNMENT OF ERROR NO. VII                                                 21

          THE COURT ERRED IN DISMISSING APPELLANT
          DAVIS' FIFTEENTH CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          1.     A presumption that errors which occurred at
                 appellant's capital trial before a three judge panel
                 were hannless violates appellant's equal protection
                 and due process rights.




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     AUTHORITIES

           Article I, § 10 of the Ohio Constitution                                 22

           Article I, § 16 of the Ohio Constitution                                 22

           Eighth Amendment to the United States Constitution                       22

           Fifth Amendment to the United States Constitution                        22

           Fourteenth Amendment to the United States Constitution                   22

           Sixth Amendment to the United States Constitution                        22

           State v Davis, 63 Ohio St. 3d 44 (1992)                                  22

           State v. Davis, No. 89-09-123, 1990 WL 165137 at •3, (Butler
               C.A. October 29, 1990)                                               22

           State v. Post, 32 Ohio St. 3d 380, 384 (1987)                            22

           Won~   Suo v. United States, 371 U.S. 471 (1963)                         22

     ASSIGNMENT OF ERROR NO. VIII                                                   24

           THE TRIAL COURT ERRED IN DISMISSING
           APPELLANT'S SIXTEENTH CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Where an Appellant's death sentence is secured
                  through the use of a statutory scheme that violated
                  his constitutional rights as guaranteed by the Fifth,
                  Eighth, and Fourteenth Amendments to the United
                  States Constitution and Sections 2 and 9, Article I
                  of the Ohio Constitution, the sentence is arbitrary
                  and must be reversed.

     AUTHORITIES

           Furman v. Geor~ia, 408 U.S. 238 (1972),       reb'~   denied 409 U.S.
              902(1972)                                                             23

           Ohio Rev. Code Ann. § 2929.03                                            23


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     ASSIGNMENT OF ERROR NO. IX                                                24

          THE TRIAL COURT ERRED IN DISMISSING
          APPELLANT DAVIS' SEVENTEENTH CAUSE OF
          ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.    Appellant's jury waiver was unknowing absent the
                 knowledge that he faced an increased risk of being
                 sentenced to death when tried before a three judge
                 panel.

     AUTHORITIES

          Article I, § 16 of the Ohio Constitution                             24

          Article I, § 5 of the Ohio Constitution                              24

          Brady v. United States, 397 U.S. 742 (1970)                          25

          Eighth Amendment to the United States Constitution24                 24

          Fifth Amendment to the United States Constitution                    24

          Fourteenth Amendment to the United States Constitution               24

          In re Winship, 397 U.S. 358 (1970)                                   25

          Ohio Rev. Code Ann. § 2929.03                                        24,25

          Sixth Amendment to the United States Constitution                    24

          State v. Ruppert, 54 Ohio St. 2d 263 (1978), cert. denied by 439
              u.s. 954 (1978)                                                  25




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     ASSIGNMENT OF ERROR NO. X                                                     25

          THE TRIAL COURT ERRED BY GRANTING TIIE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S EIGHTEENTII CAUSE
          OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          1.     Where a defendant is misinformed by the court as to
                 the standard of proof, a waiver of the right to a jury
                 trial is invalid and a violation of rights as
                 guaranteed by the Fifth, Sixth, Eighth and
                 Fourteenth Amendments to the United States
                 Constitution and Sections 2, 5, 9, 10 and 16, Article
                 I of the Ohio Constitution.

     AUTHORITIES

          In re Winship, 397 U.S. 358 (1970)                                       26,27

          Ohio Rev. Code Ann.§ 2901.05                                             26

     ASSIGNMENT OF ERROR NO. XI                                                    27

          THE TRIAL COURT ERRED WHEN IT DISMISSED
          APPELLANT DAVIS' NINETEENTH CAUSE OF
          ACTION,   IN VIOLA TJON      OF HIS   RIGHTS
          GUARANTEED BY THE FIFTH, SIXTH, EIGHTH AND
          FOURTEENTH AMENDMENTS TO THE UNITED
          STATES CONSTITUTION AND SECTIONS 5, 9, AND
          16 OF ARTICLE I OF THE OHIO CONSTITUTION.

     ISSUES PRESENTED FOR REVIEW AND ARGUMENT:

          I.     Appellant Davis did not knowingly and intelligently
                 waive his right to a jury trial as he was unaware of
                 all the circwnstances necessary to a valid waiver.

     AUTHORITIES

          Adams v. United States, 317 U.S. 269 (1942), reh' 2 denied by 312
             U.S. 605(1943)                                                        29



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           Article I, § 5 of the Ohio Constitution                                     27,29

           Brady y. United States, 397 U.S. 742 (1970)                                 29

          Fourteenth Amendment to the United States Constitution                       27,29

           Ohio R. Crim. P. 23                                                         29

           Ohio Rev. Code Ann. § 2945.05                                               30

           Simmons v State,75 Ohio St. 346 (1906)                                      29

           Sixth Amendment to the United States Constitution                           27,29

           State v. Jells, 53 Ohio St.3d 22, 559 N.E.2d 468 (1990),           ~
               ~by 498U . S . 1111 (1991)                                              30

           State v. Ruppert, 54 Ohio St. 2d 263, 375 N.E.2d 1250 ~
               ~. 439 U.S. 954 (1978)                                                  29,30

           2.     Appellant can challenge a jury waiver based on facts of
                  which he became aware since the waiver.                              30

           Adams v. United States, 317 U.S. 269 (1942),     reb ' ~   denied by 317
              U.S. 605 (1943)                                                          30

           Ohio Rev. Code Ann. § 2953.21                                               32

           State y. D'Ambrosio, 67 Ohio St. 3d 185, 616 N.E.2d 909, (1993)             30,31

           State v. Dickerson, 45 Ohio St. 3d 206, 543 N.E.2d 1250 (1989),
               cert. denied by 494 U.S. 1090 (1990)                                    30, 31

           3.     The right to a jury trial is personal to the defendant and
                  cannot be abridged by the court or the state.                        32

          Simmons v. State,75 Ohio St. 346 (1906)                                      32




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     ASSIGNMENT OF ERROR NO. XII                                                   33

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S TWENTIETII CAUSE OF
          ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          1.    When a defendant is forced to waive his right to a
                jury trial, and it is invalid in violation of
                constitutional rights as guaranteed by the Fifth,
                Sixth, Eighth and Fourteenth Amendments to the
                United States Constitution and Sections 2, 5, 9, 10
                and 16, Article I of the Ohio Constitution.

     AUTHORITIES

          Ohio Rev. Code Ann. § 2923.12                                            33

          Ohio Rev. Code Ann.§ 2929.022                                            33

          Ohio Rev. Code Ann. § 2929.04                                            33

     ASSIGNMENT OF ERROR NO. XIII                                                  34

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S TWENTY-FIRST CAUSE
          OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          I.    Where a defendant is denied the effective assistance
                of counsel in violation of his constitutional rights as
                guaranteed by the Fifth, Sixth, Eighth, and
                Fourteenth Amendments to the United States
                Constitution and Sections 2, 9, 10, and 16, Article I
                of the Ohio Constitution, the resulting conviction
                and sentence must be reversed.




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     AUTHORITIES

           Funnan v. Georiia, 408 U.S. 238 (1972), reb'i denied 409 U.S.
              902 (1972)                                                               34

           State y. Dayis, 38 Ohio St. 3d 361 (1989)                                   35

     ASSIGNMENT OF ERROR NO. XIV                                                       35

           THE TRIAL COURT ERRED BY GRANTING THE
           PROSECUTOR'S MOTION TO DISMISS AS TO
           PETITIONER-APPELLANT'S  TWENTY -SECOND
           CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           I.     Where a conviction is obtained through the use of
                  an     wmecessarily        suggestive      identification
                  procedure, it is a violation of the Fifth, Sixth, Eighth
                  and Fourteenth Amendments to the United States
                  Constitution and Sections 2, 9, 10 and 16, Article I
                  of the Ohio Constitution, and must be vacated . .

     AUTHORITIES

           Manson v. Brathwaite, 432 U.S. 98 (1977)                                    36

     ASSIGNMENT OF ERROR NO. XV                                                        37

                  THE TRIAL COURT ERRED WHEN IT DISMISSED
                  APPELLANT DAVIS' TWENTY-THIRD CLAIM.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Improper rebuttal evidence introduced during the
                  penalty phase of a capital trial violates the Eighth
                  Amendment standards imposed in capital cases.

          Article I,§ 16 ofthe Ohio Constitution                                       38

           Article I,§ 9 of the Ohio Constitution                                      38

           Eddin2s y, Oklahoma, 455 U.S. 104 (1982), cert. denied by 470
              U.S. 1051 (1985)                                                         39


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          Eighth Amendment to the United States Constitution                        38

          Fourteenth Amendment to the United States Constitution                    38

          Godfrey y. Geor~ja, 446 U.S. 420 (1980),        reb'~   denied by 456
             u.s. 101 (1982)                                                        39

           Ohio R. Evid. 404                                                        38

           Ohio Rev. Code Ann. § 2929.03                                            39

           Ohio Rev. Code Ann. § 2945.59                                            38

           State v. DePew, 38 Ohio St. 3d 275 (1989), cert. denied by 489
               U.S. 1042 (1989(                                                     39

           State v. Jenkins, 15 Ohio St. 3d 164 (1985), cert. denied by 472
               U.S. 1032(1985)                                                      39

           State v. Johnson, 24 Ohio St. 3d 87 (1986), cert. denied by 494
               U.S. 1039)(1990)                                                     39

           State v Parrish, 71 Ohio App. 3d 659, 595 N.E.2d 354, (lOth Dist.
               199 1)                                                               38

     ASSIGNMENT OF ERROR NO. XVI                                                    39

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR' S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S  TWENTY-FOURTH
          CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Where the trial court prohibits the testimony of a
                  crucial defense witness, the defendant' s rights under
                  the Sixth, Eighth and Fourteenth Amendments to
                  the United States Constitution and Sections 9, 10
                  and 16, Article I of the Ohio Constitution have been
                  violated.




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     AUTHORlTIES

           Article I,§ 10 of the Ohio Constitution                                  40

          Article I, § 16 of the Ohio Constitution                                  40

          Article I, § 9 of the Ohio Constitution                                   40

          Eighth Amendment to the United States Constitution                        40

          Fourteenth Amendment to the United States Constitution                    40

          Sixth Amendment to the United States Constitution                         40

     ASSIGNMENT OF ERROR NO. XVII                                                   41

          THE TRlAL COURT ERRED WHEN IT DISMISSED
          APPELLANT DAVIS' TWENTY -FIFTH CLAIM.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Denial of the right to present all relevant mitigation
                  evidence during a capital resentencing hearing
                  violated appellant's statutory and constitutional
                  rights.

     AUTHORlTIES

          Ake v, Oklahoma, 4 70 U.S. 68 (1985)                                      41

          Article I, § 10 of the Ohio Constitution                                  41

          Article 11, § 39 of the Ohio Constitution                                 41

          Eighth Amendment to the United States Constitution                        41

          Fourteenth Amendment to the United States Constitution                    41

          Ohio Rev. Code Ann.§ 2929.024                                             41,42

          Sixth Amendment to the United States Constitution                         41

          State y, Davis, 38 Ohio St. 3d 361 (1988), cert, denied aby 488
              u.s. 1034 (1989)                                                      41


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     ASSIGNMENT OF ERROR NO. XVIII!                                                 42

           THE IRlAL COURT ERRED BY GRANTING THE
           PROSECUTOR'S MOTION TO DISMISS AS TO
           PETITIONER-APPELLANT'S TWENTY-SIXTH CAUSE
          . OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Where the specification used at a capital trial to
                  make the defendant death eligible is invalid, it is a
                  violation of rights under the Fifth, Sixth, Eighth and
                  Fourteenth Amendments to the United States
                  Constitution and Sections 9 and 16, Article I of the
                  Ohio Constitution.                              ·

     AUTHORITIES

           Jones v. State, 51 Ohio St. 331 (1894)                                   43

           Ohio Rev. Code Ann. § 2901 .01                                           43

           Ohio Rev. Code Ann. § 290 1.05                                           43

           Ohio Rev. Code Ann. § 2923 .13                                           42

           Ohio Rev. Code Ann.§ 2929.04                                             42, 44

           State v Creech, 5 Ohio App. 2d 179 (1964)                                43

           State v. Farmer, 156 Ohio St. 214 (1951)                                 43




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     ASSIGNMENT OF ERROR NO. XIX                                                  44

          THE TRIAL COURT ERRED BY GRANTING THE
          PROSECUTOR'S MOTION TO DISMISS AS TO
          PETITIONER-APPELLANT'S TWENTY-SEVENTH
          CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

          1.     Where counsel failed to investigate the
                 circumstances surrounding a prior homicide charge
                 in a specification to defendant's aggravated murder
                 charge, counsel is ineffective, and the Appellant has
                 been denied rights under the Fifth, Sixth, Eighth and
                 Fourteenth Amendments to the United States
                 Constitution and Sections 9 and 16, Article I of the
                 Ohio Constitution.

     AUTHORITIES

          Fourteenth Amendment to the United States Constitution                  45

          Gideon v. WainYvTi2ht, 372 U.S. 335 (1963)                              45

          Powell v. Alabama, 287 U.S. 45 (1932)                                   45

          Sixth Amendment to the United States Constitution                       45

          Strickland v. Washin~on , 466 U.S. 668 (I 984), reh'2 denied 467
              U.S. 1267 (1984)                                                    45




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     ASSIGNMENT OF ERROR NO. XX                                                     46

           THE TRIAL COURT ERRED BY GRANTING THE
           PROSECUTOR'S MOTION TO DISMISS AS TO
           PETITIONER-APPELLANT'S  TWENTY-EIGHTII
           CAUSE OF ACTION.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     Where a defendant is not permitted to introduce all
                  relevant mitigating evidence at his resentencing
                  hearing,the defendant's right to present a defense
                  and his constitutional right to present all available,
                  relevant mitigating evidence has been violated.

     ASSIGNMENT OF ERROR NO. XXI                                                    48

           APPELLANT DAVIS HAS BEEN DENIED THE
           OPPORTUNITY FOR AN ADEQUATE APPEAL IN
           VIOLATION OF THE DUE PROCESS CLAUSE OF THE
           FOURTEENTH AMENDMENT.

     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

           1.     A fifty page briefing limit in a complex capital post-
                  conviction appeal denies the Appellant an adequate
                  corrective process.

     AUTHORITIES

           Case v. Nebraska, 381 U.S. 336 (1965)                                    48

           Ohio Rev. Code Ann.§ 2953.23                                             48

           Picard v. Connor, 404 U.S. 270 (1971)                                    48

     CONCLUSION                                                                     50

     CERTIFICATE OF SERVICE                                                         50

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           Entry of Dismissal                                                A-9

           Assignments of Error                                              A-18

           Fed. R. Crirn. p. 11                                              A-51

           Fourteenth Amendment to the United States Constitution            A-54

           Eighth Amendment to the United States Constitution                A-55

           Sixth Amendment to the United States Constitution                 A-56

           Fifth Amendment to the United States Constitution                 A-57

          Article I, § 9 of the Ohio Constitution                            A-58

          Article I, § 10 of the Ohio Constitution                           A-59

          Article I, § 16 of the Ohio Constitution                           A-60

           Article I, § 5 of the Ohio Constitution                           A-61

           Article II, § 39 of the Ohio Constitution                         A-62

           Ohio R. Civ. P. 7                                                 A-63

           Ohio R. Civ. P. 12                                                A-64

           Ohio R. Civ. P. 56                                                A-67

          Ohio R. Crim. P. 16                                                A-70

          Ohio R. Crim. P. 23                                                A-76

          Ohio R. Evid. 404                                                  A-77

          Ohio Rev. Code Ann.§ 2901.01                                       A-79

          Ohio Rev. Code Ann. § 2901-05                                      A-83

          Ohio Rev. Code Ann. § 2923.12                                      A-84

          Ohio Rev. Code Ann. § 2923.13                                      A-86



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           Ohio Rev. Code Ann. § 2929.02 1                        A-87

           Ohio Rev. Code Ann. § 2929.022                         A-88

          Ohio Rev. Code Ann.§ 2929.024                           A-90

          Ohio Rev. Code Ann. § 2929.03                           A-91

          Ohio Rev. Code Ann. § 2929.04                           A-94

          Ohio Rev. Code Ann. § 2929.05                           A-96

          Ohio Rev. Code Ann. § 2945.05                           A-97

          Ohio Rev. Code Ann. § 2945.59                           A-98

          Ohio Rev. Code Ann. § 2953.21                           A-99

          Ohio Rev. Code Ann. § 2953.23                           A-101




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     The following abbreviations are used throughout the brief: T.p. for cites to the original trial
     transcripts; M.T.p. for cites to the trial motions hearing; RH.T.p. for cites to the resentencing
     hearing; M.RH.T.p. for cites to the resentencing motions hearing; E.H.T.p. for cites to the post-
     conviction evidentiary hearing.




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                                   II.   STATEMENT OF THE CASE

           On January 8, 1984, Appellant Von Clark Davis was indicted by the Butler County Grand

     Jury on one count of Aggravated Murder in violation of Ohio Rev. Code§ 2903.0l(A). This

     count carried two specifications: a capital specification under Ohio Rev. Code Ann.   ~


     2929.04(A)(5), and a fuearms specification under§ 2929.71. Appellant was also indicted on

     one count of having a weapon while under a disability in violation of§ 2923.13.

           Appellant Davis proceeded to trial before a three judge panel on May 9, 1984. The panel

     convicted and sentenced Mr. Davis to death on June 11, 1984. The conviction and sentence

     were affirmed by the Twelfth District Court of Appeals. State v. Davis, Butler App. No. CA-

     84-06-071 (May 27, 1986). The Ohio Supreme Court affirmed the conviction but vacated Mr.

     Davis' death sentence and remanded the case for resentencing. State v. Davis, 38 Ohio St. 3d

     361 (1988). The three-judge panel resentenced Mr. Davis to death, and both the Twelfth

     District Court of Appeals and the Ohio Supreme Court affirmed the sentence. State y. Davis,

     Butler App. No. CA89-09-123 (October 29, 1990); State y. Davis, 63 Ohio St. 3d 44 (1992).

            On October 8, 1993 , Appellant Davis filed two petitions to vacate or set aside sentences

     pursuant to R.C. § 2953.21 , accompanied by requests for evidentiary hearings. T.d. 149, 150.

     The petition in Case No. CR83-12-0614 requested the trial court to vacate the sentence and

     conviction due to constitutional errors which occurred during the trial for the murder of Suzette

     Butler in 1983. The petition in Case No. 21655 requested the trial court to reverse the 1971

     conviction for the death of Ernestine Davis.

            Judge Crehan dismissed all but one of Appellant's post-conviction claims. T.d.161. On

     January 11 , 1995 , an evidentiary hearing was held on the Nineteenth Cause of Action in Case

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     No. CR83-12-0614. The trial court reserved ruling and the parties submitted post-bearing

     briefs. T.d. 175, 176, 177. The court ultimately dismissed both petitions. Td. 178. Appellant

     Davis filed a timely notice to appeaJ cases 21655 and CR833-12-0614, which are joined on

     appeal before this Court. T.d. 179.

                                  III.     STATEMENT OF TilE FACTS

            Appellant Davis' tria] for the December 12, 1983 shooting death of Suzette Butler

     commenced on May 9, 1984. Aside from the testimony of police officers who investigated the

     incident, the State presented two witnesses who testified to their roles in helping Appellant

     obtain a gun, and three witnesses who testified to seeing Appellant at the American Legion

     where the victim was found on December 12. T.p. 58-199. Appellant Davis testified on his

     own behalf about the events which culminated in his arrest: Davis had agreed to give Silky

     Carr a gun in exchange for dental equipment and settlement of the victim' s drug debt; Davis

     was at the American Legion on December 12, and he gave the gun to Silky Carr; once Davis

     had heard that the victim, his girlfriend, had been shot, he went to Lexington, Kentucky in

     search of Silky Carr. T.p. 289-312. After a fruitless search, Davis contacted the Butler County

     police department and was arrested. T.p. 312.

            The panel found Mr. Davis guilty of the aggravated murder and the prior purposeful

     murder specification, as well as the other specification and charge in the indictment. T.p. 376.

     As the panel erroneously included non-statutory aggravating circumstances in its calculus to

     deterrnine whether the aggravating circumstance outweighed the mitigating factors, the case

    was remanded to them for a new sentencing hearing. At the resentencing, defense counsel filed

    various motions attempting to introduce mitigating evidence not presented at the original trial.

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     T.d. 134, 138. The panel ovenuled these motions, and resentenced Mr. Davis to death.

     M.R.H.T.p. 12. Trial counsel was given a limited opportunity to proffer some additional

     mitigating evidence. R.H.T.p. 2-5. Defense counsel proferred new evidence in further support

     of Mr. Davis' ability to lead a productive life in prison. R.H.T.p. 1-5.

               On January 11, 1995, a post-conviction evidentiary hearing was held on the issue of

     whether Mr. Davis' jury waiver was valid. Nonetheless, the court dismissed the entire petition in

     a decision which Appellant Davis now appeals. T.d. 178.

                                             ASSIGNMENT OF ERROR NO. I

                        THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT
                        DAVIS AN EVIDENTIARY HEARING BASED ON THE
                        DOCTRINE OF RES JUDI CATA, THUS VIOLATING HIS
                        RIGHTS UNDER THE FIFTH, SIXTH, EIGHTH, NINTH AND
                        FOURTEENTH AMENDMENTS TO THE UNITED STATES
                        CONSTITUTION AND ARTICLE I, SECTIONS l , 2, 9, 10, 16,
                        AND 20 OF THE OHIO CONSTITUTION.

                        ISSUES PRESENTED FOR ARGUMENT AND REVIEW:

                         1.      A trial court must grant an evidentiary hearing when a post-
                                 conviction petition is facially sufficient to raise
                                 constitutional issues which depend on evidence dehors the
                                 record.

               Appellant Davis' post-conviction petition alleged violations of constitutional magnitude

     which would render the judgment void or voidable, and he supported them with               evidence~


     the record. Nonetheless, the trial court erroneously denied the request for an evidentiary hearing
                                         1
     on most of Mr. Davis' claims            and dismissed the petition. T.d. 161 , pp. 4-6; T.d. 179, p. 1.




     1
         The court granted an evidentiary hearing on the Nineteenth Cause of Action.

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               Ohio Rev. Code Ann.§ 2953. 2I(C) requires the court to determine whether the petition

     alleges sufficient grounds for relief after it has considered all of the supporting affidavits, files,

     and records. "Unless the petition and the files and records of the case show the petitioner is not

     entitled to relief, the court shall proceed to a ... hearing ...." § 2953. 21(E) (emphasis added).

     The Ohio Supreme Court explained that a petition is facially sufficient when it states substantive

     grounds for relief, relies upon evidence outside the record and raises constitutional issues not

     disproved by the record. State y Milauovjch, 42 Ohio St. 2d 46, 50 325 N.E.2d 540, 543 (1975).

     Once substantive grounds are asserted, the court should proceed to a hearing unless it fmds upon

     a Ohio R. Civ. P. 56, motion for summary judgment, that "there is no genuine issue of material

     fact." J.d..

               Accordingly, the court should have granted Appellant Davis an evidentiary hearing since

     his post-conviction petition gave rise to constitutional issues not resolvable from the record.

     Several claims alleged constitutional errors which occurred during the resentencing hearing. For

     instance, the Eighth and Twenty-Eight Causes of Action alleged that the trial court's failure to

     consider all the available mitigation evidence, deprived Appellant Davis of the individualized

     sentencing mandated in capital cases, and resulted in an inappropriate sentence of death. ~

     Locken v, Ohio, 438 U.S. 586, 605 (1978). These claims could only be supported and

     determined by evidence dehors the record, as they are predicated upon the trial court's refusal to

     consider any mitigation evidence beyond what was introduced at the initial sentencing hearing.

     T.d. 150; Exhibit R, S, T, U, V, X, Y, Z. The Twenty-Fifth Cause of Action was also predi cated

     on this error. This claim alleged that Appellant Davis' federal and state constitutional rights were

     violated as a result of the trial court's refusal to permit the expert assistance necessary to present

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     an effective mitigation defense.   ~   Ake v. Oklahoma, 470 U.S. 68 (1985); Ohio Rev. Code

     Ann. §§ 2929.024 and 2929.03(D)(l). This claim was supported by evidence unavoidably

     dehors the record. T.d. 150; Exhibit AA, BB.

            The Third, Eighth and Twentieth Causes of Action, which called into question the

     constitutionality of the jury waiver, were also facially sufficient to warrant an evidentiary

     hearing. In support of his third claim, Appellant Davis demonstrated the prejudice resulting from

     the trial courts refusal to sever the carrying a weapon under a disability charge from the

     aggravated murder charge: he was not only prevented from exercising his statutory right to have

     the specification of a prior purposeful murder determined solely by the judge during the

     sentencing phase, but also forced to waive his right to a jury as guaranteed by the Ohio and U.S.

     Constitutions. Similarly, the refusal to sever, by compelling Mr. Davis to waive the jury,

     invalidated the voluntary nature of the waiver as claimed in the Twentieth Cause of Action. The

     crucial evidence in support of both the Third and Twentieth causes, the affidavits of the defense

     attorneys as well as the Appellant, lies outside of the record. T.d. 150, Exhibit H, I, J. The

     eighteenth cause alleged that the waiver was also invalid because Appellant Davis relied upon

     the trial court's erroneous instruction with regard to the level of proof required for a guilty

     verdict. T.d. 150, Exhibit F. All of these claims alleging the invalidity of the jury waiver were

     facially sufficient, and therefore, warranted a hearing.   ~Johnson    y, Zerbst, 304 U.S. 458, 464

     ( 1938) (waiver of a fundamental right may not be assumed); Simmons v. State, 75 Ohio St. 346,

     352, 79 N.E. 555, 557 (1906) (every reasonable presumption should be made against the waiver).

     Further, compliance with the teclullcalities of the waiver set forth in§ 2945.05 does not negate

     the necessity of an evidentiary hearing. As stated by the U.S. Supreme Court when determining

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     that a post-conviction hearing on the voluntariness of a guilty plea was necessary despite

     compliance with Fed.R.Crim.P. 11: "[L]ike any procedural mechanism, its exercise is neither

     always perfect nor uniformly invulnerable to subsequent challenge calling for an opportunity to

     prove allegations." Fontaine y. United States, 411 U.S. 213,215 (1973). Thus, it was in error for

     the court to dismiss the claims concerning the involuntary nature of the waiver without an

     evidentiary hearing.

            The trial court also erred in dismissing the Fifth and Twenty-Seventh Causes of Action,

     as they contained sufficient operative facts in support of the claim of ineffective assistance of

     counsel. The fifth and twenty-seventh claims alleged that trial counsel's representation was

     professionally unreasonable in failing to apprise Appellant Davis of the consequences of a jury

     waiver and in failing to investigate the prior purposeful murder specification to the aggravated

     murder charge. The fifth claim was supported by evidence dehors the record that if Appellant

     Davis had known a presumption of harmlessness would be applied to errors occurring at trial

     before a three-judge panel, as they were in his case, he would not have waived the jury. T.d. 150,

     Exhibit P, Q.   ~State   v, Post, 32 Ohio St. 3d 380, 384 (1987); State y. Davis, 63 Ohio St. 3d

     44,48 (1992); State v Davis, No. 89-09-123, 1990 WL 165137 at •3 (Butler Cty. App., October

     29, 1990). Further, Appellant Davis should have been granted a hearing on the twenty-sixth and

     twenty-seventh causes which were based on outside evidence exculpating him for the prior

     purposeful murder specification. T.d. 150, Exhibit CC, DD. As trial counsel failed to investigate

     the specification, they provided ineffective assistance.

            Finally, Appellant Davis' due process right was violated when the trial court dismissed

     his petition without an evidentiary hearing. Since the appellant has a statutory right to a hearing

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     based on the sufficiency of the supporting evidence under§ 2953.21 (C), (E), he also has a

     liberty interest under the Due Process Clause of the Fourteenth Amendment in the statutory

     procedure.   ~Evitts y.     Lucey, 469 U.S. 387 (1985) (state rights and procedures create a due

     process right).

            2.         Res judicata is improper in a motion to dismiss.

            The Appellee erroneously asserted in its motion to dismiss and the trial court erroneously

     held that res judicata bars all of Appellant Davis' claims for relief except for the Nineteenth

     Cause of Action. T.d. 161, p. 4, 6. Contrary to the trial court's decision, the appellee may not

     assert res judicata as a defense under Ohio R.Civ. P. 12(B)(6) motion.

            Post-conviction actions are civil proceedings; therefore, the Ohio Rules of Civil

     Procedure apply. State v, Milanovich, 42 Ohio St. 2d 46, 50-52, 325 N.E.2d 540, 543 ( 1975).

     Ohio Rev. Code Ann. § 2953.2l(D) sets out the correct procedure after a petition is filed:

                       Within ten days after the docketing of the petition, or within such
                       further time as the court may fix for good cause shown, the
                       prosecuting attorney shall respond by answer or motion. Within
                       twenty days from the date the issues are made up, either may move
                       for summary jud2ment. The ri2ht to such jud2ment shall appear
                       on the face of the record. [emphasis added].

     Thus, the State possesses the same rights and responsibilities as a respondent in a civil case.

     After being served with a complaint, the state may file an answer, Ohio R Civ.P. 7(A), 8(B),

     12(A); a motion pursuant to Ohio R. Civ.P. 12(b); or a motion for summary judgment under

     Ohio R. Civ. P.56. The state is under the same constraints as any other civil litigant, and must

     prove its right to relief according to the civil procedural rules. See 2-enerally Misteffv. Wheeler,

     38 Ohio St.3d 112, 526 N.E.2d 798 (1988).


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            In the case sub judice, the Appellee filed a Motion to Dismiss. T.d. 152. However, no

     civil rule has been cited by the Appellee, nor does one exist which would justify dismissing the

     civil post-conviction petition. It is assumed that the Appellee's intended purpose was to file a

     motion to dismiss for failure to state a claim upon which relief can granted under Ohio R Civ. P.

     12(B)(6). Based on State ex rei. Freeman y. Morris, 62 Ohio St. 3d 107, 109, 579 N .E.2d 702,

     703 (1991 ), this was in error. In Freeman, id.., the court held that the defense of res judicata

     could not be asserted in a respondent' s motion to dismiss under Ohio R. Civ.P. 12(B)(6), since

     the rule specifies the defenses that may be raised by motion and does not mention res judicata.

     Thus, the State improperly raised the defense of res judicata in its Ohio R. Civ.P. 12(B)(6)

     motion to dismiss Appellant Davis' petition. Further, § 2953.21 does not create a special

     exception to the civil rules, allowing res judicata to be asserted in a motion to dismiss, nor does it

     create a special procedure designed to facilitate such a practice. The motion is therefore

     governed by the rules of civil procedure, and cases interpreting the rules because post-conviction

     proceedings are civil in nature. Milanovich, 42 Ohio St. 2d 46, 325 N.E.2d 540. As Appellee's

     motion was clearly a motion to dismiss, and the trial court treated it as such, the court' s entry

     must be vacated.

                    3.      The doctrine of res judicata cannot bar Appellant's claims
                            when they were supported by evidence dehors the record.

            The trial court erroneously found that some of Appellant Davis' claims were barred by res

     judicata and ignored the evidence dehors the record in support of these claims. For instance, the

     Eighth, Twenty-Fifth and Twenty-Eighth Causes of Action were supported by evidence that

     could not have been presented previously due to the trial court's ruling excluding this evidence


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     during the resentencing hearing. T.d. 150, Exhibits R, S, T, U, V, X, Y, Z, AA, BB. Further, this

     evidence was necessary to establish prejudice as a result of the trial court's ruling. The Ohio

     Supreme Court has recognized that the availability of supporting evidence must be considered in

     determining whether a claim raised in a petition for post-conviction relief may be dismissed as

     res judicata. State v. Lester, 41 Ohio St. 2d 51, 322 N .E.2d 656, 659 (1975). Since Appellant

     Davis supported his claims with evidence which was barred by the trial court, and therefore, not

     part of the record, res judicata is inapplicable.

             The third, fifth, eighteenth, twentieth, twenty-sixth, and twenty-seventh claims were also

     supported by evidence dehors the record which the trial court simply ignored in its determination

     that the claims were barred by res judicata. When a claim demonstrates sufficient grounds for

     relief, a court cannot dismiss the claim without even acknowledging the evidence dehors the

     record . ~   State v, Scott, 63 Ohio App. 3d 304, 311 , 578 N.E.2d 841 , 846 (1989). These claims

     were not supported solely by self-serving or apparently contrived affidavits, but by evidence that

     was not obvious from the record.~ State v. Kapper, 5 Ohio St. 3d 36, 38, 448 N.E.2d 823, 826

     (1983) (affidavits from defense counsel or trial judge, in contrast to defendant's "self-serving"

     affidavit may warrant a hearing); State v, Cole, 2 Ohio St. 3d 112, 114,443 N.E.2d 169, 171

     (1982) (affidavit of defendant's family member as evidence dehors the record appeared contrived,

     and therefore, insufficient to warrant a hearing). For instance the third and twentieth claims

     which alleged that denial of the motion to sever was in error, and thereby forced the Appellant to

     waive a jury trial were supported by affidavits from Appellant's trial attorneys, Exhibit I, J; the

     fifth and twenty-seventh claim which alleged ineffective assistance of counsel set forth operative

     facts supported by outside evidence of unprofessional conduct and prejudice, Exhibit P (aff. of

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     atty on R . 65 committee stating that failure to apprise defendant of consequences of jury waiver

     is unprofessional), Exhibit CC (evidence refuting prior purposeful murder specification which

     trial attorneys did not obtain due to their failure to investigate); and the twenty-sixth claim which

     called into doubt the validity of the prior purposeful murder specification was supported by an

     affidavit of a witness to the 1971 incident. Exhibit CC. Only, the eighteenth claim is supported

     solely by the Appellant's affidavit. Exhibit F. However, this claim which alleged that the

     Appellant relied on the trial court's faulty instruction in deciding to waive the jury trial, is not

     refuted by the record.

            In State v. Pea:y, 10 Ohio St. 2d 175, syl. para. 7, 226 N.E.2d 104 (1967), the Ohio

     Supreme Court held that post-conviction claims are only barred if they were or could have been

     fully litigated either before the judgment of conviction or on direct appeal. As none of the above

     claims could have been fully litigated absent the outside evidence offered in the post-conviction

     petition, the trial court erred in dismissing them.

                                      ASSIGNMENT OF ERROR NO. II

                     THE TRIAL COURT ERRED WHEN 1I DISMISSED
                     APPELLANT DAVIS ' THIRD CAUSE OF ACTION.

                     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                     1.       Motion to sever charges in an indictment must be granted
                              when appellant demonstrates prejudice which cannot be
                              overcome by the state's demonstration that the evidence
                              would have come in under Evid. R. 404(B) or§ 2945.59.

           Appellant Davis' Third Cause of Action alleged that the trial court's denial of his motion

     to sever the trial for two charges contained in the indictment was an abuse of discretion, and

     violated the Appellant's rights guaranteed by the Fifth, Sixth, Eighth and Fourteenth

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     Amendments of the United States Constitution, and Article I,§§ 10 and 16 of the Ohio

     Constitution. Appellant was charged in a two count indictment: aggravated murder with a

     death penalty specification under Ohio Rev. Code Ann. § 2929.04(A)(5), a prior purposeful

     murder; and having a weapon under disability in violation of § 2923.13. Prior to trial,

     Appellant Davis elected to exercise his right under § 2929.022(A), to have the trial judge

     determine the existence of the aggravating circumstance during the penalty phase. T.d. 58. At

     that time, Mr. Davis also renewed his motion to sever the counts of the indictment pursuant to

     Ohio R. Crim. P. 16. T d. 8, 17, 58. Immediately after the trial judge denied the motion,

     Appellant Davis waived his right to a jury trial. Td. 88, 89.

           As a result of the trial judge's denial of the motion to sever, Appellant Davis was forced

     to waive his right to ajury trial. One ofthe elements of § 2923.13, the offense of having a

     weapon while under a disability, is a prior conviction for a felony of violence. The underlying

     felony in Appellant's case was a 1970 conviction for homicide. This homicide conviction also

     served as the death specification. Thus, although Mr. Davis had elected to have the

     specification of a prior purposeful murder determined during the penalty phase, a jury would

     Jearn of the prior homicide conviction during the guilt/innocence phase due to the joinder of the

     counts. As Mr. Davis feared the prejudice resulting from the introduction of such evidence

     before the jury, he waived his right to a jury trial. T.d. 150, Exhibit H, I, J.

            To prevail on a claim that the trial court abused its discretion in denying the motion to

     sever, the claimant must demonstrate prejudice and that the trial court had sufficient information

     to weigh the considerations favoring joinder against the claimant's right to a fair trial. State v,

     Schiam, 65 Ohio St. 3d 51, 59,600 N.E.2d 661,668 (1992). In the case .sl.l.b~. the trial

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     judge heard opposing arguments on the motion for severance; and Mr. Davis was prejudiced by

     the court's refusal to sever the charges to the extent that he was denied a fair trial.

             The prejudice to Mr. Davis was manifest. The trial judge's refusal to sever the charges

     abridged Mr. Davis' right to elect to have evidence of the prior purposeful killing considered

     solely at the sentencing hearing; and his right to a trial by jury guaranteed by the Sixth and

     Fourteenth Amendments of the United States Constitution and Article 1, § 5 of the Ohio

     Constitution. In State v. VanSickle, 90 Ohio App. 3d 301, 309,629 N.E.2d 39,44 (lOth Dist.

     1993) the prejudice due to joinder was manifest where the defendant was denied her statutory

     right to waive the jury trial for the abuse of corpse charge, but not for the aggravated murder of

     the same victim. Similarly, the prejudice to Mr. Davis was manifest as his desire to exercise his

     statutory right under§ 2929.022(A), and his right to a jury trial were foreclosed by the trial

     judge's denial of the motion to sever.

             The prosecution did not overcome prejudice by proving that the evidence of the prior

     homicide would have come in under Ohio R. Evid. 404(b) or§ 2945.59. See. e.~., State v,

     Martin, 19 Ohio St. 3d 122, 127, 483 N .E.2d 1157, 1162 (1985) (prejudice was overcome where

     gun theft charge would have been admissible under R. 404(b) to establish possession at trial for

     aggravated murder charge). As Ohio Supreme Court cautioned in Schaim,

                    (t]he admissibility of other acts evidence is carefully limited
                    because of the substantial danger that the jury will convict the
                    defendant solely because it assumes that the defendant has the
                    propensity to commit criminal acts, or deserves punishment
                    regardless of whether he or she committed the crime charged in the
                    indictment. This dan~er is particularly hj~h when the other acts
                    are very similar to the char~ed offense. or of an inflammatory
                    natun: ....

     64 Ohio St. 3d at 59, 600 N.E.2d at 688 (internal citations omitted) (emphasis added).
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            Evidence pertinent to the prior homicide is not relevant to Mr. Davis' guilt or irmocence

     of the aggravated murder of Suzette Butler. It is not only irrelevant but highly prejudiciaL~

     State v, Hector, 19 Ohio St. 2d 167, 249 N .E.2d 912 ( 1969) (evidence of other acts is admissible

     only when it tends to show one of the matters enumerated in §2945.59 Wll1 only when it is

     relevant to proof of guilt of the defendant of the other offense in question). If the trials were

     severed, the testimony regarding the weapon purchase may have been introduced in the

     aggravated murder trial only for the limited purpose of proving possession. The evidence

     necessary to prove the underlying disability of § 2923.13 would have been excluded as

     irrelevant to the crime of aggravated murder and as prejudicial due to its similarity to the crime

     charged. In fact, when the Ohio Legislature passed § 2929.022, it must have recognized and

     sought to prevent the prejudicial impact of introducing evidence regarding a prior homicide

     conviction during the guilt/irmocence phase of a trial for aggravated murder.

            Finally, the lower court erred when it refused to credit the affidavits of Mr. Davis, Mr.

     Shanks and Mr. Garretson, and dismissed the claim. The right to a jury trial is a fundamental

     right guaranteed by the Sixth Amendment and Article I, § 5 of the Ohio Constitution.

     Acquiescence to the loss of this fundamental right may not presumed; the courts are obliged to

     establish that the waiver of a fundamental right is, in fact, made knowingly and voluntarily.

     Jobnson v. Zerbst, 304 U.S. 458, 464 (1938). In cases of purported waiver, "every reasonable

     presumption should be made against the waiver, especially when it relates to a right or privilege

     deemed so valuable as to be secured by the constitution." Simmons v. State, 75 Ohio St. 346, 352

     (1906). Therefore, the trial court was compelled to hold an evidentiary hearing in order to

     determine the issue.

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                                    ASSIGNMENT OF ERROR NO. Ill

                    THE TRIAL COURT ERRED BY GRANTING THE
                    PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                    APPELLANT'S FIFTH CAUSE OF ACTION.

                    ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                     I.     The judgment against Petitioner Davis is void or voidable
                            because he was denied the effective assistance of counsel in
                            violation of his constitutional rights as guaranteed by the
                            Fifth, Sixth, Eighth, and Fourteenth Amendments of the
                            United States Constitution and Article I, Sections 2, 9, I 0,
                            and 16 of the Ohio Constitution.

           Since the reintroduction of capital punishment, in response to the United States Supreme

     Court's decision in Furman y , Geor~ia, 408 U.S. 238 (1972), the area of capital litigation has

     become a recognized speciality. I.d. 150, Exhibit P. As a result, anyone who litigates in the area

     of capital punishment must be familiar with these issues in order to raise and preserve them for

     appellate and post-conviction review. The decision whether or not to waive a jury and try the case

     to a three-judge panel is a crucial decision.

           Ohio's three-judge panel provision in capital cases has no counterpart in other state statutes,

     and therefore the standards of practice relating to this technique are uniquely Ohio standards. The

     Ohio Supreme Court has adopted a rule in capital cases that in a trial before a three-judge panel,

     the Court will, in reviewing the case, presume that the panel considered only relevant, material,

     and competent evidence in reaching its decision unless the record affirmatively demonstrates

     otherwise. State v, Post, 32 Ohio St. 3d 380,384 (1987), cert. denied, 484 U.S. 1079 (1988). The

     Ohio presumption is effectively irrebuttable. Only if the record affirmatively shows that the trial

     court considered improper evidence will an appellate court find its admission to be error.


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           Equal protection requires that all capital defendants be tried on the same quality of evidence.

     Due process requires that the rules of evidence be applied fairly and that capital defendants not be

     deprived of a fair determination of their cases. Capital defendants in Ohio .are deprived of these

     rights when they elect to be tried and sentenced before a three-judge panel. These are realistic

     factors that must be taken into consideration when advising a client about his right to waive a jury

     and try a case to a three-judge panel. A capital defendant should always be advised prior to

     waiving a jury trial that his case will be subject to a lesser standard of review on appeal if tried

     before a three-judge panel.

           Petitioner Davis was prejudiced because his jury waiver was not intelligent, knowing, and

     voluntary. Petitioner Davis was not aware of the circumstances and consequences of his waiver.

     T.d. 150, Exhibit Q. Mr. Davis was precluded from making an informed choice. As a result he

     was subjected to a lesser standard of review in the appellate courts. State v. Davis, No. 89-09-123

     (Butler C.A. October 29, 1990) p. 8; State v. Davis, 63 Ohio St. 3d 44, at 48 (1992).

                                     ASSIGNMENT OF ERROR NO. IV

                    THE TRIAL COU RT ERRED BY GRANTING THE
                    PROSECUTOR' S MOTION TO DISMISS AS TO PETITIONER-
                    APPELLANT'S SIXTH CAUSE OF ACTION .

                    ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                     1.     Where a capital defendant is not permitted to introduce
                            relevant, available mitigating evidence at his resentencing
                            hearing, it is a violation of rights under the Fifth, Sixth,
                            Eighth, and Fourteenth Amendments of the United States
                            Constitution and Article I, Sections 2, 9, 10 and 16 of the
                            Ohio Constitution.




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                  A capital defendant, facing the possibility of a death sentence, must be permitted to

      introduce all available relevant mitigating evidence at his resentencing hearing. The Common

      Pleas Court conducted a resentencing hearing in Appellant's case on August 4, 1989. It did not

      permit counsel for Appellant Davis to introduce any new mitigating evidence, but made its

      sentencing determination from the evidence presented at Appellant's original capital trial.

      Appellant Davis was resentenced to death by the trial court.

                  Imposition of the death penalty requires "an individualized determination on the basis of

      the character of the individual and the circumstances of the crime." Zaot v. Stephens, 462 U.S.

      862 (1983). In Lockett v, Ohio, 438 U.S. 586 (1978), the United States Supreme Court held that

      the "Eighth and Fourteenth Amendments required that the sentencer, in all but the rarest kind of

      capital case, not be precluded from considering as a mitigating factor, any aspect of a defendant's

      character or record and any of the circumstances of the offense that the defendant proffers as a

     basis for a sentence less than death." l.d. at 604.

                  In Skipper v. South Carolina, 476 U.S. 1 (1986), the Court determined that at a new

      sentencing hearing where the capital defendant again faces the possibility of a death sentence, the

      defendant must be "permitted to present any and all relevant mitigating evidence that is available."

     l.d. at 8.

              Defense counsel in Mr. Davis's case attempted to introduce mitigating evidence that had

     arisen since the time of the first capital sentencing proceeding. On July 3, 1989, prior to the

     commencement of the resentencing hearing, defense counsel filed various motions to present

     mitigating evidence. During a motions' hearing, the trial court denied all motions. The trial court

     also indicated that it would only consider the evidence presented at the fust sentencing hearing.

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     The trial court provided that the witnesses counsel had subpoenaed for the resentencing hearing

     need not honor their subpoenas. M.R.H. T.p. 12.

            Defense counsel was given the opportunity to proffer new mitigating evidence at the

     hearing. The main substance of defense counsel's argument concentrated on Mr. Davis's good

     prison record at the Southern Ohio Correctional Facility since he had been sentenced to death row.

     R.H.T.p. 1-5. This type of evidence has been characterized as relevant, mitigating evidence by the

     United States Supreme Court. Skipper v. South Carolina,~·

            At the resentencing hearing, counsel proffered expert opinion testimony by Dr. Roger

     Fisher, who would have given a psychological update on Mr. Davis. Dr. Fisher could have

     testified regarding Mr. Davis compulsive personality order or explosive disorder. R.H.T.p. 16.

     This type of evidence is relevant, mitigating evidence pursuant to either Ohio Rev. Code Ann. §

     2929.04(B)(3) or § 2929.04(B)(7).

            Although defense counsel had available relevant mitigating evidence, the trial court refused

     to consider the evidence in determining the appropriate penalty to be imposed at resentencing. Mr.

     Davis was prejudiced and his death sentence was rendered unreliable and inappropriate

                                    ASSIGNMENT OF ERROR NO. V

                   THE TRIAL COURT ERRED BY GRANTING THE
                   PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                   APPELLANT'S EIGHTH CAUSE OF ACTION .

                   ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                    1.     The death sentence imposed on Appellant was
                           inappropriate, in violation of Appellant's rights under the
                           Fifth, Sixth, Eighth, and Fourteenth Amendments of the
                           United States Constitution and Article I, Sections 10 and 16
                           of the Ohio Constitut ion.

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            The United States Supreme Court has consistently recognized that death is a different kind

     of punishment from any other kind which may be imposed in this country. Gre~~ v Geor~ia, 428

     U.S. 153, 181-88, reb'~ denied, 429 U.S. 875 (1976); Furman y. Georiia, 408 U.S. 238, Wli

     ~.      409 u.s. 902 (1972).

            The trial court, in its Opinion filed on August 11, 1989, listed the four mitigating factors it

     found to be present in Mr. Davis's case. Trial Opinion 1-2 (hereafter cited as Tr. Op.) The court

     determined that all of these mitigating factors came under Ohio Rev. Code§ 2929.04(8)(7), and

     further concluded that "the factors we find in mitigation are of slight weight." Tr. Op. 2.

     However, the death sentence ultimately imposed in Mr. Davis's case was inappropriate. A

     substantial amount of mitigation was presented which did in fact outweigh the aggravating

     circumstance.

            The trial court did not give proper weight to the evidence presented concerning Mr. Davis's

     personality disorder. At Mr. Davis's original trial, he presented evidence of a "compulsive

     personality disorder," involving perfectionism and fears offailure, and of an "active-detached

     individual with schizoid trends." Dr. Roger Fisher hypothesized that if indeed Appellant had shot

     Suzette Butler, it would be indicative of a person who had difficulty relating to women in a

     nonviolent way. T.p. 400, 406. The testimony about Appellant's personality disorder was

     compelling mitigating evidence under§ 2929.04(8)(3). Eddim~s v, Oklahoma, 455 U.S. 104

     (1982); State v, Lawrence, 44 Ohio St. 3d 24 (1989).

            Substantial mitigation evidence presented at Appellant's original trial also demonstrated his

     ability to function well within the prison setting. T .p. 382-384, 389. This evidence was further

     supplemented by the new evidence proffered at his resentencing hearing. Three employees of the

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      Ohio Department of Corrections provided information about Mr. Davis's good behavior and

      adjustment to prison life since his incarceration after his trial in 1984. R.H.T.p. 3-5. Under

      Skipper y. South Carolina, 476 U.S. 1 (1986), this is relevant mitigating evidence.

             Appellant Davis is 47 years old. Given a life sentence, he will spend the rest of his life in

      prison. Pursuant to § 2929.04(B)(7), a sentencer must consider any "factors relevant to the issue

      of whether the offender should be sentenced to death." One of the factors relevant to the

      imposition of the death sentence is the amount of time a defendant would have to serve if a life

      sentence were imposed on the defendant. Mr. Davis's age and the extensive evidence indicating

      that he would adjust well to life in prison are compelling mitigating factors.

             In addition to the evidence presented at trial, and proffered at the resentencing hearing,

      substantial other mitigating evidence exists which demonstrates that the death penalty is

      inappropriate in Appellant Davis's case.

                     A)     Von Clark Davis is the product of a dysfunctional family
                            which failed him.
                     B)     From his grandparents and his parents, Mr. Davis inherited
                            generations of negative feelings, Jack of insight, and poor
                            self-control. This culminated in his lack of insight, inability
                            to recognize dysfunctional aspects of his behavior and his
                            repetitive failures, losses and disappointments.
                     C)     When placed in the highly structured setting of prison, Mr.
                            Davis has done quite well. He finished his schooling,
                            learned a trade, and managed his behavior without significant
                            di scipline problems.
                     D)     A standard battery of neuropsychological assessment
                            procedures administered to Mr. Davis indicate possible
                            underlying brain impairment.
                     E)   Several friends and family members of Appellant Davis had
                            information about him which was not presented at his
                            original trial, and further, would have testified that they
                            loved him and did not want him to be executed. Td. 150,
                            Exhibits R, S, T, U, V, DD.

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             The requirement of an individual determination of whether an individual should be

      sentenced to death is a fundamental prerequisite to a constitutionally valid death penalty. The

      need for individualized treatment of each particular capital defendant has been repeatedly stressed

      since the Supreme Court approved capital punishment in~ 428 U.S. 153 ( 1976).

                                  ASSIGNMENT OF ERROR NO. VI

                     THE TRIAL COURT ERRED WHEN IT DISMISSED
                     APPELLANT DAVIS' ELEVENTH CAUSE OF ACTION.

                     ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                      1.     Ohio courts' failure to comply with Ohio law requiring life
                             verdicts to be written in capital cases skews proportionality
                             review of death sentences in favor of death.

              Appellant Davis' rights under the Fifth, Sixth, Eighth, and Fourteenth Amendments of

      the United States Constitution and Article I, Sections 10 and 16 of the Ohio Constitution were

      violated because Ohio courts do not file sentencing opinions as required by law when life

      sentences are imposed in capital cases, and thereby Appellant was prejudiced.

              Ohio Rev. Code § 2929.05 requires Ohio appellate courts to engage in a proportionality

      review of every death sentence. To insure that the courts have a sufficient body of data by

      which to compare the circumstances and the sentences of every capital case, the legislature

      created an information gathering system.~§§ 2929.021; 2929.03(G); 2929.05(A). Despite

      the dictates of§ 2929.03 (G) which states that a court imposing a life or death sentence must

      file written findings and conclusions as to the weighing process, the trial courts in Ohio have

      consistently neglected to file opinions in life verdict cases.




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           When a case such as Appellant Davis' is only compared with other death cases under

     proportionality review, the outcome of the review is necessarily skewed in favor of death.

     The U.S. Supreme Court has held that the infliction of the death penalty in a systematically

     arbitrary and capricious manner violates the Eighth Amendment of the U.S. Constitution.

     Fuonao v. Georliia, 408 U.S. 238 (1972). The Ohio Legislature sought to alleviate the arbitrary

     and capricious application of the death penalty by imposing a statutory duty upon appellate

     courts to review each sentence and determine whether it is excessive or disproportionate to

     sentences imposed in similar cases. This statutory duty includes writing findings as to why the

     aggravated circumstances did not outweigh the mitigating factors in life sentence cases.

           Although proportionality and appellate reviews are not constitutionally required, once

     provided, they cannot constitutionally evolve into a meaningless ritual. Pulley v. Harris, 465

     U.S. 37 (1984); biD~ Solem v. Helm, 463 U.S . 277 (1983) (Eighth Amendment requires

     proportionate punishment); Dou2las v. California, 372 U.S. 353 (1963). Further, Appellant

     Davis has a liberty interest under the due process clause in§ 2929.03 (F) and other statutory

     proportionality provisions because it affects his substantial rights. Fetterly v Pasken, 997 F.2d

      1295 (9th Cir. 1993). Therefore, Appellant's constitutional rights were violated because the

     appellate courts failed to conduct the legally mandated proportionality review of his case.

                                    ASSIGNMENT OF ERROR NO. VII

                    THE COURT ERRED IN DISMISSING APPELLANT DAVIS'
                    FIFTEENTH CAUSE OF ACTION.

                    ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                    1.      A presumption that errors which occurred at appellant's
                            capital trial before a three judge panel were harmless
                            violates appellant's equal protection and due process rights.
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             Appellant Davis' Fifteenth Cause of Action alleged that both the Ohio Supreme Court

     and the Twelfth District Court of Appeals employed an unconstitutional standard of review in

     deciding his case, in violation of the Fifth, Sixth, Eighth and Fourteenth Amendments of the

     United States Constitution and Article I, Sections 10 and 16 of the Ohio Constitution. &e .s.tak

     y. Davis, 63 Ohio St. 3d 44,48 (1992); State y. Dayjs, No. 89-09-123, 1990 WL 165137 at •3,

     (Butler C.A. October 29, 1990).

             The Ohio presumption that a three-judge panel only considers proper and competent

     evidence regardless of what was wrongly admitted at trial is effectively irrebuttable and,

     therefore, unconstitutional. &e State v Post, 32 Ohio St. 3d 380, 384 (1987) (presumption

     that only relevant evidence was considered by judge unless affirmatively appears on the record

     to the contrary). Contrary to the Ohio rule, the United States Supreme Court refused to

     presume that the trial judge did not consider wrongfully admitted evidence in its judgement in

     Won2 Sun v. United States, 371 U.S. 471,472 (1963), and reversed. The Court reasoned that

     since it could not be certain "that the trial judge may not also have considered the contents of

     the [illegally obtained] statements," it must "presume that the judge considered all portions of

     both statements .... " W... at 492.

             Due process and equal protection require that the rules of evidence and procedure be

     applied fairly, and that capital defendants not be deprived of a fair determination of their cases.

     As Mr. Davis was denied his rights to due process and equal protection, he was prejudiced.

                                      ASSIGNMENT OF ERROR NO. VIII

                      THE TRIAL COURT ERRED TN DISMISSING APPELLANT'S
                      SIXTEENTH CAUSE OF ACTION.

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                      ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                      1.      Where an Appellant's death sentence is secured through the
                              use of a statutory scheme that violated his constitutional
                              rights as guaranteed by the Fifth, Eighth, and Fourteenth
                              Amendments to the United States Constitution and Sections
                              2 and 9, Article I of the Ohio Constitution, the sentence is
                              arbitrary and must be reversed.

               Appellant Davis was convicted of one count of capital murder .and sentenced to death.

     The three-judge panel that sentenced Appellant to death relief upon Ohio Rev. Code Ann.§

     2929.03 in order to impose the sentence of death on Appellant Davis. However, § 2929.03(0) is

     unconstitutional in that it is unclear as to the standard of proof to be used during mitigation

     hearings to three-judge panels and therefore permits variations in the imposition of death

     sentences for reasons other than those permitted by the United States and Ohio Constitutions.

               Section 2929.03(D) establishes the procedure for mitigation hearings for capital

     defendants convicted of aggravated murder. At the conclusion of this hearing, the trier of fact

     must weigh the mitigating factors established at the hearing against the aggravating

     circumstances of which the defendant was found guilty. Section 2929.03(D) also prescribes the

     burden of prooffor mitigation hearings tried to a jury. In contrast, for a case tried to a three-

     judge panel the statute establishes no burden of proof. Because of this deficiency, the imposition

     of the sentence of death by a three-judge panel can vary for reasons having nothing to do with the

     offender or the offense. Accordingly, § 2929.03(D) violates the constitutional principle of

     reasonable definiteness in death penalty statutes announced in Funnan y.     Geor~ia,   408 U.S. 238

     (1972).




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            In cases tried to a jury,§ 2929.03(D)(2) and (3) permit the imposition of death only if

     both the trial jury (unanimously) and the trial judge conclude that the state has proven beyond a

     reasonable doubt that the aggravating circumstances outweigh the mitigating factors. In contrast,

     the statute does not prescribe a standard of proof against which a three-judge panel determines

     whether the state has borne its burden of proof.

            This determination is the essence of the fact finder's task, and it requires a standard of

     proof. If a standard is not prescribed, the fact fmder must supply one ad hoc. Depending on the

     standard chosen, different decisions will be reached as to whether the State has borne its burden.

     This violates equal protection and due process.

                                    ASSIGNMENT OF ERROR NO. IX

                    THE TRIAL COURT ERRED IN DISMISSING APPELLANT
                    DAVIS' SEVENTEENTH CAUSE OF ACTION.

                    ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                    1.      Appellant's jury waiver was unknowing absent the
                            knowledge that he faced an increased risk of being
                            sentenced to death when tried before a three judge panel.

            Appellant Davis' Seventeenth Cause of Action alleged that his jury waiver was secured

     in violation of rights under the Fifth, Sixth, and Fourteenth Amendments to the United States

     Constitution and Sections 5 and 16, Article I of the Ohio Constitution, as he was not informed

     of the increased risk of death attendant to being sentenced by a three-judge panel.

           Ohio Rev. Code Arm. § 2929.03(D) provides:

                    Upon consideration of the relevant evidence... if, after receiving ...
                    the trial jury's recommendation that the sentence of death be
                    imposed, the court finds, by proof beyond a reasonable doubt, Qijf
                    the panel of three jud~es unanimously finds. that the a~~ravatin~
                    circumstances the offender was found ~ujlty of coromittio~
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                    outwei~h the mitj~atin~ factors, it shall impose sentence of death
                    on the offender. [emphasis added].

     Appellant Davis was not informed by the trial court that according to § 2929.03(D), the state

     has a lesser burden of proof when a three-judge panel determines the appropriate sentence, than

     when the trial judge determines whether to accept the jury's recommendation. M.T.p. 59. A

     waiver obtained in the absence of this knowledge is constitutionally defective.

            A defendant's jury waiver must be knowing, intelligent, voluntary, and made with

     sufficient awareness of the relevant circwnstaoces and likely consequences ofthe waiver. Brady

     v United States, 397 U.S. 742, 748 (1970); State v Ruppert, 54 Ohio St. 2d 263, 271 (1978). A

     waiver which results in a reduced burden of proof for judgment in favor of the state, is a relevant

     circumstance of constitutional significance. In re Winship, 397 U.S. 358 (1970). Appellant Davis

     had the right to know that a jury waiver would subject him to an increased risk of being sentencing

     to death. Absent this information, Davis' waiver was not knowingly and intelligently given.

                                     ASSIGNMENT OF ERROR NO. X

                    THE TRIAL COURT ERRED BY GRANTING THE
                    PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                    APPELLANT'S EIGHTEENTH CAUSE OF ACTION.

                    ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                    I.     Where a defendant is misinformed by the court as to the
                           standard of proof, a waiver of the right to a jury trial is
                           invalid and a violation of rights as guaranteed by the Fifth,
                           Sixth, Eighth and Fourteenth Amendments to the United
                           States Constitution and Sections 2, 5, 9, I 0 and 16, Article I
                           of the Ohio Constitution.

            On May 8, 1984, Appellant Davis signed a docwnent entitled "jury waiver and election of

     three judge panel." T.d. 89. The following on-the-record colloquy ensued:

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                    By the Court: Now you understand that when you do this, that the
                    panel of judges will hear the evidence and make a decision on the
                    matter and you're giving up your right to have twelve people make
                    that decision. Now, all twelve of those people would have to be
                    convinced of your guilt or not guilty, either way, and all twelve of
                    them would have to be convinced before they could sign a verdict
                    one way or the other. Do you want to give up your right to have
                    twelve people make this decision.

                    A. Yes I do.

                    By the Court: Now, you know the same burden of proof is on the
                    State whether you go to the jury or to the jury, I mean, or to the jury
                    or to the Court, a panel of three judges. I mean, the three judges
                    would have to listen to the evidence and be convinced beyond a
                    reasonable doubt of your guilt or innocence, before they could
                    make a finding and all three of the Judges would have to be
                    unanimous in that finding do you understand?

                    Mr. Davis: Yes 1 do.

     M.T.p. 58-62 (emphasis added.)

            In this colloquy the trial court misadvised Appellant Davis as to the standard the jury must

     use in assessing his guilt. Specifically, the trial court informed Appellant that the twelve jurors

     simply had to be "convinced of [his] guilt or not guilty." This standard is neither the

     constitutionally required beyond a reasonable doubt standard, In re Winship, 397 U.S. 358 (1970),

     nor the statutory requirement of beyond a reasonable doubt. Ohio Rev. Code Ann. § 2901.05. It is

     a significantly lower standard than that required by law. In contrast, the trial court informed

     Appellant Davis if he chose to have his guilt determined by a three judge panel, that panel would

     have to determine his guilt "beyond a reasonable doubt," a higher standard of proof. M .T. p . 59.

            The trial court's misadvice on the standard of proof prevented Appellant from making a

     knowing, intelligent and voluntary waiver of his right to a jury trial. Appellant was prejudiced by




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     this information because he relied on it in electing to be tried by a three judge panel. T.d. 150,

     Exhibit F.

             Moreoever, the trial court also informed Appellant that the three judge panel had to "be

     convinced beyond a reasonable doubt of your guilt or innocence." M.T. p. 59. It is

     constitutionally inaccurate for the trial court to state that the trial court has to be convinced of

     Appellant's innocence beyond a reasonable doubt. The burden is on the state to prove the

     defendant's guilt beyond a reasonable doubt. In re Winship, 397 U.S. 358 (1970).

                                      ASSIGNMENT OF ERROR NO XI

                    THE TRIAL COURT ERRED WHEN IT DISMISSED
                    APPELLANT DAVIS' NINETEENTH CAUSE OF ACTION, IN
                    VIOLATION OF HIS RIGHTS GUARANTEED BY THE FIFTH,
                    SIXTH, EIGHTH AND FOURTEENTH AMENDMENTS TO
                    THE UNITED STATES CONSTITUTION AND SECTIONS 5, 9,
                    AND 16 OF ARTICLE I OF THE OHIO CONSTITUTION.

                    ISSUES PRESENTED FOR REVIEW AND ARGUMENT:

                     1.     Appellant Davis did not knowingly and intelligently waive
                            his right to a jury trial as he was unaware of all the
                            circumstances necessary to a valid waiver.

             On January 11 , 1995, the Butler County Court of Common Pleas held an evidentiary

     hearing on the Nineteenth Cause of Action in Appellant Davis' Petition to Vacate or Set Aside

     Sentence. At issue was whether Mr. Davis validly waived his right to trial by jury as he was not

     apprised of all the relevant circumstances necessary to make an intelligent and knowing waiver,

     to-wit: the fact that Judges Stitsinger and Moser, two of the judges comprising the three-judge

     panel at Mr. Davis' capital trial, had represented as attorneys a party suing Mr. Davis and his

     former wife, Ernestine in 1970.


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             At the hearing it was established that Von and Ernestine Davis purchased a home located

      at 729 S. 13th Street in Hamilton, Ohio in 1969. That same year, the Federal National Mortgage

      Association, ("FNMA"), gained ownership of the mortgage on the house. E.H.T.p. Def. Exhibit

      A. On January 5, 1970, FNMA instituted a foreclosure action as Von and Ernestine had

     negle.cted to pay their mortgage for the preceding five months. !d. William Stitsinger and John

      Moser testified that they were the attorneys representing the FNMA in the proceedings against

      the Davises. E.H.T.p . 26, 44. On March 23, 1970, the court filed a judgment entry and decree of

      foreclosure against the Davises. E.H.T.p. Def. Exhibit B.

             Judge Stitsinger testified that in the typical foreclosure case, before the complaint was

      filed, he would check the records to see whether there were any other judgments or actions

     pending against the mortgagor; in some cases he would contact the mortgagors to arrange a

      payment plan; and he personally participated in the court hearings and sheriffs' sales. E.H.T.p.

      31 -33. Judge Moser testified that once the FNMA forwarded him the documents necessary for

     disposition and he had reviewed the records, he would usually hand over the file to Stitsinger,

     but sometimes he would become directly involved. E.H.T.p. 42, 47.

             At the time of the jury waiver prior to the capital trial, Appellant Davis was unaware that

     Judges Stitsinger and Moser had represented the FNMA in the foreclosure action, nor was he told

     of this fact by either his attorneys or the judges. E.H.T.p. 6, 7, 8. Appellant Davis testified that

     had he known that the attorneys who foreclosed on his house were going sit in judgment of him

     in his capital trial, he would have chosen to have a jury trial. E.H.T.p. 9. Judge Stitsinger

     testified that if one of the parties coming before him at trial had asked for his recusal based on his

     activities as an attorney, he would have recused himself. E.H.T.p. 36. Further, Judge Moser

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        testified that if he had recalled at the capital trial his prior involvement in the suit against Mr.

        Davis, he would have brought it to everyone's attention. E.H.T.p. 45.

                The trial court erred when it dismissed Mr. Davis' Nineteenth Cause of Action in

        violation of his right to trial by jury guaranteed by the Sixth and Fourteenth Amendments to the

        United States Constitution and Sections 5, Article I of the Ohio Constitution. A waiver of the

        right to trial by jury must be intelligent, voluntary and knowing. Ohio R. Crim. P. 23(A); Ohio

        Rev. Code Ann. § 2945.05; Adams y United States, 317 U.S. 269 (1942). Further, the trial

        "court must insure that the accused's decision to waive such right is made with a sufficient

        awareness of the relevant circumstances and likely consequences of his waiver." State v

        Ruppert, 54 Ohio St. 2d 263,271, 375 N.E.2d 1250, 1255, w:t. ~. 439 U.S. 954 (1978);

        Brady v. United States, 397 U.S. 742, 748 (1970). An assessment as to whether there was a

        valid waiver is strict: "Every reasonable presumption should be made against the waiver,

        especially when it relates to a right or a privilege deemed so valuable as to be secured by the

        Constitution." Simmons v. State,75 Ohio St. 346, 352 (1906). This is so because, "trial by jury

        is the normal, if not preferable, mode of disposing of issues of fact in criminal cases and the

        right must be jealously preserved." Ruppert, 54 Ohio St. 2d at 271,375 N.E.2d at 1255.

               The testimony presented at the evidentiary hearing demonstrated that Appellant Davis

        was not advised of all the relevant circumstances attendant to his waiver at the time he made his

        decision. If Appellant Davis had been aware of the judges' involvement in the foreclosure

        action, he would have chosen to be tried by a jury ofhis peers. E.H.T.p. 26, 9. Judges

        Stitsinger and Moser revealed at the hearing that they, too, thought their involvement in a

        foreclosure proceeding against Appellant Davis was relevant to the capital proceedings. Judge

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        Moser testified that had recalled the case, he would have brought it to everyone's attention.

        E.H.T.p. 45. And both judges testified that if Mr. Davis had asked them to recuse themselves

        on the basis of their activities as an attorney, they would have done so. E.H.T.p. 36, 48.

               Under § 2945.05, Appellant Davis had an absolute right prior to the commencement of

        trial to withdraw his jury waiver. As Mr. Davis' waiver was based on incomplete information,

        he was deprived of this right as well. The trial court's opinion confused the situation at issue in

        Appellant's case with other cases in holding that the appellant was not entitled to relief. T.d.

        178 p. 4-5. The issue in this case is not whether the trial court misinformed the Appellant as to

        the consequences of waiver,~ Rm2pert, 54 Ohio St. 2d at 271, 375 N.E.2d at 1255, or

        whether the court was remiss in its duty to interrogate the defendant to ensure the waiver was

        informed.~    State v Jells, 53 Ohio St.3d 22, 25-26, 559 N.E.2d 468 (1990). Rather, it is

        whether, Appellant Davis was aware of all the relevant circumstances necessary to make a

        knowing and intelligent waiver of a jury trial. The judges' prior involvement in the foreclosure

        proceedings against Appellant Davis was a relevant circumstance of which Appellant Davis

        should have been made aware prior to his waiver. Absent this information, the waiver was

        unknowingly made.

                       2.     Appellant can challenge a jury waiver based on facts of
                              which he became aware since the waiver.

               Whether there is a valid waiver, "depend[s] upon the unique circumstances of each

       case." Ailllms, 317 U.S. at 278. In accordance with Ad.am.s' "unique circumstances" inquiry,

       the Ohio Supreme Court in State v D'Ambrosio, 67 Ohio St. 3d 185, 189,616 N.E.2d 909,914

       (1993), recognized that "postwaiver events might justify withdraw! of the waiver ... ," though


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        the circumstances in that particular case did not. Thus, Ohio Supreme Court did not create a

        rule that post-waiver events could never justify withdraw} of a jury waiver. Nonetheless, the

        trial court relied on D'Ambrosio, iQ., and State y. Dickerson, 45 Ohio St. 3d 206, 543 N.E.2d

        1250 (1989), in support of its conclusion that post-trial facts cannot affect the validity of a

        waiver. T.d. 178, p. 3-4. The particular circumstances ofD' Ambrosio and Dickerson did not

        justify withdraw! of a waiver, whereas, the particular circumstances of Mr. Davis' case do.

               In both Dickerson and D'Ambrosio, the defendants knew prior to trial of the

        circumstances upon which their subsequent claims of invalid waiver were predicated. In

        Dickerson, the morning of trial, the judge inquired of the defendant if he still wished to waive

        the jury knowing that a judge on his panel had presided over an earlier criminal trial involving

        the same defendant. 45 Ohio St. 3d at 209, 210, 543 N.E.2d at 1254. Similarly, in

        D'Ambrosio the defendant knew before the commencement of trial that one of the judges on

        his panel had presided over the jury trial of the co-defendant. 67 Ohio St. 3d at 188-189,616

        N.E.2d at 913-914. However, neither ofthe defendants with this knowledge attempted to

        withdraw their waivers. !.d. at 189, 616 N.E.2d at 914; Dickerson, 45 Ohio St. 3d at 210, 543

       N.E.2d at 1254. According to the court this was the decisive factor: "Although postwaiver

       events might justify withdraw! of the waiver, the record reveals that defendant never tried to

       withdraw his waiver of right to a jury trial. Therefore, we overrule defendant's ... proposition

       oflaw." ld. at 189, 616 N.E.2d at 914. ~ ills.Q Dickerson, 45 Ohio St. 3d at 210, 543 N.E.2dat

       1254.

               In contrast, Mr. Davis did not learn of the facts necessary to a knowing and intelligent

       waiver before or during trial, or even at the time of the resentencing in 1989. E.H.T.p. 9.

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        Further, if the trial court's position that post-waiver events can never affect the validity of a

        waiver is correct, then it has effectively eliminated remedies pursuant to§ 2953.21 permitting a

        defendant to challenge the constitutionality of a conviction post-trial.

                        3.      The right to a jury trial is personal to the defendant and
                                cannot be abridged by the court or the state.

                 The trial court conflated the issue of judicial bias with the issue in this case of whether

        Mr. Davis' waiver was knowing and intelligent. In the absence of judicial conduct requiring

        disqualification, the court concluded that Appellant Davis did not suffer any prejudice which

       would warrant relief. T.d. 178, p 4-5. The Appellant has never contended that Judges Stitsinger

       and Moser should have been disqualified due to their involvement with the foreclosure action

       against Mr. Davis. However, Appellant Davis does contend that their prior involvement was of

       material and relevant consequence to his jury waiver decision. Indeed, without that

       information, Appellant Davis was deprived of the right to make a knowing and intelligent

       waiver.

                 The ability to waive a right guaranteed by the United States and Ohio Constitutions is

       personal to the accused: "[I]t is beyond the power of the courts to abridge or impair the right to

       a trial by jury, thus clearly and expressly given. The right may be waived by the accused, but it

       cannot be taken from him by the court." Simmons, 75 Ohio St. at 351,79 N.E.2d at 556

       (internal citation omitted). Just as the court may not presume a jury waiver from the silence of

       the accused, ~ lil., the court may not presume that the judges' involvement in the foreclosure

       action would have had no effect on Appellant Davis's decision and the ultimate outcome of the

       case. Further, the trial court's failure to credit Mr. Davis' sworn testimony that he would not


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        have waived the jury trial had he known, is disingenuous. In effect, the trial court has usurped

        the personal right of the Appellant to decide whether to waive his constitutional right to a jury

        trial.

                 The validity of a jury waiver is not contingent upon whether the judges making up the

        panel had a conflict of interest or bias which rose to a level requiring recusal as prescribed by

        the judicial code of conduct and case law. The validity of the waiver is contingent upon

        whether the Appellant was aware of a fact material to his decision to waive his right to a jury.

        The fact that he was not, as brought out by the evidentiary hearing, renders his waiver invalid.

                                        ASSIGNMENT OF ERROR NO XII

                        THE TRIAL COURT ERRED BY GRANTING THE
                        PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                        APPELLANT'S TWENTIETH CAUSE OF ACTION.

                        ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                        1.     When a defendant is forced to waive his right to a jury trial,
                               and it is invalid in violation of constitutional rights as
                               guaranteed by the Fifth, Sixth, Eighth and Fourteenth
                               Amendments to the United States Constitution and Sections
                               2, 5, 9, 10 and 16, Article I ofthe Ohio Constitution.

                 Appellant Davis was charged with a prior murder specification pursuant to Ohio Rev.

        Code§ 2929.04(A)(5). Appellant was also indicted on one count of having a weapon under

        disability.§ 2923.13. On May 4, 1984, prior to the start of his capital trial, Appellant elected,

        pursuant to O.R.C. § 2929.022 to have his specification determined by the court. M.T p. 57.

                 Appellant also requested by motion that the weapon under disability count be severed

        and tried separately. Appellant made this request so the prior murder charge could not be

        introduced at trial through this count. M.T. p. 46-50. The trial court denied the motion to

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        sever. M.T.p. 50. Following the trial court's denial of the motion to sever, Appellant waived

        his right to trial by jury. Appellant was forced to waive his right to trial by jury because the

        trial court refused to sever the weapon under disability charge. T.d. 150, Exhibits H, I, J.

                                       ASSIGNMENT OF ERROR NO XIII

                        THE TRIAL COURT ERRED BY GRANTING THE
                        PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                        APPELLANT'S TWENTY-FIRST CAUSE OF ACTION.

                        ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                        1.      Where a defendant is denied the effective assistance of
                                counsel in violation of his constitutional rights as
                                guaranteed by the Fifth, Sixth, Eighth, and Fourteenth
                                Amendments to the United States Constitution and Sections
                                2, 9, 10, and 16, Article I of the Ohio Constitution, the
                                resulting conviction and sentence must be reversed.

                Since the reintroduction of capital punishment, in response to the United States Supreme

        Court's decision in Funuan v   Geor~ia,   408 U.S. 238 (1972), the area of capital litigation has

        become a recognized speciality. As a result, anyone who litigates in the area of capital punishment

        must be familiar with these issues in order to raise and preserve them for appellate and post-

        conviction review. The decision whether or not to waive a jury and try the case to a three-judge

        panel is a crucial decision.

               Ohio's three-judge panel provision in capital cases has no counterpart in other state

        statutes, and therefore the standards of practice relating to this technique are uniquely Ohio

        standards. Counsel must recognize that the same factors which affect jurors in a capital case also

        affect judges. It is beyond dispute that judges require public recognition to be elected and that the

        criminal docket is by far the most effective means of garnering publicity. The Code of Judicial


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        Conduct prohibits judges during campaigns from speaking about or commenting on any issue

        which may come before them thus further hindering any particular candidate or judge's ability to

        communicate his/her position on various important social issues such as crime. Thus, as a very

        practical matter, an Ohio trial court judge's conduct of a capital trial and more importantly, the

        result and sentence becomes an important tool in communicating with the electorate.

                Because of the extraordinary and unusual risks associated with waiving a jury trial right in

        favor of a three-judge panel, the jury trial right should never be waived without reservation of the

        option to withdraw the waiver in the event that the three-judge panel returns a death sentence. The

        reservation of this right should be made in open court and on the record. To do other than this

        procedure would place a capital client, such as Appellant Davis, in far too much jeopardy and

        constitutes unacceptable practice in what clearly is the most serious of all cases.

               Here, counsel failed to take the necessary steps to ensure that Appellant Davis could

        withdraw his jury waiver if the three-judge panel elected to impose death, and Appellant was

        prejudiced as a result. T.d.l50, Exhibit 0. Although, Appellant's death sentence was

        subsequently reversed by the Ohio Supreme Court in State v. Davis, 38 Ohio St. 3d 361 (1989),

        on remand to the trial court for resentencing, Appellant Davis was eligible to receive the death

        penalty because his case had been tried to a three judge panel rather than a jury. Appellant was

        ultimately resentenced to death. Thus, counsels' failure in this case exposed Appellant to the death

        sentence initially and on resentencing.

                                       ASSIQNMENT OF ERROR NO XIY

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                       APPELLANT'S TWENTY-SECOND CAUSE OF ACTION.

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                        ISSUES PRESENTED FOR REVIEW AND ARGUMENT:

                        1.     Where a conviction is obtained through the use of an
                               unnecessarily suggestive identification procedure, it is a
                               violation of the Fifth, Sixth, Eighth and Fourteenth
                               Amendments to the United States Constitution and Sections
                               2, 9, 10 and 16, Article I of the Ohio Constitution, and must
                               be vacated.

                State's witness Cozette Massey identified Von Clark Davis at his capital trial as the person

        who had shot Suzette Butler. T.p. 13 7. Prior to her in-court identification, Massey had been

        shown a single photograph of Mr. Davis and Suzette Butler. She was shown this photograph by

        the police approximately one to four weeks after the incident occurred. It was from this

        photograph that she identified Mr. Davis. T.p. 155. Similarly, Defense witness Anthony Ferguson

        was also shown only one photograph of Appellant Davis by the police. T.p. 277. He identified

        Mr. Davis from that picture. T.p. 277.

                To show an eyewitness a single photograph of the alleged suspect constitutes an

        unnecessary suggestive confrontation. Manson y Brathwaite, 432 U.S. 98 (1977). The reliability

        of both Ms. Massey's and Mr. Ferguson's subsequent in-court testimony was eradicated by this

        procedure.

               The reliability of their in-court identification is also undermined given the inconsistencies

        that existed between their testimony. Both Massey and Ferguson testified that they were standing

        on the street near the American Legion when Appellant Davis shot Suzette Butler. T.p. 139, 265.

        Yet both testified that neither saw each other on the street at the time of the shooting. T.p. 143,

       268-69. Reginald Denmark, who was with Massey at the time, corroborated her testimony as he

       too, stated that he did not see Ferguson on the street. T.p. 169, 193-94.


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                Given the fact that these eyewitnesses were on the street at the same time and witnessed the

        shooting, it is impossible to believe that they did not see each other. This fact is critical in

        assessing the reliability of the rest of their testimony. For instance, Massey did not go to the

        police for four days. T.p., Joint Exhibit 3. She did not describe the perpetrator's physical

        characteristics to the police. T.p. 154. She did tell the police that the gunman was wearing a beige

        coat that evening. T.p. 154. However, Appellant Davis was wearing a dark coat that night. T.p.

        121. Massey also told the police that Suzette Butler had a coat over her arm. T.p. 145. In fact,

        Suzette left her coat in the bar and took her purse. T.p. 121.

               Further, the reliability of their in-court identification is undennined by the fact that neither

        Massey nor Ferguson knew Appellant Davis prior to the night of the shooting. Massey testified

        that she had seen Appellant on three occasions: the night of the shooting; in the photograph the

        police showed her; and, in the courtroom. T.p. 159. Ferguson testified that the night of the

        shooting was the first night he had seen Appellant. T.p. 265.

               Appellant was prejudiced by the suggestive identification procedure used in his case.

        The subsequent in-court identification by both Cozette Massey and Anthony Ferguson was

        fraught with major inconsistencies and was invalid. Appellant's conviction must be reversed.

                                       ASSIGNMENT OF ERROR NO               XV

                       THE TRJAL COURT ERRED WHEN IT DIS:MISSED
                       APPELLANT DAVIS' TWENTY-THIRD CLAIM.

                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       1.      Improper rebuttal evidence introduced during the penalty
                               phase of a capital trial violates the Eighth Amendment
                               standards imposed in capital cases.


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                The judgment against Appellant Davis is void or voidable because the State introduced

        improper and highly prejudicial rebuttal evidence at the penalty phase of Appellant's capital

        trial in violation of the Eighth and Fourteenth Amendments of the United States Constitution

        and Sections 9 and 16, Article I of the Ohio Constitution. After Appellant Davis presented his

        case at the penalty phase, the State introduced rebuttal witness Detective James Schmitz of the

        Hamilton Police Department. T.p. 409. Schmitz testified concerning a shooting with intent to

        wound conviction that involved the Appellant and his former wife, Ernestine, on September 16,

        1969. Schmitz explained the details ofhis investigation, his interview ofEmestine Davis, and

        Appellant's subsequent guilty plea. Over the strenuous objections of defense counsel based on

        the irrelevance of the testimony and the fact that the prior murder specification had been

        established in the guilt/innocence phase, the court permitted it into evidence. T.p. 410.

               The testimony by Detective Schmitz concerning the shooting with intent to wound

        conviction was irrelevant and constituted improper rebuttal testimony. First, the shooting with

        intent to wound could not be introduced under the ambit of the prior murder specification. The

        prior purposeful murder which served as the capital specification in this case occurred in

        December of 1970, over one year after the incident involving the shooting with intent to

        wound. T.p. 413. Given this time frame, the shooting with intent to wound charge could not

        constitute a part of the facts and circumstances surrounding the murder in the capital

        specification.~ State y   Parrish, 71 Ohio App. 3d 659,666, 595 N.E.2d 354,358 (lOth Dist.

        1991) (though at issue, rebuttal evidence of defendant's gun possession was remote in time

        from the crime charged to be relevant). Further, it could not have come into evidence for any

       purpose enumerated in Ohio R. Evid. 404(B) or Ohio Rev. Code Ann. § 2945.59. Intent,

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        identity, or purpose were not at issue in this case as Appellant pleaded guilty to the 1970 prior

        purposeful murder.

                The error caused by the prejudicial testimony of Detective Schmitz was compounded by

        the State's introduction of evidence pertaining to the prior murder specification at the penalty

        phase although it was already established during the guilt/innocence phase. T.p. 376.

                Captain Carpenter testified about his investigation surrounding Ernestine Davis' death

        and the number of stab wounds found on Ernestine's body with reference to crime scene

        photographs introduced by the State. Tr. 414-15.

               A capital specification must be proved beyond a reasonable doubt at the guilt phase of a

        capital case. R.C. § 2929.03; State y Johnson, 24 Ohio St. 3d 87 (1986); State y Jenkins, 15

        Ohio St. 3d 164 (1985). It was improper for the State to introduce the specific facts of the prior

        murder during the penalty phase as it had already been proved beyond a reasonable doubt and

        had gone unchallenged by the Appellant. Further, the testimony regarding the shooting with

        intent to wound exceeded the proper bounds of rebuttal, and served to exacerbate the error.

        State v DePew, 38 Ohio St. 3d 275 (1989). Admission of irrelevant and prejudicial evidence

        during the sentencing phase violated the constitutional mandate that death sentences be

        imposed with the fairness and consistency accorded by objective standards which provide

        "specific and detailed guidance" to the sentencer in capital cases. Godfrey v   Geor~ia,   446 U.S.

       420,428 (1980) (plurality opinion); Eddjn~s v Oklaboma, 455 U.S. 104, 112 (1982).

                                      ASSIGNMENT OF ERROR NO XVI

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                       APPELLANT'S TWENTY-FOURTH CAUSE OF ACTION.

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                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       I.     Where the trial court prohibits the testimony of a crucial
                              defense witness, the defendant's rights under the Sixth,
                              Eighth and Fourteenth Amendments to the United States
                              Constitution and Sections 9, I 0 and I6, Article I of the
                              Ohio Constitution have been violated.

               During the guilt phase of Appellant's trial, Appellant called Anthony Ferguson to testify.

        Anthony Ferguson testified about what he witnessed the evening Suzette Butler was killed. He

        testified that he actually witnessed Von Clark Davis shoot Suzette Butler. T.p. 265. Defense

        counsel then called Elbert Avery to the witness stand. The trial court would not pennit Mr. Avery

        to testify, and defense counsel was forced to proffer his testimony. T.p. 282. Defense counsel

        proffered the substance of Mr. Avery's testimony as follows:

                      The defense would have called Elbert Avery who would have
                      testified that he was at the American Legion Cafe, which has been
                      testified to in this trial at length, on the night in question, that he was
                      one of the first two individuals to the body of Suzette Butler after
                      the shooting, that he observed Mr. Tony Ferguson, outside the
                      American Legion, near the body of Suzette Butler, in a very excited
                      aggitated [sic] state that he asked Mr. Tony Ferguson, what Mr.
                      Ferguson had observed oah [sic], in regard to the shooting and that
                      Mr. Ferguson responded that he heard a shot and he immediately felt
                      that someone was shooting at him, and that Mr. Ferguson then
                      indicated to Mr. Avery [sic] ducked down between automobiles,
                      which were parked near the front of the American Legion and that
                      he did not see the individual doing the shooting, nor was he able to
                      observe who that individual was. That he remained in between the
                      cars until the whole matter was over, at which time he jumped up
                      and ran away, returning to the scene ofthe shooting moments later.
                      That, in substance, would have been the testimony of Elbert A very.
                      T.p. 284-85.

              Through Elbert Avery's testimony, Appellant was attempting to impeach Anthony

       Ferguson with the use ofhis prior inconsistent statement. By prohibiting the testimony, the trial


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        court violated Appellant's constitutional right to confrontation, to present a defense, and to produce

        witnesses on his behalf. Appellant was prejudiced and his conviction must be reversed.

                                       ASSIGNMENT OF ERROR NO XYII

                         TilE TRIAL COURT ERRED WHEN IT DISMISSED
                         APPELLANT DAVIS' TWENTY-FIFTII CLAIM.

                         ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                         I.    Denial of the right to present all relevant mitigation
                               evidence during a capital resentencing hearing violated
                               appellant's statutory and constitutional rights.

                The judgment against Appellant Davis is void or voidable because he was deprived of

        his constitutional right to expert assistance at his resentencing hearing in violation of the Sixth,

        Eighth and Fourteenth Amendments to the United States Constitution, Section I 0, Article I of

        the Ohio Constitution, Section 39, Article II of the Ohio Constitution and Ohio Rev. Code Ann.

        § 2929.024. The Ohio Supreme Court vacated Mr. Davis' death sentence on September I4,

        I988, and remanded his case to the trial court for resentencing. Appellant again faced the

        possibility ofbeing sentenced to death. State v Davis, 38 Ohio St. 3d 36I (I988). On July 3,

        I989, prior to commencement of the resentencing hearing, Appellant's counsel filed a Motion

        for Further Psychological Evaluations, Appointment of a Social Worker to Prepare a Social

        History and for Payment ofExtraordinary Expenses for Said Expert. T.d. I 50, Exhibit W, AA

        and BB. The trial court denied the request, and Appellant Davis was again sentenced to death.

        M.R.H.T.p. I2.

               In Ake v Oklaboma, 470 U.S. 68 (I985), the United States Supreme Court mandated

        access to competent psychiatric assistance for indigent capital defendants. Ohio law also


                                                        -4I-




                                                                                VON CLARK DAVIS v. WARDEN
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        requires the appointment of experts for a capital defendant. Section 39, Article II of the Ohio

        Constitution gives the indigent defendant a state constitutional right to the appointment of

        experts. This right is also codified in§ 2929.024.

                Von Clark Davis was constitutionally entitled to the expert assistance necessary to prepare

        an adequate mitigatory defense under all of the foregoing constitutional principles and statutes.

        His trial attorneys would have presented this expert assistance had they been given the funds and

        opportunity. T.d. 150, Exhibit AA and BB. As the Appellant was prejudiced by the trial court's

        refusal, his death sentence must be reversed.

                                      ASSIGNMENT OF ERROR NO. XVIII

                        THE TRJAL COURT ERRED BY GRANTING THE
                        PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                        APPELLANT'S TWENTY-SIXTH CAUSE OF ACTION.

                        ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                        1.     Where the specification used at a capital trial to make the
                               defendant death eligible is invalid, it is a violation of rights
                               under the Fifth, Sixth, Eighth and Fourteenth Amendments
                               to the United States Constitution and Sections 9 and 16,
                               Article I of the Ohio Constitution.

                Appellant Davis was charged in a two count indictment. The first count charged

        aggravated murder and carried one death penalty specification: Ohio Rev. Code Ann.§

        2929.04(A)(5), a prior purposeful murder. The second count of the indictment charged Appellant

        with having a weapon under disability pursuant to Ohio Rev. Code Ann.§ 2923.13. The

        specification of a prior purposeful killing referred to the killing of Appellant Davis's wife,

        Ernestine, in 1970.



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                Von Clark Davis was indicted in 1971 on one count offirst degree murder in violation of

        Ohio Rev. Code Ann.§ 2901.01. He plead guilty to second-degree murder under Ohio Rev. Code

        Ann. § 2901.05. At that time, the statute required that the defendant purposely kill another.

               An intent to kill is an essential element of the crime of murder. Jones v State, 51 Ohio St.

        331 (1894). It is essential to a conviction for second-degree murder under Ohio Rev. Code Ann. §

        2901.05 that there be evidence beyond a reasonable doubt that the accused purposely killed

        another. State v Creech, 5 Ohio App. 2d 179 (1964).

               In State v. Fanner, 156 Ohio St. 214, 222 (1951 ), the Ohio Supreme Court stated: "If the

        use of a weapon, likely to produce death or serious bodily harm, results in death, such use, in the

        absence of circumstances of explanation or mitigation, may justify a detennination beyond a

        reasonable doubt that there was an intent to kill." (Emphasis added.) On the other hand, where

        circumstances surrounding the killing indicate that it is not intentional or purposeful, there is

        insufficient evidence to sustain a conviction for second degree murder. State v.   Creech,~ ·


               Robert Beard Jones, a witness to the killing of Ernestine Davis, wrote a letter postmarked

        August 28, 1978, describing what he had seen the day Ernestine was killed. This letter was

       addressed to H.J. Bressler, attorney for Von Clark Davis. T.d. 150, Exhibit CC.

               The evidence of Robert Beard Jones demonstrated that:

                       a)      Mr. Beard was present in the house at the time Ernestine
                               Davis was killed.
                       b)      Mr. Beard saw more than what he had previously told
                               Appellant Davis's attorneys.
                       c)      Mr. Beard stated that Appellant had no intention of killing
                               Ernestine Davis.
                       d)      At the time of the killing, Mr. Beard did not want to get
                               involved.
                       e)      On the day of the killing, Ernestine and Robert Beard were
                               upstairs.
                                                        -43-




                                                                                VON CLARK DAVIS v. WARDEN
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                                                                                      APPENDIX - Page 2261
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                       f)      Von Davis arrived at the back door of the house. Ernestine
                               cursed and said she was "tired of that bastard and would
                               stick him."
                       g)      Ernestine took a large knife from under the mattress and
                               "swore she would use it".
                       h)      Beard heard Von and Ernestine arguing in the kitchen.
                               When he came down the stairs, he heard Von ask Ernestine
                               why she had a knife. Beard saw Ernestine strike at Von
                               with the knife and heard wrestling.
                       i)      Beard stated in his letter that Ernestine was the aggressor
                               and Von was trying to talk to her. He stated that he heard
                               Ernestine yelling that she would kill Von.

               The circumstances above demonstrate that Von's actions towards Ernestine were a

        response to her aggressive and threatening behavior. This evidence demonstrates that the killing

        of Ernestine was not "purposeful" as required by the statute under which Von Davis was

        convicted.

               A defendant can only be eligible for imposition of the death penalty if one of the statutory

        specifications listed in Ohio Rev. Code Ann. § 2929.04 is proved beyond a reasonable doubt.

        Under§ 2929.04(A)(5), an essential element of the prior homicide used for the specification must

        be that it was a purposeful killing. This essential element was lacking in the killing of Ernestine

        Davis. Therefore, this killing cannot be used as a specification to aggravated murder. T.d. 150,

        Exhibit DD.

                                      ASSIGNMENT OF ERROR NO XIX

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                       APPELLANT'S TWENTY-SEVENTH CAUSE OF ACTION.

                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       1.     Where counsel failed to investigate the circumstances
                              surrounding a prior homicide charge in a specification to
                              defendant's aggravated murder charge, counsel is
                                                       -44-




                                                                              VON CLARK DAVIS v. WARDEN
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                                ineffective, and the Appellant has been denied rights under
                                the Fifth, Sixth, Eighth and Fourteenth Amendments to the
                                United States Constitution and Sections 9 and 16, Article I
                                of the Ohio Constitution.

               Every defendant threatened with a lo~s of liberty in a criminal proceeding has a

        constitutional right to the assistance of counsel. Powell y Alabama, 287 U.S. 45 (1932): The

        Sixth Amendment right to counsel, together with the due process protections of the Fourteenth

        Amendment, establish the right to effective assistance of counsel. Gideon v    Wainwrj~ht,   372

        U.S. 335 (1963). The failure to provide effective assistance of counsel is a constitutional error

        which undennines the entire adversary process. Strickland v. Washini!on, 466 U.S. 668 ( 1984 ).

               Because Appellant's counsel failed to thoroughly investigate the circumstance of

        Appellant's prior homicide, they failed to discover evidence that the killing was not purposeful.

        T.d. 150, Exhibit DD.

               Robert Beard Jones, a witness to the killing of Ernestine Davis, wrote a letter postmarked

        August 28, 1978, describing what he had seen the day Ernestine was killed. This letter was

        addressed to H.J. Bressler, attorney for Von Clark Davis. T.d. 150, Exhibit CC.

               The evidence ofRobert Beard demonstrated that:

                       a)       Mr. Beard was present in the house at the time Ernestine
                                Davis was killed.
                       b)       Mr. Beard saw more than what he had previously told
                                Appellant Davis's attorneys.
                      c)        Mr. Beard stated that Appellant had no intention of killing
                                Ernestine Davis.
                      d)        At the time of the killing, Mr. Beard did not want to get
                                involved.
                      e)        On the day of the killing, Ernestine and Robert Beard were
                                upstairs.
                      f)        Von Davis arrived at the back door of the house. Ernestine
                                cursed and said she was "tired of that bastard and would
                                stick him."
                                                       -45-




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                         g)   Ernestine took a large knife from under the mattress and
                              "swore she would use it".
                         h)   Beard heard Von and Ernestine arguing in the kitchen.
                              When he came down the stairs, he heard Von            ask
                              Ernestine why she had a knife. Beard saw Ernestine strike
                              at Von with the knife and heard wrestling.
                         i)   Beard stated in his letter that Ernestine was the aggressor
                              and Von was trying to talk to her. He stated that he heard
                              Ernestine yelling that she would kill Von.

               Robert Beard's evidence demonstrates that the killing of Ernestine was not "purposeful" as

        required by the statute under which Von Davis was convicted. Because defense counsel were not

        aware of this information, they were not able to successfully challenge Appellant's death penalty

        specification.

                                      ASSIGNMENT OF ERROR NO XX

                         THE TRIAL COURT ERRED BY GRANTING THE
                         PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                         APPELLANT'S TWENTY-EIGHTH CAUSE OF ACTION.

                         ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                         I.   Where a defendant is not permitted to introduce all relevant
                              mitigating evidence at his resentencing hearing,the
                              defendant's right to present a defense and his constitutional
                              right to present all available, relevant mitigating evidence
                              has been violated.

               Attorneys John Garretson and Michael Shanks were appointed to represent Appellant at his

       resentencing hearing. Prior to the resentencing hearing, Mr. Garretson and Mr. Shanks filed

       several motions on Appellant's behalf. On July 18, 1989, they filed a Motion for Further

       Psychological Evaluations, Appointment of a Social Worker to Prepare a Social History and for

       Payment of Extraordinary Expenses for Said Experts. On July 24, 1989, they filed a Motion to

       Permit the Defense to Admit All Relevant Evidence at the Sentencing Phase.

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                                                                             VON CLARK DAVIS v. WARDEN
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                The trial court held a hearing on these motions on July 31, 1989. At this hearing, the trial

        court overruled both these motions. M.R.H.T. p. 12. Further, the three judge panel informed Mr.

        Garretson and Mr. Shanks that they would not be permitted to introduce any additional evidence

        on Appellant's behalf. The panel was going to limit its decision to the evidence presented at

        Appellant's original trial. M.R.H.T. p. 12. Mr. Garretson and Mr. Shanks did proffer some

        additional mitigating evidence into the record at the resentencing hearing. lbis included

        Appellant's good prison conduct and a psychological update from Dr. Fisher. M.R.H.T.p. 2-6.

        However, Appellant's attorneys were unable to proffer any additional evidence because the trial

        court's denial of their motions denied them access to funds and expert assistance.

               Had the trial court granted their motions, they would have employed the services of a

        mitigation specialist and a psychologist. They would have presented evidence uncovered by these

        experts in an attempt to save Appellant Davis's life, T.d. 150, Exhibits AA, BB, such as following

        evidence that was available at that time:

                       A)     Von Clark Davis is the product of a dysfunctional family.
                       B)     Von Clark Davis's family system failed him in several ways:
                       C)     Von Clark Davis could not find success in his adult life.
                       D)     Mr. Davis lacked the psychological skills to deal with his
                              pain by seeking close, healthy, nurturing relationships with
                              others.
                       E)     From his grandparents and his parents, Mr. Davis inherited
                              generations of negative feelings, lack of insight, and poor
                              self-control. This culminated in his lack of insight, inability
                              to recognize dysfunctional aspects of his behavior and his
                              repetitive failures, losses and disappointments.
                       F)     When placed in the highly structured setting of prison, Mr.
                              Davis has done quite well. He finished his schooling,
                              learned a trade, and managed his behavior without significant
                              discipline problems. The structure of prison, its routines and
                              rules, seems to compensate for Mr. Davis's lack of
                              psychological skills and enables him to function at his
                              optimal level. It isolates him from relationships with women
                                                       -47-




                                                                               VON CLARK DAVIS v. WARDEN
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                               so that he is not exposed to the emotionally provocative
                               opportunity to be rejected or abandoned, thus removing the
                               most psychologically stressful situations he has had to
                               manage.
                       G)      A standard battery of neuropsychological assessment
                               procedures that were administered to Mr. Davis, indicated a
                               possible underlying brain impairment.


                Further, several friends and family members of Appellant Davis had information about him

        which was not presented at his original trial, and they all would have testified that they loved him

        and did not want him to be executed. T.d. 150, Exhibits R, S, T, U, V, DD.

                                       ASSIGNMENT OF ERROR NO XXI

                       APPELLANT DAVIS HAS BEEN DENIED THE
                       OPPORTUNITY FOR AN ADEQUATE APPEAL IN
                       VIOLATION OF THE DUE PROCESS CLAUSE OF THE
                       FOURTEENTH AMENDMENT.

                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       I.      A fifty page briefing limit in a complex capital post-
                               conviction appeal denies the Appellant an adequate
                               corrective process.

               Mr. Davis' post-conviction petition raised twenty-eight (28) claims alleging federal

        constitutional violations of his rights. After cursory review, the trial court denied every one of

        them. Mr. Davis is now entitled to an appeal with this Court under Ohio Rev. Code Ann. §

        2953.23(8). He should have the opportunity to demonstrate that each of his claims is, contrary

       to the trial court's judgment, worthy of relief. This is impossible to do within the Court's fifty

       page briefing limit. This limit involuntarily forces Mr. Davis to file a summary brief in order to

       "fit in" the claims he is able to preserve for federal review.




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               Exhaustion of federal constitutional claims in the state courts is a prerequisite to federal

        court review of those claims. In order to exhaust claims, the defendant must fairly present to the

        state courts both the facts and controlling legal principles which apply to mh claim. Picard v

        Connor, 404 U.S. 270 (1971). The facts and controlling legal principles applying to each ofMr.

        Davis' twenty-eight claims ka.llllQ1 be presented to this Court in just fifty pages. Mr. Davis has

        briefed and exhausted as many claims as he can under this limit. Other claims, which could not

        be presented and exhausted in this Court because of the page limit, have been placed in the

        Appendix for the record.

               The other claims which Mr. Davis is able to brief are reduced to a mechanical, bare-bones

           recitation of facts and law. The fifty page limit leaves no room for the legal reasoning and

        advocacy which is a hallmark of any adequate appellate brief. The inflexible fifty page limit has

            thus denied Mr. Davis a corrective process in the state courts which is either adequate or

         effective to protect his federal constitutional rights and deprives him of the due process oflaw

              guaranteed by the Fourteenth Amendment. Case v Nebraska, 381 U.S. 336 (1965).




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                                                                               VON CLARK DAVIS v. WARDEN
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                                                    CONCLJ JSION

                  For all the foregoing reasons, and any other reasons apparent from the record, the trial

         court's judgment should be reversed. This Court should grant Mr. Davis post-conviction relief

         from his capital conviction and/or death sentence. In the alternative, his case should be remanded

         for an evidentiary hearing in accordance with Ohio Rev. Code Ann.§ 2953.21.

                                                        Respectfully submitted,

                                                        LINDA E. PRUCHA - 0040689
                                                        Assistant State Public Defender

                                                        TRACEY LEONARD- 0064013
                                                        Assistant State Public Defender




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                                                        (614) 466-5394

                                                        COUNSEL FOR APPELLANT

                                            CERTIFICATE OF SERVICE

                  I hereby certify that a true copy of the foregoing MERIT BRIEF OF APPELLANT was

        forwarded by regular U.S . Mail to Daniel Eichel, Assistant Butler County Prosecutor, 216

        Society Bank Building, Hamilton, Ohio 45011, on         this~y ofNovember, 1995.


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                                                                                VON CLARK DAVIS v. WARDEN
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                                    APPENDIX




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                                                                                      BUTLER COUNTY, OHIO


                                   STATE OF                                             CASE NO.    C~SJ-12-0614



                                                                                        ENTRY RE: DEPEND~'S
                                                                                        MO~ION FOR POS~­
                                     -vs-                                               CONVIC~ION RELIEF;
                                                                                        MO~ION ~0 S~RIXE AND
                                   VON CLARK DAVIS                                      SE~~ING DATE FOR
                                                                                        EVIDENTIARY HEARING -
                                               Defendant-Petitioner                     23 Novem.l:ler 1994

                                                                November 1, 1994
                                                                     ...       . ..
                                         This matter came on before the Court as a R. C.                         2953.21

                                   petition challenging Von Clark Davis's murder conviction in Case

                                   Number 21655 and challenging his . conviction and sentence of

                                   death in Case No.      CRSJ-12-0614.         The State responded to both

                                   petitions on October 18, 1993.          The State claimed the doctrine

                                   of res    judicata applied to 27 of the 28                    causes of action,

                                   excepting the Nineteenth Cause of Action.                   Petitioner responded

                                   with a motion to strike the State's answer and Motion to Dismiss

                                   on the basis that it is improper for the State to raise the

                                   defense of res judicata in a post-conviction action.                    The State
                                   filed a memorandum in opposition to the defendant's motion to
roc      'IIATTHEW J. CREHAN   I
  C      unon Pleoa Cou"
      SUtler County, Ollio         strike.    The     Court   conducted    a      hearing      on   June   28,    1994,

                                   subsequently petitioner provided the Court citations and cases

                                   in support of their Twenty-First cause of Action, to which the

                                   State responded with a Supplemental Memorandum on July 12, 1994.

                                   This is the state of the case at present.

                                         In 1984, defendant was tried before a three judge panel for

                                   the   aggravated    murder   of   Suzette          Butler    which   occurred     on
                                                                                                                      A-1



                                                                                          VON CLARK DAVIS v. WARDEN
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                                                                                                                             CR83-12-06l4
                               December 12, 1983.                             He was convicted of aggravated murder in

                               violation                       of   R.c.     2903.0l(A)        with specification of                    a   prior
                               conviction                       for       murder "pursuant              to    R.C.       2929.04(A) (5),      and

                               sentenced to death.                               His conviction was affirmed on appeal,
                               State v. Davis (1988), 38 Ohio St.3d 361, cert. denied (1989),
                               488 u.s. 1034, however the sentence was vacated and the cause of

                               action                    remanded for            resentencing.               Id.   The    trial    court held

                               another sentencing trial after which the death sentence was re-

                               imposed. The resentencing to death was affirmed on appeal, state

                               v. Davis (1992), 63 Ohio· st. 3d 44, rehearing denied, 63 Ohio
                               St.3d 1433, second rehearing denied (1993), 66 Ohio st.Jd 1489,
                               cert. denied (Oct.                            5, 1992), 506 u.s. __ , 113 s.ct.                          172, 121
                           ,..
                             L _.................
                                    "t;',.:l ,,0., .
                                               "),..:!

     .   )
                                               In reviewing the Twenty-Eight Causes of Action enumerated

                               in the post-conviction petition, it can be broken down into five

                               general areas: a)                           causes of action having to do with the re-

                               sentencing and the mitigation hearing at the time of the re-
                               sentencing of the defendant (Cause of Action Number's 6 1 81 9,

                               13,             15,         16 1     25,    and    28) ,   b)           the    validity      of    the    capital
X:       IATTH!W J. CREHAN .
Common Pleae Court
                               specification relating to Case No. 21655 - in which the defendant
 hti., County, Ohio
                               pled guilty to the second degree murder of his wife, Ernestine

                               (Cause of Action Number's 4, 26 1 and 27),                                            c) claims relating to

                               ineffective assistance of counsel,                                            lack of an informed jury

                               waiver and the voluntariness thereof (Cause of Action Number's

                               5,      10,               17,   18, 19, 20, and 21)                 1   d)    the validity of judgments


                                                                                               2
                                                                                                                                                    A-2



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                                                                                            CR83-12-061~

                              rendered.in the Court of Appeals or the             Supr~me   Court, or both
                              (Cause of Action Number's 7, 11, and 14), and e) claims relating
                              to the 1983 trial, or resulting sentence, or both {Cause of
                              Action Number's 1, 2, J, 12, 22, 23, and 24).
                                     Petitioner in a post-conviction relief action bears the
                              initial burden of submitting evidentiary documents containing
                              sufficient operative facts to demonstrate his claim and merit to
                              a hearing. State v. Kapper (1983)         I   5 Ohio st. 3d 36, 38.    "Before
                              granting a hearing, the Court shall determine whether there are
                              substantive grounds for relief.      11
                                                                             R.C. 295J.21(C).       The same
                              code section goes on to specify what the Court shall consider in
                              making such a determination.    However£
                                     Under the doctri~e of res judicata, a final judgment
    )                                of conviction bars a convicted defendant who was
                                     represented by counsel from raising and litigating in
                                     any proceeding except an appeal from that judgment,
                                     any defense or any claimed lack of due process that
                                     was raised or could have been raised by the defendant
                                     at trial, which resulted in that judgment or
                                     conviction, or on an appeal from that judgment.
                              State v. Perry (1967), 10 Ohio St.2d 175, 180.
                                     Petitioner claims the defense of res judicata is invalid in

ICil ATTH£W J. CREHAN
                              a post-conviction action due to the classification of the action
 C:C.•.ul'tOf'l Pleal Cour1
 S..ll., Colonry, Ollio       as a civil proceeding governed by Civ. R. 12(B).              He directs the
                              court to State ex rel. Freeman v. Morris (1991), 62 Ohio St.Jd
                              107,   109,   wherein the Court in a mandamus action,                 held the
                              defense of res judicata may not be raised in a motion to dismiss
                              under Civ. R. 12(B).     The present case is distinguished from
                              Morris since this case is a post-conviction action.               The law in
                                                               J
                                                                                                               A-3 I

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                                                                                   VON CLARK DAVIS v. WARDEN
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                                                                                                                        I
                                                                                             CR83-l2-06!'4
                                                                                                                        I
                                                                                                                        I
                              Ohio as to the defense of res judicata in _a post-conviction                             .,
                              a?tion has a long history.          Recently in state v. Lentz (1994},
                              70 Ohio St.3d 527, 529,-the Supreme Court of Ohio referred to
                              its holding in Perry and found res judicata to be a proper basis
                                                                                                                       II
                                                                                                                       I
                              upon    which     to   dismiss     without   hearing       a    petition     for         i
                                                                                                                       I

                              post-conviction relief.          This Court, therefore, finds that the                   i
                              doctrine of res judicata is applicable to a post-conviction                              !

                              action.
                                     After careful review, this Court finds that each of the
                              petitioner's enumerated Causes of Action, except the Nineteenth
                              Cause of Action, were raised or could have been raised at trial
                              or on direct appeal, and were adjudicated against the defendant,
                              hence res     j~dicata   bars Von Clark Davis's petition for pest-
       )
                              conviction relief as to all but the Nineteenth Cause of Action.
                                     The petitioner's Twenty-First Cause of Action deserves
                              additional      comments.     Petitioner     claims    a       defect   in   his
                              conviction and sentencing on the ground of ineffective counsel
                              in connection with his jury waiver and         e~ection        to be tried by
                              a three-judge panel.        Specifically, petitioner claims counsel
lOt    lolA Tn4EW J. CREHAN
  Commo" Plen Cou,
                              exercised "unreasonable professional . judgment" and fell below
  8uller Coullty, Ollio
                              the standard of practice in capital litigation for counsel's
                              "failure" to reserve the right to withdraw the jury waiver in
                              the event the three-judge panel returned a death sentence after
                              conviction.     While this specific claim could have been raised by
                              the various and different attorneys representing                petitioner on

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                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 2273
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                                                                                              CRSJ-12-0614
                              his direct appeals - hence the applicability of res judicata,
                              the Court reviews the claim further due to its novelty.
                                    Petitioner attempts          to   support this         claim with    cases
                              involving plea agreements wherein the capital defendant reserved
                              the option to withdraw a jury waiver when a three-judge panel
                              sentenced him to death.        They further attempt to support their
                              claim with the affidavit of Harry R. Reinhart, a Columbus, Ohio
                              attorney with experience in capital cases.
                                    The cases proffered by petitioner are distinguishable from                        I

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                              the case at bar since they involved plea agreements.                     All the        I
                                                                                                                      i
                                                                                                                      I
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                              cases cited by petitioner involved guilty plea agreements in                            !
                         1
                              which a negotiated guilty plea was entered by a defendant upon
                         J:   the State's stipulation that the defendant would be sentenced to
     )
                              a   term of       life imprisonment with varying times               for parole
                              eligibility.       Because there is no option in Ohio law to enter a
                              guilty     plea    and   proceed   to       sentencing     before   a   jury,   a
                              negotiated guilty plea in a capital case necessarily involves a
                              jury waiver and election to have guilt and punishment tried by
                              a three-judge panel pursuant to the agreement.                  The agreements
<M. ..ATTH£W J. CRVIAH
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                              provided    that should the        three-judge panel           not accept the
81    w County, Ollio
                              stipulated sentence the defendant would be permitted to withdraw
                              the guilty plea and jury waiver.
                                   In the case at bar, the State and petiti?ner negotiated
                              nothing.    There was no "agreement" to waive a jury and proceed
                              on a not guilty plea before a three-judge panel.                    Petitoner's

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                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
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                                                                                             CRSJ-12-0614
                             decision to do so was unilateral.             Thus, the proffered cases are
                             not relevant to the case at bar.

                                   Nor does this Court find the affidavit of Harry Reinhart
                             persuasive.       If the Court were to find for the petitioner, on
                             this issue, in essence the Court would find that a defendant in

                             a capital case is entitled to "two bites of the apple. "                 The new
                             standard of practice in capital litigation would be to first try

                             the case in front of a three-judge panel, if you lose, try it

                             again in front of a jury.          Petitioner's same claim was recently

                             adjudicated in State v. Brewer (Sept. 28, 1994), Greene App. No.
                             93-CA-62, unreported, 1994 WL 527740.                 In Brewer, the Court of

                             Appeals held that to impose such a duty on defense counsel in

                             capital cases would have the practical effect of removing a
  (
                            II defendant's    right to be judged by a three-judge panel.                 Id.

                             Such a proposition is contrary to our system of jurisprudence

                             and would result in an unwarranted extension of the already

                             lengthy capital litigation process.              The Twenty-First cause of

                             Action   is     overruled as a      matter of     law,     as well as on the

                             grounds of res judicata.
JUDGE MATTHEW J. CREHAN
   ,....,mon ,.,... Coun           Petitioner's     Nineteenth       cause    of   Action   also   claims   a
      lutler County, Ohio
                             defect in his conviction and sentence due to an ineffective jury

                             waiver   and     election    to    be   tried    by    a   three-judge   panel.

                             Petitioner      alleges     that   he   was     not    informed   that   Judges

                             Stitsinger and Moser         (2 members of the panel), as attorneys,

                             prior to their election to office as judges of the Butler county


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                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
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                                                                                                          CRS:i-12-0614
   ( ....                           Common     Pleas       Court,    had    represented          the    Federal    National
                                    Mortgage Company in a 1970 foreclosure action against defendant

                                    and     his     then,    but     now       deceased,        wife   Ernestine     Davis.

                                    Petitioner claims had he known these facts he would not have

                                    waived his right to trial by jury.                    Petitioner in his affidavit,

                                    claims     he    was    not     aware      of       the   judges   involvement    until

                                    approximately July 1993.              This Court finds that this allegation

                                    is dehors the record and as such requires the Court to conduct

                                    an evidentiary hearing to determine if Judges Stitsinger and

                                    Moser's involvement with a 1970 foreclosure action involving the
                                    defendant,       rises    to    the     level        of   unfair   prejudice     to   the

                                    defendant and reversal of conviction and the death sentence.

                                           Petitioner's Motion to Strike the state's Motion to Dismiss

                               11   is overruled.          This Court finds that the law of Ohio holds that
                               I    the doctrine of res judicata is applicable to post-conviction

                                    actions.      Further, this Court finds the doctrine of res judicata

                                    to be well taken in Causes of Action One through Twenty-Eight,

                                    excepting the Nineteenth Cause of Action. Petitoner's Motion for

                                    an evidentiary hearing is granted as to the Nineteenth Cause of
JUDGE. MATTHEW J . CIIIE"MAN
     ommon Pleee Court
                                    Action, concerning tne prejudicial effect of Judges Stitsinger
     Iutter County, Ohio
                                    and Moser's previous involvement with a foreclosure action in
                                    which petitioner was a party.                       Thus, respondent's Motion to

                                    Dismiss is granted as to the First through Twenty-Eighth causes

                                    of    Action,    excepting the Nineteenth Cause                    of Action.         The

                                    evidentiary       hearing       on   the    Nineteenth        Cause   of   Action      is


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                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                      APPENDIX - Page 2276
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                                                                                 CR83-12-0614
 (                              scheduled for November 23, 1994 at 9:00A.M .•

                                                               SO qRDERED




                                cc:   JoAnn Bour-Stokes, Esq. ·
                                      Ohio Public Defender Commission
                                      8 East Long Street, 11th Floor
                                      Columbus, Ohio 43266-0587

                                      Daniel Eichel, Esq.
                                      P. o. Box 515
                                      Hamilton, Ohio 45012




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                                                                        VON CLARK DAVIS v. WARDEN
                                                                             CASE NO. 2:16-cv-00495
                                                                              APPENDIX - Page 2277
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-21 Filed: 08/08/16 Page: 144 of 235 PAGEID #: 2312




                                                IN THE COMMON PLEAS COURT, BUTLER·COUNTY, OHIO
   (

                                                                                            CASE NO. CRSJ-12-0614
                                                                                            CASE NO. 21655
                                                                                            ENTRY OF DISMISSAL


                                                                                            fjnal Appealable order

                                                                                            June 29, 1995
                                                                    . . . . ..
                                                                    •   a   •   •   •   •




                                   CASE NO. CRBJ-12-0614

                                             This matter came on before the Court as a R.C.                    2953.21
                                   petition challenging Von Clark Davis's murder conviction in Case
                                   Number 21655 and challenging his conviction and sentence of
                                  'I death    in Case No.    CRBJ-12-0614. The State responded to both
                                  I petitions    on October 15, 1993.           The State claimed the doctrine
                                  I of   res judicata applied to 27 of the 28 causes of action,
                                   excepting the Nineteenth Cause of Action.                    Petitioner responded
                                  lwith a motion to strike the State's answer and with a Motion to
                                   Dismiss on the basis that it is improper for the State to raise
                                   the defense of res judicata in a post-conviction action.                         The
1\JDolE IIIlA TTMEW J. all!t!AN
    ~"-uCourt
                                   State filed a memorandum in opposition to the defendant's motion
       Vliet County. 01110
                                   to strike.      The Court conducted a hearing on June 28, 1994.                  The
                                   court denied the Petitioner's motion to strike and found that
                                   res judicata barred all causes of action except the Nineteenth
                                   Cause of Action.         (See Journal Entry dated November 1, 1994)
                                          Petitioner's Nineteenth Cause of Action claims a defect in
                                   his conviction and sentence due to an ineffective jury waiver



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                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                    APPENDIX - Page 2278
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                                                                                                 CR83-12-0614
  (                                                                                              21655
                            and election to be tried by a three-judge panel.                           Petitioner
                            alleges that he was not informed that Judges S1:i tsinger and

                            Moser (2 members of the panel), as attorneys, prior to their

                            election to office as judges of the Butler County Common Pleas

                            Court, had represented the Federal National Mortgage Company in
                            a 1970 foreclosure action against defendant and his then, but
                            now deceased, wife Ernestine Davis.                     Petitioner claims had he

                            known these facts he would not have waived his right to trial by

                            jury.

                                    Petitioner in his affidavit, claims he was not aware of the

                            Judges'      involvement         in         the    foreclosure        action        until
                            approximately       July     1993.          This     court,     finding    that      this
  c                         allegation     is       dehors   the    record,        conducted     an   evidentiary

                            hearing on January 11, 1995.                The issue to be determined at the

                            hearing was whether Judges Moser and Stitsinger's representation

                            of a mortgagee in a 1970 foreclosure action, with the Petitioner

                            as a defendant, of which no one had any recollection, unfairly

                            prejudiced    the       defendant      in    his     decision   to   waive     a    jury,

                            requiring reversal of conviction and the death sentence.                            Post-
IUOGIIIIIATTH£W J. CAlHAN
   c - ..... c:-n
      ..- c:-ty, 01\10      evidentiary hearing briefs were filed by both the Petitioner and
                            Respondent.

                                   Judges' Moser and Stitsinger testified that in                        19~4    they

                            were    unaware     that    they      had     been    attorneys      representing       a

                            mortgagee     in    a     foreclosure        action     against. the      Petitioner

                            fourteen years earlier.               Even after the case was brought to
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                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 2279
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                                                                                            CRS3-l2-06l4
  (                                                                                         21655
                          their attention,           both Judges'       testified that they could not
                          recall the foreclosure action from the approximately 200-300
                          foreclosure       actions      circa     1969-1970          the      time    of     the
                          foreclosure in question.            (T.p. 27 & 45)       Both Judges testified

                          that since they were completely unaware                    of the foreclosure

                          action against Petitioner, much less their participation, during

                          the     1984   and    1989     proceedings,      the    fact.   of    their       brief
                          participation         fourteen     and    nineteen      years     earlier     played

                          absolutely no part "whatsoever" in their decisions.                         (T.p. 27-

                          28)     Indeed, Judge Moser opined that if anything, it would have

                          invoked a degree of compassion on his part for the defendant.

                          (T.p. 45)

                                  The Petitioner was informed in writing of who would be the

                          members of the three judge panel if he elected to waive the

                          jury.    He testified that at the time of the court proceedings in

                          1984    and    1989   he     was   unaware     that    Judge    Moser   and    Judge

                          Stitsinger were attorneys in the prior foreclosure.                         (T.p. 7 &

                          21) He now states that had he had that information, he would not

iUDGE MATTHfW J. CNK.ut
                          have waived the jury.
   c - ..... e-t
      "'* c-ty. Oft"'             Petitioner apparently reasons that he should be entitled to

                          post-trial withdrawal of his jury waiver, after conviction, if

                          he perceives some fact (relevant or not) which, if                    know~   at the

                          time of his waiver,           may have altered his decision.                 Similar

                          arguments have been rejected in State v. D'Ambrosio (1993), 67

                          Ohio St.3d 185, 189, State v. Dickerson (1989), 45 Ohio St.3d

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                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
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                                                                                                       CRS3-12-0614
                                                                                                       21655
                             .206,   ~09-.210,        and the supreme Court's decision in this very                           I
                             case, State v. Davis (199.2), 63 Ohio st.Jd 44, 48-49.                                           I.

                                     The    evidence           in     the   case      at     bar     shows    that    the
                             representation            of Judge Stitsinger              (and       peripherally Judge         I
                             Moser)      as attorneys for a mortgagee in a foreclosure action                                 I
                             almost two decades earlier had no impact at all on the 1984 and                                  I
                             1989     proceedings.              In     fact,       neither    the    Judges    nor    the
                                                                                                                              I
                             Petitioner were aware of their peripheral contact at the time of
                             the     1984       and     1989        proceedings.        The     foreclosure       itself
                             apparently         occurred        shortly      after     Petitioner      purchased and
                             abandoned the property.
                                     In the absence of bias,                prejudi~e,       or other disqualifying
  ,.-
 (
                            . factors,      a        judge     is    not    automatically          disqualified      from
                            I presiding         in     later        litigation,       even    if     that    litigation
                             tangentially concerns a legal matter handled by the Judge prior
                             to assuming the bench.                 In re Disqualification of Martin (1989),
                             43 Ohio St.3d 602.
                                     Whether there is a valid waiver depends on the unique

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                            circumstances of each case, see State v. Ruppert (1978), 54 Ohio
  I     -~c-t

        lief c-.ty, Ollio   St • .2d .263, .271, citing Adams v. United states ex rel. McCann
                             (194.2), 317 U.S • .269, .281, 63 S.Ct • .236, 87 L.E . .268, .274.                       A
                            defendant seeking to set aside a jury waiver on the groupd that
                            it was not freely and intelligently made must sustain the burden
                            of showing essential unfairness "not as a matter of speculation
                            but as a demonstrable reality." Adams, Id. at 281, 87 L.E. at
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                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
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                                                                                               CR83-12-0614
  (      .                                                                                     21655
                              268.     Petitioner suggests that there is a duty on the part of
                              the trial court to advise him of collateral-facts such as were
                              involved in the case sub judice.                 The law in Ohio is that
                              "[w]hile       it may be better practice for              the    trial    judge to
                              enumerate all the possible implications of a waiver of a jury,
                              there is no error in failing to do so."                state v. Jells (1990),
                              53 Ohio St.3d 22, 26.

                                      This Court finds that neither Judge Stitsinger, nor Judge

                              Moser, nor the Petitioner were aware, in 1984 or lS89, of the
                              Judges indirect contact with the Defendant as a result of a
                              foreclosure action in 1970.             Such unknowing involvement could
                              have no possible impact on the trial proceedings or on the
  (                           fairness of the sentence. By the same token the court does not

                              believe       the   statement   of     the   Petitioner       that   having    such

                              knowledge would have altered his decision to waive a                          jury._

                              Petitioner's self serving testimony to the contrary is simply
                              that.

                                      The    court   finds    that    there    was     no     infringement      of

IUOGE MATTHEW J. CREHAN
                              Petitioner's Constitutional rights so as to render the judgments
  c:o...- Plea& Court
      .rtler   c:-ty, Ollio   in this case to be void or voidable.               Petitioner's Nineteenth
                              Cause of Action is dismissed.                The Court having granted the

                              motion of the State of Ohio to dismiss each of the                       ca~ses   of

                              action    enumerated      in    the    Petitioner's      petition     for     post-

                              conviction relief, in case number CRSJ-12-0614, .the court hereby

                              dismisses the petitioner's motion for post-conviction relief.

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                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
                                                                                           APPENDIX - Page 2282
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                                                                                                       CR83-12-0614
  (                                                                                                    21655
                            CASE NO. 2l6SS

                                   Defendant filed a motion requesting an evidentiary hearing

                            pursuant to R. c.            2953.21 alleging that the judgment in case
                            number 21655 is void or voidable.                 Plaintiff's responded with an
                            answer and motion to dismiss defendant's petition · for post-
                            conviction relief.

                                   Defendant was indicted for first degree murder pursuant to

                            R.C. 2901.01.          On April 20, 1971 he plead guilty to murder in

                            the    second    degree        in   violation         of    R.C.       2901.05.        He was

                            convicted and sentenced on that charge.

                                   A judgment of conviction is void within the meaning of R.C.
                            2953.21    only        if     rendered     by     a        court       having       either     no
  (
                            jurisdiction over the person of the defendant or no jurisdiction

                            of the subject matter.               state v. Perry (1967), 10 Ohio St.2d
                            175.      Defendant's           petition        fails       to     allege       a     lack     of

                            jurisdiction over the defendant or subject matter, therefore the

                            judgment cannot be void as a matter of law.

                                   A judgment of           conviction       is voidable under the United

JUDGE ItA TTHEW J. CREHAH
                            States    or    Ohio        Constitutions,       within          the    meaning       of     R.c.
   ... _ ,..uCourt
       ..... c-ty, Olllo    2953.21, if the constitutional claim of the defendant in post-
                            conviction proceedings              is   such that it could not have been

                            litigated before the judgment of conviction and hence could not

                            reasonably be said to have been either waived by the Defendant

                            or adjudicated against him.               See Perry at 179-180.

                                   The petition alleges,             and the record reflects,                    that the

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                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                              CASE NO. 2:16-cv-00495
                                                                                               APPENDIX - Page 2283
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                                                                                           CR83-12-0614
                                                                                           21655
                            Defendant,       represented by counsel,          entered a    guilty plea to

                            Murder in the Second Degree in violation of R.C. 2901.05, after

                            the commencement of trial and after the Prosecuting Attorney

                            entered     a    Nolle    Prosequi    to    the    words     "deliberate"      and

                            "premeditated"       in an     indictment    for   the     greater offense of
                            Murder in the First Degree in violation of R.C. 2901.01.                  Murder

                            in the Second Degree is a purposeful killing of another but
                            committed in the absence of premeditation or deliberation.                      It

                            is a lesser included offense of Murder in the First Degree.
                            State v. Muskus (1952), 158 Ohio St. 276.
                                   Defendant's       post-conviction     petition       merely     seeks   to

                            relitigate the substantive issue of his guilt of a purposeful
  (
                            killing.        This issue was resolved in his conviction which was

                            based upon a guilty plea.            Any issue as to the sufficiency of

                            facts necessary to prove his guilt was clearly waived when he

                            plead guilty; he could have litigated such issue at a trial but

                            did not.        Under the doctrine of res judicata, such a claim is

                            merged with the judgment of conviction based upon the guilty

.IUOGE MATTHEW J. CREHAN
                            plea and Defendant cannot now relitigate the issue.                    State v .
   '=--Pte-c-rt
      8utlef c:-ty. Oftio   Ishmail (1981), 67 Ohio St.2d 16, 18, 21.
                                   A   petition      for   post-conviction      relief    is     subject   to

                            dismissal without a hearing when the Petitioner fails to; submit

                            with his petition evidentiary material setting forth sufficient

                            operative facts to demonstrate substantive grounds for relief.

                            R.C.   2953.21(C); State v. Sowell           (1991),     73 Ohio App.3d 672,

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                                                                                VON CLARK DAVIS v. WARDEN
                                                                                     CASE NO. 2:16-cv-00495
                                                                                      APPENDIX - Page 2284
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                                                                                                        CR83-12-0614
   (                                                                                                    21655
                               682; State v. Pankey (1981), 68 Ohio St.2d 58.                           The Petitioner
                               has failed to submit any such information.

                                    The petition's claim for post-conviction relief is based
                               solely on the recanting of trial testimony by Robert Beard.

                               Having   reviewed       all    the     available        court       records        and   the
                               applicable    law,      this   court        finds     that       such   allegedly        "new
                                                                                       .
                               evidence" does not rise to the level of "substantive grounds 11

                               for a finding a denial or infringement of Petitioner's rights

                               under the Ohio Constitution or the Constitution of the United

                               States. (R.C. 2953.21)

                                    Even    if   the    court       were       to   somehow      find     that    Beard's

                               recantation is a substantive ground, the Defendant's petition is
   (
                               barred by the defense of res judicata.                      on     April     14,     1981,

                               Petitioner filed a motion for leave to file for a new trial and
                               for an oral hearing on the basis of the same letter written by

                               Robert Beard which is the subject of the present motion.                                 The

                               motion was denied by entry filed on April 22, 1981 and was not

                               appealed.

                                    Under the doctrine of res judicata, a final judgment
.IUOGE     , .... J.Court
       MATTHEW
    ____             CREHAN
                                    of conviction bars a convicted defendant who was
       ilutlef County, Olllo        represented by counsel from raising and litigating in
                                    any proceeding except an appeal from that judgment,
                                    any defense or any claimed lack of due process that
                                    was raised or could have been raised by the defendant
                                    at trial,   which resulted in that judgment qr
                                    conviction, or on an appeal from that judgment.

                               State v. Perry (1967), 10 Ohio St.2d 175, 180.
                               The Petitioner could have appealed the decision denying the

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                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
                                                                                                 APPENDIX - Page 2285
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                                                                                           CR83-12-0614
  (                                                                                        21655

                              motion for leave to file for a new trial, but did not.
                                     The law in Ohio as to the defense of. res judicata in a

                              post-conviction action has a long history.            Recently in State v.

                              Lentz (1994), 70 Ohio St.3d 527, 529, the Supreme Court of Ohio
                              referred to its holding in Perry and found res judicata to be a

                              proper basis upon which to dismiss, without hearing, a petition

                              for post-conviction relief.         This Court, therefore, finds that

                              the doctrine of res judicata is a bar to this post-conviction

                              action.
                                     For   the   foregoing   reasons   this    Court   finds   Petitioner

                              failed to produce, in the petition, substantive grounds to grant

                              an    evidentiary    hearing   as   required     by   R.C.    2953.21.   The
   ,.
  (
                              Petitioner's petition for a hearing is denied and the motion of

                              the State of Ohio to dismiss the petition for post-conviction

                              relief is granted.
                                                                   SO ORDERED




JUOGE IIIAT'niEW J . CREHAN
      -,..,m_ Pleu Coul1      cc:   JoAnn Jolstad, Esq.                       John F. Holcomb, Esq.
        Iuiie< County. Ohio         Ohio Public Defender Commission           Prosecuting Attorney
                                    8 East Long Street, 11th Floor            216 Society Bank Building
                                    Columbus, Ohio 43215-2998                 Hamilton, Ohio 45011




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                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
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                                                    APPENDIX



                                        ASSIGNMENT OF ERROR NO A

                      THE TRIAL COURT ERRED WHEN IT DISMISSED
                      APPELLANT DAVIS' FIRST CLAIM IN VIOLATION OF HIS
                      RIGHTS GUARANTEED BY THE FIFTH, SIXTH, EIGHTH
                      AND FOURTEENTH AMENDMENTS OF THE U.S.
                      CONSTITUTION AND ARTICLE I, SECTIONS 2, 9, 10 AND 16
                      OF THE OHIO CONSTITUTION.

                      ISSUE PRESENTED FOR REVIEW A.t"'ID ARGUMENT:

                       1.     Appellant Davis' due process rights were violated when the
                              trial court denied his request to examine the grand jury
                              transcripts.

             Mr. Davis' first cause of action alleged that the trial court's refusal to permit inspection of

       the grand jury transcripts violated his rights under the United States and Ohio Constitutions.

             During the capital trial, the Appellant Davis moved the Court to dismiss the indictment

       against him, and permit inspection of the grand jury transcript on the basis that the indictment

       against him was not based on probable cause, and that it was founded on illegal and

       incompetent evidence. T.d. 12. Appellant offered two reasons for granting disclosure: 1) lack

       of probable cause would support the Motion to Dismiss; and 2) the traditional policies

       regarding the secrecy ofthe grand jury were inapplicable to this case. The trial court denied the

       motion.

             A defendant may inspect grand jury transcripts when the ends of justice require it and

       there is a showing of particularized need which outweighs the need for secrecy: State v. Greer,

       66 Ohio St. 2d 139, paragraph 2 of the syllabus, 420 N.E.2d 982, 983 (1981). "Particularized

       need" is demonstrated, "when the circumstances reveal a probability that the failure to provide

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       the grand jury testimony will deny the defendant a fair trial .... " State v Sellards, 17 Ohio St.

       3d 169, 173 (1985).

             Appellant Davis demonstrated a particularized need for the grand jury transcripts which

       outweighed any residual need for secrecy. By disclosure, the Appellant sought to substantiate

       his motion to dismiss by showing there was insufficient evidence before the grand jury to

       support the finding of probable cause and return of the indictment against him. Although the

       validity of a facially correct indictment is generally not subject to challenge based on alleged

       incompetent or illegally obtained evidence introduced before the grand jury, United States v

       Calandra, 414 U.S. 338, 344-345 (1974), the sufficiency of evidence to support an indictment

       may be challenged. See. e 2, United States v. O'Shea, 447 F.Supp. 330, 332 (D. Fla. 1978)

       (dismissal required where inspection of grand jury transcripts revealed failure of state to make

       out a lliima ~case).

             In the present case, there was insufficient evidence of probable cause. The State

       presented only one witness at the preliminary hearing in order to establish probable cause to

       bind over Petitioner. That witness was Tony Ferguson. Appellant Davis had reason to believe

       that Tony Ferguson was the only witness before the grand jury. For reasons unknown to the

       App~llant,   the State chose not to call Ferguson as their witness at trial. Thus, the Appellant was

       forced to call him in an attempt to discover the substance of his testimony before the grand jury.

       The testimony Ferguson gave at the preliminary hearing and at trial was inconsistent and

       contradictory; and it was further contradicted by the proffered testimony of defense witness

       Elbert Avery. Appellant's need for disclosure of the grand jury transcripts became more

       apparent as the trial unfolded. The grand jury transcripts may also have revealed whether the


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        prosecutor chose not to call Ferguson in order to keep the proceedings secret, or for another

       reason.

              In comparison, the need to maintain secrecy after the grand jury is discharged is minimal.

       The U.S. Supreme Court articulated the reasons behind the secrecy of grand jury proceedings in

       United State v. Procter & Gamble Co., 356 U.S. 677, 681 fn.6 (1958): 1) to prevent escape of

       the accused; 2) to prevent importuning of grand jurors and promote untrammeled deliberations;

       3) to prevent subornation of perjury or witness tampering; 4) to encourage free disclosure by

       those with information about the crime; and 5) to protect the innocent accused from being

       discredited in the community. None of these reasons were applicable to the circumstances at

       the time the appellant moved for disclosure.

             When Appellant Davis moved for disclosure of the transcripts, the grand jury had been

       discharged, and Mr. Davis had been indicted, arraigned and incarcerated. There was no danger

       of his escaping or intimidating witnesses. Indeed, if the prosecutor had any fears in this regard,

       he could have sought a protective order prohibiting certain evidence from being disclosed. Mr.

       Davis did not seek to discover the identity of or discussions between the grand jurors. Thus,

       there was no danger of his attempting to influence or harass jurors. Further, any witnesses

       before the grand jury knew or should have known that their grand jury testimony could be used

       against the ,Appellant at trial. Moreover, once a witness has testified at the preliminary hearing

       and at trial, as Ferguson did in this case, he has forfeited the anonymity sought to be preserved

       by the rule of secrecy. ~ .Qrw, 66 Ohio St 2d at 150-151, 420 N.E.2d at 989.




                                                                                                            A-20




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             In holding that the defendant in Dennis v. United States, 384 U.S. 855, 985 (1966), must

       be allowed to obtain the grand jury statements made by a complaining witness, the U.S.

       Supreme Court reasoned,

                      [i]n the American adversary system for determining guilt or
                      innocence, it is rarely justifiable for the prosecution to have
                      exclusive access to a storehouse of relevant facts, and exceptions to
                      this are justifiable only by the clearest and most compelling
                      considerations.

       Appellant Davis' need for the grand jury transcripts outweighed the need, if any for secrecy.

       Therefore, the trial court abused its discretion when denied Appellant's motion. And, the court

       below erred when it dismissed the claim.




                                                                                                         A-21



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                                          ASSIQNMENT OF ERROR NO B

                        THE TRIAL COURT ERRED BY GRANTING THE
                        PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                        APPELLANT'S SECOND CAUSE OF ACTION.

                        ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                        1.       Where evidence presented at a capital trial is insufficient to
                                 support a conviction for aggravated murder, the conviction
                                 is a violation of Appellant's rights Wlder the Fifth, Sixth,
                                 Eighth, and Fourteenth Amendments of the United States
                                 Constitution and Article I, Sections 10 and 16 of the Ohio
                                 Constitution and cannot stand.

               The witnesses testifying against Appellant lacked credibility, and further, the State failed to

       prove "prior calculation and design" as required for the aggravated murder conviction. At

       Appellant's preliminary hearing, the State's presented only the t~stimony of Tony Ferguson.

       Ferguson did not testify that Reginald Denmark or Cozette Massey were at the scene. The State

       did not call Ferguson to testify at Appellant's trial, presumably because his testimony contained so

       many discrepancies. The eyewitnesses called by the State, Cozette Massey and Reginald

       Denmark, did not testify that they saw Tony Ferguson at the scene of the killing.

               The testimony at trial established that Appellant Davis, bought the gWl in order to trade it

       for dental equipment. One witness called by the State, Wade Coleman, testified that Appellant

       had bought the   gW1   for protection. There was no testimony that there had been any trouble

       between Appellant and the victim, Suzette Butler. There was no testimony indicating that he

       intended to kill her or that he had bought the gWl for that reason. In her statement to the police,

       Mona Aldridge stated that Appellant and Suzette were arguing at the time the gun was fired.

       Jordana Miles saw pan of the incident and also said it looked like they might have been arguing.




                                                                                                                 A-22



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               This does not establish prior calculation and design. The circumstances surrounding the

        homicide must show a scheme designed to implement the calculated decision to kill. State v.

        Robbins, 58 Ohio St. 2d 74 (1979); State v. Cotton, 56 Ohio St. 2d 8 (1978).

               There was no evidence presented that Von Clark Davis knew Suzette Butler would be at

        the American Legion that evening. Suzette went there with Mona Aldridge and Von Davis arrived

        about five minutes later. Von left, followed by Suzette. There was no evidence that Von Davis

        had asked   S~ette   Butler to go outside or intended to leave with her. The subsequent shooting

       took place in front of a public building, on a public street. This does not demonstrate any planning

       or calculation.

               The Constitution prohibits conviction of any person except upon proof of guilt beyond a

       reasonable doubt. In re Winship, 397 U.S. 358 (1970). Ohio case law supports this proposition.

       State v Adams, 62 Ohio St. 2d 151 (1980); State v Mjclau, 167 Ohio St. 38 (1957). See also

       Ohio Rev. Code Ann. § 2901.05(A). A conviction based upon evidence which is not sufficient to

       prove guilt beyond a reasonable doubt violates the Due Process Clause of the Fourteenth

       Amendment ofthe United States Constitution. Jackson v Viriinia, 443 U.S. 307 (1979).




                                                                                                              A-23



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                                        ASSIGNMENT OF ERROR NO. C

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                       APPELLANT'S FOURTH CAUSE OF ACTION.

                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       1.     Where a capital specification of a prior homicide used in a
                              case is too remote in time, it is a violation of rights under
                              the Fifth, Sixth, Eighth and Fourteenth Amendments of the
                              United States Constitution and Article I, Sections 10 and 16
                              of the Ohio Constitution

               Count one of Appellant's indictment carried a capital specification that prior to this offense

       Appellant had been convicted of an offense an essential element of which was the purposeful

       killing of, or attempt to kill, another. Ohio Rev. Code Ann. § 2929.04(A)(5).

               The prior homicide for which Appellant was convicted occurred in 1971. This offense was

       too remote in time to be used as a specification for the death penalty.

               The United States Supreme Court has held that there is only a very narrow range of

       offenses for which the death penalty may be imposed. The use of a thirteen year old crime is

       unconstitutional. A state's death penalty statutes must be drawn and applied in such a manner so

       as to avoid the arbitrary and capricious use of the death penalty. Godfrey v. Georgia, 446 U.S.

       420, reh'g denied, 456 U.S. 1001 (1980). The primary purpose of an aggravating circwnstance is

       to identify for the jury particular aspects of the course of conduct that made the offender eligible

       for death. Jurek v. Texas, 428 U.S. 262 (1976). A thirteen year old crime has no relationship to

       the present offense.




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                                      ASSIGNMENT OF ERROR NO D

                      THE TRIAL COURT ERRED WHEN II DIS.MISSED
                      APPELLANT'S SEVENTH CAUSE OF ACTION IN
                      VIOLAIION OF HIS RIGHTS GUARANTEED BY THE FIFTH,
                      SIXTH EIGHTH AND FOURTEENTH AMENDMENTS OF
                      THE UNITED STATES CONSTITUTION AND ARTICLE I,
                      SECTIONS 2, 9, 10, AND 16 OF THE OHIO CONSTITUTION.

                      ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                      1.      When an Appellate Court Reiterates it's Previous
                              Appropriateness Opinion Which was Invalidated by the
                              Ohio Supreme Court, and Fails to Acknowledge
                              Appellant's New Arguments and Issues, Its Review Falls
                              Short of the Constitutional Safeguards Required in Capital
                              Cases.

              Appellant Davis' Seventh Cause of Action alleged that the Court of Appeals failed to

       properly review his death sentence in violation of his rights under the United States and Ohio

       Constitutions, as well as§ 2929.05(A) of the Ohio Revised Code. After Appellant Davis was

       resentenced to death, he appealed the sentence to the Twelfth District Court of Appeals. In

       Davis' brief to the Court of Appeals, he raised numerous flaws in the trial court's reasoning,

       including the inappropriateness of the death sentence. (Assignment of Error No. IV, Court of

       Appeals' Brief). The Court of Appeals deferred ruling on this issue until its appropriateness

       review. The Court of Appeals' entire appropriateness analysis consisted of the following:

              In our prior decision in this case, we found that the aggravating circumstance
              under R.C. 2929.04(A)(5) (prior murder conviction) was sufficiently established
              by the evidence and that it outweighed the mitigating factors presented by
              appellant beyond a reasonable doubt. See D.aris, Butler App. No. CA84-06-071,
              unreported, at 27-28. As appellant has presented no argument which convinces us
              otherwise, our conclusion remains the same .... Appellant's fourth assignment of
              error is overruled.




                                                                                                        A-25



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        State v Davis, 1990 W.L. 165137 at *4, No. CA89-09-123 (Butler County Ct. App., Oct. 29,

        1990).

                 This cursory review failed to meet the constitutional standards of reliability dictated in

       capital cases and Ohio Rev. Code Ann. § 2929.05, the statute designed to enforce them.

                 The United States Supreme Court has repeatedly recognized that death is different from

       any other kind of punishment which may be imposed in this country. Grei2 v Geor2ia, 428

       U.S. 153, 181-188 (1976); Woodson v. North Carolina, 428 U.S. 280 (1976). This difference

       mandates a higher degree of reliability that the sentence imposed is the correct one. When a

       sentencing procedure creates a risk that the death penalty would be imposed when a lesser

       penalty was warranted, "that risk is unacceptable and incompatible with the commands of the

       Eighth and Fourteenth Amendments." Lockett v Ohio, 438 U.S. 586, 605 (1978).

                 To be considered constitutional, a capital sentencing procedure must facilitate the

       responsible and reliable exercise of sentencing discretion. Caldwell v Mississippi, 472 U.S. 230,

       239 (1985). A thorough and functional review system insures the reliability of sentence

       procedures. Parker v. Du22er, 498 U.S. 308, 321 (1991).

                 The need to comport with constitutional principles of reliability led the Ohio Legislature

       to adopt Ohio Rev. Code Ann. § § 2929.05 as it relates to appellate review. The Ohio Supreme

       delineated the scope of review a court of appeals must undertake in order to comply with §

       2929.05:

                 R.C. 2929.05 requires the courts of appeals, and the Supreme Court as well, tQ
                 independentlv wei2h all the facts and other evidence in determining whether the
                 aggravating circumstances outweigh the mitigating factors in reviewini the
                 sentencing coun' s deteonination. As a necessary corollary to that requirement,
                 the courts of appeals and the Supreme Court must articulate the reasons why the
                 aggravating circumstances outweigh the mitigating factors.

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       State v Maurer, 15 Ohio St. 3d 239, 246-47, 473 N.E.2d 768, 778 (1984) (emphasis added).

                The Court of Appeals in the case .s.uh~ conducted no such review. The Court did not

       address the infirmities in the trial court's decision raised by the Appellant, nor did the court

       discuss the propriety of the trial court's weighing process. Further, conspicuously absent from

       the Court of Appeals' decision is any meaningful independent weighing of the aggravating

       circumstances and mitigating factors. Rather, the Court relied on its opinion in Appellant Davis'

       firs1 appeal.~. No. CA89-09-123, at *4. In so doing, the Court of Appeals failed to

       recognize the trial court's error in refusing to consider mitigating evidence proffered by the

       Appellant at the resentencing hearing.

                Moreover, the Court of Appeals stated that since Appellant Davis had not offered any

       new argument to challenge the first appropriateness review, there was no reason to revisit the

       issue.   Id. This statement ignores the fact that Appellant Davis briefed to the Court of Appeals

       an argument advancing reasons why the death sentence was inappropriate in his case.       ~


       Assignment of Error No. III, Court of Appeals' Brief. The Court of Appeals simply neglected to

       address Appellant's argument.

                The Court of Appeals' review also failed to encompass all of the record evidence

       presented by Appellant Davis in support of his inappropriateness argument. An appellate court

       cannot simply disregard the record evidence in making its legal    assessments.~     Clemons v

       Mississippi, 494 U.S. 738,751-52 (1990). The Court of Appeals' failure to conduct a weighing

       process which incorporated Jill. of the mitigating evidence presented, deprived Mr. Davis of "the

       individualized treatment that would result from actual reweighing of the mix of mitigating

       factors and aggravating circumstances." Id. at 752.


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              The failure of the Court of Appeals to conduct an independent review was not corrected

       by the Ohio Supreme Court's own review. As stated in State v Gmard, 40 Ohio St. 3d 226, 235

       (1988), "[a] capital defendant, under O.R.C. Section 2929.05, has a right to independent review

       by b.Q1h the intermediate appellate court and the Supreme Court." (emphasis added). The Ohio

       Supreme Court recognizes that "the multi-tiered structure eliminates the arbitrary imposition of

       the death penalty." .Id. (quoting State v Glenn, 28 Ohio St. 3d 451, 453 (1986)). As the

       defendant in ilillard, i.d. had "not yet had the safeguard of independent review by the court of

       appeals," the case was remanded to the Court of Appeals to conduct the proper review.

              Similarly, as Appellant Davis was denied the reliability of independent appellate review

       by the Court of Appeals' failure to comply with § 2929. 05 and the constitution, his sentence

       should be vacated.




                                                                                                          A-28



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                                       ASSIGNMENT OF ERROR NO E

                          THE TRIAL COURT ERRED WHEN II DISMISSED
                          APPELLANT DAVIS' NINTH CLAIM IN VIOLATION OF HIS
                          RIGHTS GUARANTEED BY THE FIFTH, SIXTH EIGHTH
                          AND FOURTEENTH AMENDMENTS OF THE UNITED
                          STATES CONSTITUTION AND ARTICLE I, SECTIONS 2, 9,
                          10, AND 16 OF THE OHIO CONSTITUTION.

                          ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                          1.   Separation of the Three Judge Panel during Deliberations
                               Deprives a Capital Defendant of a Reliable Verdict.

               Mr. Davis' ninth cause of action alleged that the separation of the three-judge panel

       during its sentencing deliberations violated his constitutional rights. On August 4, 1989 the

       three-judge panel in Appellant Davis' case reconvened for a resentencing hearing to determine

       the appropriate punishment. The panel commenced deliberations on Friday, August 4, separated

       over the weekend, and returned a verdict on Monday, August 7. Monday morning, Judge Brewer

       explained, "We broke off and individually considered this until this morning and we continued

       our deliberations .... " R.H.T.p. 31. The court then announced its decision to reimpose the death

       sentence.   l.d.

              Both Ohio Rev. Code Ann.§§ 2945.06 and 2929.03 provide that a three-judge panel shall

       decide all capital cases when an accused has waived the right to a jury trial. As with a jury

       decision, the statutes require the panel to unanimously arrive at a decision during both the

       guilt/innocence and penalty phases. !d. Further, § 2945.06 instructs the panel to "hear, try and

       determine the cause in accordance with the rules and in like manner as if the cause were bejn~

       tried before a jury." (emphasis added). The law requires jurors to be sequestered once a case is

       submitted to them. § 2945.33; Ohio R.Crim.P. 24(G)(2)(C). Although separation of the jury


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       prior submission ofthe case is left to the court's discretion, i.d., the court does not generally have

       the authority to permit separation during deliberations in a capital case. State v Williams, 39

       Ohio St. 2d 20 (1974); Whitey Maxwell, 174 Ohio St. 186, 187 (1963). Accordingly, when

       Appellant Davis waived his right to a jury, he did not waive the rights and procedural protections

       attendant to the jury deliberation process by electing to be tried by the three-judge panel.

               There are several reasons for jury sequestration during deliberations, all of which are

       equally applicable to deliberations by the three-judge panel. Sequestration protects jurors from

       tampering or other outside information which may influence their decisions. 72 A.L.R.3d 248 .

       Sequestration promotes verdict fmality and maintains the integrity of the decision-making body.

       United States v Musto, 540 F.Supp. 318,344 (N.J. 1982). Sequestration also insures that the

       verdict is a result of an "intelligent consensus of the whole jury .... " Davis v. State, 63 Ohio St.

       173, 174 (1900).

               Ohio courts have stressed the importance of unified deliberations by instructing jurors to

       act as a decision-making body. For instance, the courts have instructed jurors that to act as an

       entity they must each participate in the decision-making: "[Y]ou should each and all, with

       patience, hear what your fellow jurors have to urge ... in order that your verdict be the intelligent

       consensus ofthe whole jury ... " State v Johnson, 11 Ohio Dec. 774, 777 (1901), rev'd on other

       grounds, 66 Ohio St. 59 (1902); and "[the] defendant is entitled to the consideration and

       judgment of every member of the jury .... It is your duty to reason together upon the evidence."

       Geer v. State, 31 O.C.D. 455, 458-59 (1909). Indeed, "the very purpose of twelve jurors to try

       criminal cases is to have their combined assistance and consideration in reaching a verdict." State

       v Anthoulis, 62 Ohio App. 113, 131 (1930).


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               The "combined assistance and consideration" of each member of the deliberative body is

        forfeited when members deliberate separately and individually, as the members of the three-

        judge panel did in this case. Further, the individual members were at risk of being exposed to

        outside influences while they were deliberating. Ohio law provides that the three-judge panel act

        in lieu of a jury in capital cases; it does not, however, replace those procedures designed to

        preserve the integrity of a jury verdict with different procedures only applicable when a three-

       judge panel tries a case. To the contrary, § 2945.06 explicitly mandates that the procedures

        remain the same. As a result, Appellant Davis constitutional and statutory rights were violated,

        and his sentence must be vacated.




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                                        ASSIGNMENT OF ERROR NO. F

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                       APPELLANT'S TENTH CAUSE OF ACTION.


                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       1.     Where a trial court refuses to allow a defendant to withdraw
                              his jury waiver, the defendant's rights under the Fifth,
                              Sixth, Eighth, and Fourteenth Amendments of the United
                              States Constitution and Article I, Sections 10 and 16 of the
                              Ohio Constitution have been violated.

               In State v Davis, 38 Ohio St. 3d 361 (1988), cert denied, 488 U.S. 1034 (1989), the Ohio

       Supreme Court concluded that error occurred in the sentencing phase of Mr. Davis's capital trial,

       and that on remand Mr. Davis was eligible to receive the death penalty. Id. at 373. The Court

       arrived at that decision although it had previously ruled in State v. Penix, 32 Ohio St. 3d 369

       (1987), that due to a sentencing phase error, the death sentence was not an appropriate penalty on

       remand. The Court reached different conclusions in these cases because Mr. Davis's capital trial

       occurred before a three-judge panel while Mr. Penix's trial was before a jury.

              Upon remand, with Mr. Davis facing the possibility of a death sentence, trial counsel

       alerted the trial court to the constitutional implications attendant to drawing a distinction between

       three-judge panel cases, and jury cases, in determining the appropriate penalty. Counsel filed a

       Motion to Prohibit Three-judge Panel from Resentencing to Death. In this motion counsel

       advanced the argument that sentencing Mr. Davis to death would violate a myriad of constitutional

       protections. Counsel also filed a Motion to Withdraw Jury Waiver. This motien provided that

       Mr. Davis did not make a knowing, intelligent and voluntary waiver of his right to a jury trial.



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        The trial court overruled both motions. It proceeded to conduct the resentencing hearing, and

        ultimately sentenced Mr. Davis to death.

                         A.      APPELLANT DAVIS'S JURY WAIVER WAS NOT
                                 KNOWING, INTELLIGENT AND VOLUNTARY.

                  Armed with the Ohio Supreme Court's decision that Mr. Davis was subject to the death

        penalty at his resentencing hearing, defense counsel attempted to withdraw Mr. Davis's original

       jury waiver. Counsel argued that the divergent positions taken by the Ohio Supreme Court in

        State v   Penix,~.      and State v.   Davis,~.    prevented Mr ..Davis's jury waiver from being

       knowing, intelligent, and voluntary. The trial court did not permit Mr. Davis to withdraw his jury

       waiver. T.d. 141.

                  A capital defendant has the right to a jury trial as guaranteed by the Sixth and Fourteenth

       Amendments ofthe United State Constitution and Article I, Section 5 of the Ohio Constitution.

       "[T]rial by jury is the normal, if not preferable, mode of disposing of issues of fact in criminal

       cases and the right must be jealously preserved." State v Ruppert, 54 Ohio St. 2d 263,271,        ~


       ~.         439 U.S. 954 (1978). It is for this very reason that a criminal defendant may not be

       deprived ofthis right without an intelligent, voluntary and knowing waiver. Ohio R. Crim. P.

       23(A); Ohio Rev. Code Ann.§ 2945.05; Adams v United States, 317 U.S. 269 (1942). "Every

       reasonable presumption should be made against the waiver, especially when it relates to a right or

       privilege deemed so valuable as to be secured by the constitution." Simmons v State, 75 Ohio St.

       346, 352 (1906). The Ohio Supreme Court has addressed the test to be applied in determining

       whether a criminal defendant has knowingly, intelligently and voluntarily waived his right to a

       jury trial. The trial "court must insure that the accused's decision to waive such right is made with




                                                                                                                A-33



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        a sufficient awareness of the relevant circumstances and likely consequences ofhis waiver."    Stm

        v Ryppert, m. at 271. (Emphasis added.)

               Von Clark Davis could in no way have been aware of the circumstances and consequences

        ofhis waiver. He could not have known by waiving a jury, he could again be subject to the death

        penalty if his death sentence was reversed. While by contrast, if he chose to have his case heard

        by a jury, he would have been insulated from the death penalty if a reversal occurred. Given these

        facts, Mr. Davis was precluded from making an informed choice. Most specifically, his ability to

       make a knowing, intelligent and voluntary waiver of his constitutional right to a trial by jury was

       impaired.

               Von Clark Davis was on trial for his life. The decision whether to be tried by a jury was

       particularly crucial. He should have been knowledgeable of all of the consequences of his waiver.

       He was not, and he should have been permitted to withdraw that waiver.

                      B.      SENTENCING VON CLARK DAVIS TO DEATH
                              VIOLATED THE DUE PROCESS AND EQUAL
                              PROTECTION CLAUSES OF THE UNITED STATES
                              AND OI-llO CONSTITUTION.

               The Ohio Supreme Court's determination that Von Clark Davis could be resentenced to

       death on remand hinged on the fact that Mr. Davis was convicted and sentenced by a three-judge

       panel rather than a jury. The Court opined "that when a reviewing court vacates the death sentence

       of a defendant imposed by a three-judge panel due to an error occurring at the penalty phase, not

       otherwise covered by Ohio Rev. Code Ann. § 2929.06, and the reviewing court does not fmd the

       evidence to be legally insufficient to justify imposition of the death sentence, such reviewing court

       may remand the action to that court for a resentencing hearing at which the State may seek




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       whatever punishment is lawful, including but not limited to, the death sentence." State v. Davis,

       .sl.!llli!·

                     The decision in Mr. Davis's case deviates from the Court's prior decision in State v Penix,

       32 Ohio St. 369 (1987). In .fmi.x, the Court upheld the reversal of a death sentence where a jury

       had been improperly allowed to consider a nonstatutory aggravating circumstance in its penalty

       determination. The Court concluded that the defendant could not be resentenced to death when his

       case was remanded to the trial court for resentencing. It based this conclusion on the fact that the

       Ohio Revised Code requires that a sentence of death can only be imposed by the same jury that

       determined guilt or innocence, and Ohio Revised Code, Section 2929.03(C)(2)(b), does not

       authorize there-empaneling of a new jury for a resentencing hearing. !.d.. at 372, 747. Under these

       circumstances, the Court reasoned that resentencing can only occur pursuant to Ohio Rev. Code

       Ann.§ 2929.06, which authorizes the trial court to resentence the defendant to one of two

       alternative life sentences.

                     As part of its analysis, the £mix Court concluded that the Ohio Revised Code provides no

       authorization for the reimposition of a death sentence that has been reversed due to an egregious

       error in the penalty phase. The Court also recognized that the Revised Code did not cover the

       situation presented in Mr. Davis's case; yet, rather, than concluding that Mr. Davis could not be

       put to death, as it did in State y Penix, the Court reached an opposite conclusion and authorized

       the death sentence on remand.

                     The position occupied by Mr. Davis is indistinguishable from that of the defendant in ~

       v Penix, SJ.Ullil· Both defendants were sentenced to death at trial. Both had their convictions

       reversed based upon the same penalty phase error: improper consideration of nonstatutory


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       aggravating circumstances. Both were tried under the same capital statutory scheme, as originally

       interpreted in State v Penix, that provides no authorization for imposition of death at resentencing.

       Following this mandate, Mr. Penix was sentenced to life. Mr. Davis was sentenced to death.

                This result reflects the fact that capital defendants tried before three-judge panels in Ohio

       are treated differently and more severely than those tried before a jury. This distinction denies

       those capital defendants tried by a three-judge panel their constitutional rights. "A state's

       enforcement of its criminal laws must comply with the principles of substantial equality and fair

       procedure that are embodied in the Fourteenth Amendment." McCoy v Court of Appeals, 486

       U.S. 429, 100 L.E. 2d 440,451 (1988). The "constitutional guarantees of due process and equal

       protection both call [.. ] for procedures in criminal trials which allow no invidious discriminations

       between persons and different groups of persons." Griffin v. Illinois, 351 U.S. 12, 17 (1956).

       These well-settled principles were violated when the three-judge panel resentenced Mr. Davis to

       death.




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                                        ASSIGNMENT OF ERROR NO. G

                        THE TRIAL COURT ERRED BY GRANTING THE
                        PROSECUTOR'S MOTION TO DISMISS AS TO PETITIONER-
                        APPELLANT'S TWELFTH CAUSE OF ACTION.

                         ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                         1.     Ohio's statutory provisions governing the imposition of the
                                death penalty, do not meet the prescribed constitutional
                                requirements and are unconstitutional, both on their face
                                and as applied to Appellant Davis in violation of
                                Appellant's rights under the Fifth, Sixth, Eighth, and
                                Fourteenth Amendments of the United States Constitution
                                and Article I, Sections 10 and 16 of the Ohio Constitution.

               The Eighth Amendment of the United States Constitution and Article I, Section 9 of the

       Ohio Constitution, explicitly prohibit the infliction of cruel and unusual punishment upon a

       convicted criminal offender. The Eighth Amendment protections are applicable to the States

       through the Fourteenth Amendment. Robinson v California, 370 U.S. 660 (1960).

               The prohibition against cruel and unusual punishment promises to all that the State's

       power to punish will be exercised within the limits of civilized standards. What constitutes cruel

       and unusual punishment is not a static concept, but rather a concept which "must draw (its]

       meaning from the evolving standards of decency that mark the progress of a maturing society."

       Id. at 101. This concept must be interpreted in a flexible and dynamic manner.

              Punishment which is "excessive" constitutes cruel and unusual punishment. Coker v

       Geor~ia ,   433 U.S. 584 (1977). A punishment is excessive if it (1) makes no measurable

       contribution to acceptable goals of punishment and hence is nothing more than the purposeless

       and needless imposition of pain and suffering; or (2) is grossly out of proportion to the gravity of

       the offense.   ~. ~         at 592.


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               Equal protection under the law, as guaranteed by the Fourteenth Amendment requires that

        similarly situated persons be treated similarly. This right extends to the protection against cruel

        and unusual punishment. Furman v. Georiia, 408 U.S. 238 at 249 (Douglas, J., concurring),

        reh'i denied, 409 U.S. 902 (1972).

               Capital punishment, because it involves the taking of life, is qualitatively different from

       other punishments. Furman, ~. at 287 (Brennan, J., concwTing). "The penalty of death differs

       from all other forms of criminal punishment, not in degree but in kind." ld.. at 306 (Stewart, J.,

       concurring).

               The Eighth Amendment concept of cruelty is not a prohibition against all suffering but it is

       a prohibition against inflicting suffering greater than is necessary to serve the legitimate needs

       underlying a compelling state interest of society. When the level of cruelty is disproportionate to

       the crime, and consequently does not serve the needs of society, courts must find the punishment

       to be "cruel" within the meaning of the cruel and unusual punishment clause.     Robinson,~·


               The Ohio capital punishment scheme allows for imposition of the death penalty in an

       arbitrary and discriminatory manner, in violation of the protections mandated in Fuonao and its

       progeny. The virtually uncontrolled discretion of prosecutors in indictment decisions allows for

       arbitrary and discriminatory imposition of the death penalty.

               The United States Supreme Court's decision in Woodson v North Carolina, 428 U.S. 280

       (1976), made it clear that the fatal flaw of mandatory death penalty statutes is that without specific

       standards the process of deciding who is to be sentenced to death is shielded from judicial review.

       Uncontrolled discretion of the prosecutor is one of Ohio's ways around this requirement.




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                  Also, the Ohio system has resulted in the imposition of death penalties in a racially

        discriminatory manner, with blacks and those who killed white victims being much more likely to

       get the death penalty.

                 The right to life is a constitutionally protected fundamental right. Commonwealth v

       Q.:NW, 327 N.E.2d 662 (Mass. 1975); d. Roe v Wade, 410 U.S. 113, reh'i denied, 410U.S. 959

       (1973); Johnson v Zerbst, 304 U.S. 458 (1938); Yick Wo v Hopkins, 118 U.S. 356 (1886). The

       Fifth and Fourteenth Amendments of the Constitution state explicitly that neither the United States

       government nor any of the individual state governments may deprive a person of his life without

       due process oflaw. "Aside from its prominent place in due process clause itself, the right to life is

       the basis for all other rights. In the absence of life all other rights do not exist." Commonwealth

       v   O'Neal,~        at 668.

                 The societal interests commonly advanced to justify capital punishment are ( 1) saving

       lives, (2) protecting citizens, and (3) ensuring justice. O'Neal II at 681. These goals are often

       referred to, in penological terms, as (1) deterrence, (2) incapacitatioo!isolation, and (3)

       retributioo!moral reinforcement. I.d...;   Grei~   v.   Geor~ja,   428 U.S. 153, reb'~ denied, 429 U.S. 875

       (1976).

                 The death penalty is neither the least restrictive nor an effective means of deterrence.

       Isolation of the offender can be effectively served by means less restrictive than the death penalty,

       as can retribution. These societal interests do not justify the death penalty, thus, such punishment

       is cruel and unusually applied.

                 Due process and equal protection rights require that states not impose a capital sentence

       through procedures that create a substantial risk of arbitrary and capricious application. Qrw,


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       428 U.S. at 188 and 193-195; Furman, 408 U.S. 255, 274, and 309. The Ohio scheme does not

       meet these requirements. For example, by failing to require the conscious desire to kill, or

       premeditation and deliberation as the culpable mental state, Ohio Rev. Code Ann.§ 2903.01(B)

       and Ohio Rev. Code Ann.§ 2929.04(A)(7) run afoul of the federal and state constitutions. Nor

       does the Ohio code require that imposition of the death penalty only be allowed after proof beyond

       all doubt.

               Another deficiency is that the statutes do not require the State to prove the absence of a:ny

       mitigating factors and that death is the only appropriate penalty. The statutory scheme is also

       unconstitutionally vague which can lead to arbitrary imposition of the death penalty. Moreover,

       the statutes have impermissibly devalued the importance of mitigation because no method exists to

       ensure a proper "weighing and consideration" is accomplished. Because of these deficiencies, the

       Ohio statutory scheme does not meet the requirements of Furman and its progeny.

               Also, the Ohio Supreme Court has interpreted the Ohio statutory scheme to require that

       capital defendants must prove the existence of a mitigating factor by a preponderance of the

       evidence. State v Jenkins, 15 Ohio St. 3d 164 (1984), cert denied, 472 U.S. 1032 (1985). This

       standard is unconstitutional, violating the Fifth, Eighth and Fourteenth Amendments of the United

       States Constitution, because it prevents the sentencer from considering relevant mitigating

       evidence.

              The Ohio statutes also violate the mandates of the constitutional protections by requiring

       proof of aggravating circumstances in the guilt phase of capital trials. The United States Supreme

       Court has approved schemes which separate the consideration of statutory aggravating

       circumstances from the determination of guilt because of their ability to provide an individualized


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        determination and to narrow the category of defendants eligible for the death penalty.    S« ZantY..

        Stephens, 462 U.S. 862 (1983); Barclay v Florida, 463 U.S. 939, reh'i denied, 464 U.S. 874

        (1983). O~io's statutory scheme cannot provide for these constitutional safeguards.

               The statutory scheme for capital felony murder also fails to comply with the requirements

        set forth in Lowenfield v. Phelps, 484 U.S. 231, 98 L.E. 2d 568, reh'i denied, 99 L.E. 2d 286

        (1988). Ohio's scheme allows an aggravating circumstance (Ohio Rev. Code Ann. §

        2929.04(A)(7)) to merely repeat an element of aggravated murder pursuant to Ohio Rev. Code

        Ann. § 2903.0l(B). No effective narrowing is performed when a capital defendant is indicted for

        felony murder and the felony murder specification. As a result, the scheme is unconstitutional.

               The Ohio scheme is also unconstitutional because it imposes an impermissible risk of

       death on capital defendants who choose to exercise their right to a jury trial. A defendant who

       decides to plead guilty or no contest to an indictment, which contains one or more capital

       specifications, receives the benefit of having the trial court judge vested with the discretion to

       dismiss the specifications "in the interest of justice." Ohio Criminal Rule of Procedure ll(C)(3).

       Accordingly, the capital indictment may be dismissed regardless of the presence or absence of

       mitigating circumstances. No such corresponding provision exists if a capital defendant elects to

       proceed to trial before a jury.

               In Lockett v Ohio, 438 U.S. 586 (1978), Justice Blackrnun, in his concurring opinion,

       found this discrepancy in Ohio's statute to be a constitutional infirmity. Justice Blackrnun stated

       that this disparity in Ohio's statute violated the United States Supreme Court's pronouncement in

       United States v. Jackson, 390 U.S. 570 (1968).   I.d. at 617, and needlessly burdened the defendant's




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        exercise of his right to a trial by jury. Since the United States Supreme Court's decision in

        Lockett, the infirmity has not been cured, and Ohio's statute remains unconstitutional.

               The Ohio capital statutes are also unconstitutional because they require submission of the

       presentence investigation report and the mental evaluation to the jury or judge once requested by a

       capital defendant. Ohio Rev. Code Ann.§ 2929.03(D)(1) provides:

                         A pre-sentence investigation or mental examination shall not be
                         made except upon request of the defendant. Copies of any reports
                         prepared under this division shall be furnished to the court, to the
                         trial jury if the offender was tried by a jury, to the prosecutor, and to
                         the offender or his counsel for use under this division.

       This mandatory submission prevents a capital defendant from effectively presenting his case in

       mitigation.

               Another aspect of the unconstitutionality of Ohio 's scheme concerns excessiveness and

       disproportionality issues. The Ohio Revised Code, through provisions in Sections 2929.021 and

       2929.03, requires reporting of some data to the Court of Appeals and to the Ohio Supreme Court;

       although there is a critical omission of a written life recommendation report from the panel. There

       are also substantial doubts as to the adequacy of the information received after guilty pleas to

       lesser offenses, or after charge reductions at trial. Section 2929.021 requires the reporting of only

       minimal information on these cases. There has been no determination by this Court that additional

       information will be required to be reported. Additional data is necessary to make an adequate

       comparison in these cases. There is no system of adequate tracking under the Ohio scheme. This

       prohibits adequate appellate review.

               Adequate appellate review is a precondition to a finding that a state death penalty system is

       constitutional.   Zam, ~.at 879; Pulley v        Harris, 465 U.S. 37 (1984). The standard for review


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        is one of careful scrutiny.   Zan! at 884, 885; Barclay,~ at 958. Review must be based on a

        comparison of similar cases and ultimately must focus on the character of the individual and the

        circumstances of the crime.    Id.

                Adequate appellate review is undercut by the failure of the Ohio statutes to require the jury

        or three-judge panel recommending life imprisonment to identify the mitigating factors. Without

        this information, no significant comparison of cases is possible since no written findings exist to

        serve as a basis for comparison. Without a significant comparison of cases, there can be no

        meaningful appellate review.

               The proportionality system in Ohio is also constitutionally flawed because of the method

        used for case comparison. The Ohio Supreme Court in State v Steffen, 31 Ohio St. 3d 111, 509

        N.E.2d 383(1987), cert denied, 485 U.S. 916 (1988), at paragraph one of the syllabus held that

        "the proportionality review required by Ohio Rev. Code Ann. § 2929.05(A) is satisfied by a

        review of those cases already decided by the reviewing Court in which the death penalty has been

        imposed." By only reviewing those cases in which death is imposed, the capital defendant is

        prevented from receiving a fair proportionality review.

               The appropriateness analysis used by the Ohio Courts of Appeal and the Ohio Supreme

        Court is also constitutionally infirm. Ohio Rev. Code Ann. § 2929.05(A) requires the appellate

       courts of Ohio to determine the appropriateness ofthe death penalty in each capital case they

       review. The statute directs the court to "affirm a sentence of death only if the particular court is

       persuaded from the record that the aggravating circumstances the offender was found guilty of

       committing outweigh the mitigating factors present in the case and that the sentence of death is the

       appropriate sentence in the case." The Ohio Supreme Court and the Court of Appeals have failed


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        to follow the dictates of the statute. The appropriateness review ultimately conducted in each case

        is very cursory. The Ohio legislature has chosen to provide capital defendants with the statutory

        right in Ohio Rev. Code Ann.§ 2929.05. When a state opts to act in a field where its action has

        significant discretionary elements, it must nonetheless act in accord with the dictates of the

        constitution and the due process clause. Evitts. y Lucey, 469 U.S. 387, 401 (1985). The Ohio

        Rev. Code Ann. § 2929.05 review currently employed by the Ohio courts violates this

        constitutional mandate.

               The Ohio scheme is also unconstitutional in that it fails to provide the sentencing authority

        with an option to choose a life sentence when there are only aggravating circumstances or when

        aggravation outweighs mitigation.

               Under section 2929.05 ofthe Revised Code of Ohio, courts affirming a death sentence in

        Ohio are required to find that death is the only appropriate remedy, but the original sentencer has

       no such statutory requirement.

               The "fundamental issue" in a capital sentencing proceeding is this "determination of the

       appropriate punishment to be imposed on an individual." Spaziaoo v Florida, 468 U.S. 447

       (1984). The sentencer must "rationally distinguish between those individuals for whom death is

       an appropriate sanction and those for whom it is not."   kl at 352. Appropriateness of the penalty
       thus appears to be the core, an indispensable element of a constitutionally valid sentencing

       scheme. Yet, Ohio's laws do not provide the jury or three-judge panel with an opportunity to

       consider this.




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                                        ASSIQNMENT OF ERROR NO. H

                       THE COURT ERRED IN DISMISSING APPELLANT DAVIS'
                       THIRTEENTH CAUSE OF ACTION.

                       ISSUE(S) PRESENTED FOR REVIEW AND ARGUMENT:

                       1.      A Trial Court's Misapplication of Ohio Rev. Code Ann. §
                               2929.04(B)(3) and its Reliance on Effectively Unrebuttable
                               Evidence Deprived the Appellant of his Constitutional
                               Rights.

             Appellant Davis' Thirteenth Cause of Action alleged that the trial court violated Mr.

       Davis' constitutional rights when it failed to accord the psychological testimony sufficient

       weight, make an individualized sentencing determination, and allow Appellant to rebut evidence

       on which the court relied when sentencing Mr. Davis to death.

             In the trial court's resentencing opinion, it found all the mitigating evidence fell under

       Ohio Rev. Code Ann. § 2929.04 (B) (7), including the psychological testimony given by Dr.

       Roger Fisher. State v. Davis, Butler C.C.P., No. CR83-12-0164 (August 10, 1989), pp. 1-2 ..

       Dr. Fisher stated at the original trial that Mr. Davis had an "explosive psychiatric disorder" and

       was an "active-detached individual with schizoid trend." Tr. 399,407. In reference to the

       psychological testimony, the trial court concluded:

                      Defendant's explosive personality disorder, which we found may
                      have contributed to the violence in the case at bar, may explain but
                      in no way excuses it, and is not of such a nature as would have any
                      great mitigating effect.

       .W. at p. 2. (emphasis added).
             Thus, the trial court misapplied the law by concluding that since the Appellant failed to

       offer psychological evidence rising to the level of the legal excuse of insanity, there was no



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        evidence of Ohio Rev. Code Ann.§ § 2929.04 (B) (3) and Mr. Davis' psychological disorders

        should be accorded little weight, if any.

                The psychological testimony necessary to prove insanity and that introduced pursuant to

        Ohio Rev. Code Ann. § 2929.04 (B) (3) during the penalty phase of a capital trial are separate

        issues with different legal standards and effects.   Eddim~s   v Oklaboma, 455 U.S. 104 (1982);

        State v. Lawrence, 44 Ohio St. 3d 24, 541 N.E.2d 451 (1989). The testimony introduced during

        the penalty phase did not have to excuse Mr. Davis' conduct in order to constitute relevant

        mitigating evidence under§ 2929.04 (B) (3). ~Lawrence, 44 Ohio St. 3d at 32, 541 N.E.2d at

        460. Therefore, the trial court erred.

                The trial court also erred by depriving Mr. Davis of the individualized sentencing required

       by the constitution. Its assessment of the psychological testimony included the following

       statement: "(the personality discorder] is such as would be had of numerous offenders where the

       death sentence would not be    mitigated."~.       No. CR83-12-0614, at 3. The U.S. Supreme

       Court has repeatedly stressed the constitutional imperative of individualized sentencing in death

       penalty cases. The sentencer must focus on the "particularized characteristics of the individual,"

       Gre~n~   v. Geor2ia, 428 U.S. 153, 206 (1976); and as death is different from any other state-

       sanctioned penalty, "an individualized decision is essential in capital cases .... " Lockett v Ohio,

       438 U.S. 586, 605 (1978). In the case .s.uh~. the trial court did not treat Mr. Davis as a

       "uniquely individual human being" when it compared him to other capital defendant's with

       behavioral disorders.

             Further, Appellant Davis was unable to rebut the evidence of other capital defendants'

       psychological states which the trial court relied on to conclude that Mr. Davis' circumstances did


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        not mitigate the crime. It is an "elemental due process requirement that a defendant not be

        sentenced to death 'on the basis of information which he had no opportunity to deny or explain."'

       Skipperv South Carolina, 476 U.S. 1, 5 fn.1 (1986) (quoting Gar<inerv Florida, 430 U.S. 349,

       362 (1977)). The trial court's reliance on evidence the Appellant had no opportunity to rebut

       violated his right to due process.

               Appellant Davis was entitled to an individualized appropriateness review at every stage in

       the review procedure. Independent appellate review did not cure the errors committed by the

       trial court, especially since the Court of Appeals independent review consisted of merely

       referencing its 1986 decision. The cumulative effect of the trial courts' errors reduced th_e

       reliability of the death sentence and violated Mr. Davis rights guaranteed by the Fifth, Sixth,

       Eighth and Fourteenth Amendments of the United States Constitution, and Article I, Section 10

       and 16 of the Ohio Constitution.




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                                        ASSIGNMENT OF ERROR NO I

                       THE TRIAL COURT ERRED BY GRANTING THE
                       PROSECUTOR'S MOTION TO DISl\1ISS AS TO PETITIONER-
                       APPELLANT'S FOURTEENTH CAUSE OF ACTION.

                       ISSUE PRESENTED FOR REVIEW AND ARGUMENT:

                       1.     Where the state reviewing courts fail to conduct a
                              meaningful and independent review of an Appellant's
                              sentence, the Apppellant's rights under the Fifth, Sixth,
                              Eighth, and Fourteenth Amendments of the United States
                              Constitution and Article I, Section 10 and 16 of the Ohio
                              Constitution have been violated.

               A capital sentencing procedure, to be considered constitutional, must "facilitate the

       responsible and reliable exercise of sentencing discretion." Caldwell v Mississippi, 472 U.S. 320,

       329 (1985). Subsumed within this principle is the requirement of effective appellate review in

       every capital case. The United States Supreme Court has "emphasized repeatedly the crucial role

       of meaningful appellate review in ensuring that the death penalty is not imposed arbitrarily or

       irrationally." Parker v Dujljler, _U.S._, 111 S. Ct. 731, 739 (1991).

               The components of meaningful appellate review have been articulated by the Court. Such

       review includes an independent consideration of the actual record of the defendant by the

       reviewing court. I.d.. at 739-740. Further, a "state appellate court in a weighing State [may not]

       affirm a death sentence without a thorough analysis ... " Strjnjler v. Black,_ U.S._, 112 S.

       Ct. 1130, 1136 (1992). A reviewing court may not make an "automatic assumption" but must

       make an individualized sentencing determination. !d. at 1136-1137.

              Ohio has codified similar requirements for appellate review of capital cases. Ohio Rev.

       Code Ann.§ 2929.05(A) (Anderson 1988). This statute provides:



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                       Whenever sentence of death is imposed pursuant to Sections 2929.03
                       and 2929.04 of the Revised Code, the court of appeals and the
                       supreme court shall upon appeal review the sentence of death ... The
                       court of appeals and the supreme court ... shall review and
                       independently weigh all of the facts and other evidence disclosed in
                       the record in the case and consider the offense and the offender to
                       determine whether the aggravating circumstances the offender was
                       found guilty of committing outweigh the mitigating factors in the
                       case, and whether the sentence of death is appropriate.

               Adequate appellate review is required at every level of the review process in Ohio. State v.

        ilil.l.ar.d, 40 Ohio St. 3d 226, 235, 533 N.E.2d 272, 281 (1988), .c_m. ~._U.S._, 109 S.

        Ct. 3263 (1989).

               The review conducted of Appellant's death sentence failed to comply with either the

        requirements of the United States Constitution or Ohio law. Specifically, the Court of Appeals

        and the Ohio Supreme Court on review did not consider or give effect to any of the proffered

        evidence at Appellant's resentencing hearing in determining the appropriateness of Appellant's

       death sentence. Rather, both courts limited their consideration to the evidence presented at

       Appellant's original trial in 1984.

               The entire appropriateness analysis conducted of Appellant's death sentence by the Court

       of Appeals is contained in this brief statement:

                      In our prior decision in this case, we found that the aggravating
                      circumstance under O.R.C. 2929.04(A)(5) (prior.murder conviction)
                      was sufficiently ·established by the evidence and that it outweighed the
                      mitigating factors presented by appellant beyond a reasonable doubt.
                      See Davis, No. CA84-06-071 (Butler C.A.) at 27-28. As appellant
                      has presented no argument which convinces us otherwise, our
                      conclusion remains the same. Therefore, we find that the statutory
                      aggravating circumstances appellant was found guilty of committing
                      outweighs the mitigating factors in the case.

       State v. Von Clark Davis, No. CA89-09-123 (B-utler C.A. Oct. 29, 1990), at p. 11-12.


                                                                                                              A-49



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               Conspicuously absent from the Court of Appeals's opinion was any meaningful

        independent weighing of the aggravating circumstances and the mitigating factors. Rather, the

        Court of Appeals relied on the review it conducted in the first appeal in Appellant's case. The

        Court of Appeals simply made an "automatic assumption" that Appellant's death sentence was

        appropriate. This automatic affirmance of Appellant's death sentence violates the commands of

        the Eighth Amendment and the requirement of Ohio law as set forth in Ohio Rev. Code Ann. §

        2929.05(A).

               The inadequacy of the review of Appellant's death sentence was further compounded by

        the review conducted by the Ohio Supreme Court. When the Ohio Supreme Court conducted it

        own Ohio Rev. Code Ann.§ 2929.05 review, it also refused to include Appellant Davis's

        additional mitigating evidence, proffered at the resentencing hearing, in the weighing process.

       State v. Davis, 63 Ohio St. 3d at 50-51, 584 N.E.2d at 1198.

               The reviewing courts in this case should have conducted a weighing process that

       incorporated all of Appellant Davis's mitigating evidence. Since not one court has considered this

       evidence, there has been no constitutional determination by any court, based on the evidence, that

       death is the appropriate sentence for Appellant.




                                                                                                            A-50



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                  Rule 11. Pleas.
                  (a) ALTER:"-:ATIVES.

                      (1) In General. A defendant may plead not guilty, guilty,
                    or nolo contendere. If a defendant refuses to plead or if a
                    defendant corporation fails to appear, the court shall enter
                    a plea of not guilty.
                      (2) Cond·itional Pleas. With the approval of the court and
                    the consent of the government, a defendant may enter a
                    conditional plea of guilty or nolo contendere, reserving in
                    writing the right, on appeal from the judgment, to review of
                    the adverse determination of any specified pretrial motion.
                    A defendant who prevails on appeal shall be allowed to
                    withdraw the plea~
                  (b) NoLo Co~TENDERE. A defendant may plead nolo con-
                tendere only with the consent of the court. Such a plea shall be
                accepted by the court only after due consideration of the views
                of the parties and the interest of the public in the effective
                administration of justice.
                  (c) ADVICE TO DEFENDANT. Before accepting a plea of guilty
               or nolo contendere, the court must address the defendant person-
               ally in open court and inform the defendant of, and determine
               that the defendant understands, the following:
                       (1) the nature of the charge to which the plea is offered,
                    the mandatory minimum penalty provided by law, if any, and
                    the maximum possible penalty provided by law, including the
                    effect of any special parole term or term of supervised
                    release, the fact that the court is required to consider any
                    applicable sentencing guidelines but may depart from those
                    guidelines under some circumstances. a::.d., wnen applicable,
                    that the court may also order the defendant to make restitu-
                    tion to any victim of the offense; and

                       (2) if the defendant is not represented by an attorney, that
                    the defendant has the right to be represented by an attorney
                    at every stage of the proceeding and, if necessary, one will
                    be appointed to represent the defendant; and
                      (3) that the defendant has the right to plead not guilty or
                   to persist in that plea if it has already been made, the right
                   to be tried by a jury and at that trial the right to the
                   assistance of counsel, the right to confront and cross-examine
                   adverse witnesses, and the right against compelled self·
                   incrimination; and

                     (4) that if a plea of guilty or nolo contendere is accepted
                   by the court there will not be a further trial of any kind, so ,
                   that by pleading guilty or nolo contendere the defendant
                   waives the right to a trial; and

                      (5) if the court intends to question the defendant under
                   oath, on the record, and in the presence of counsel about the
                   offense to which the defendant has pleaded, that the defen-
                   dant's answers may later be used against the defendant in
                                                                                                  A-51
                   a prosecution for perjury or false statement.



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                        (d) INSURING THAT THE PLEA Is VOLUNTARY. The court shall
                     not accept a plea of guilty or nolo contendere without first, by
                     addressing the defendant personally in open court, determining
                     that the plea is voluntary and not the result of force or threats
                     or of promises apart from a plea agreement. The court shall also
                     inquire as to whether the defendant's willingness to plead guilty
                     or nolo contendere results from prior discussions between the
                     attorney for the government and the defendant or the defendant's
                     attorney.
                       (e) PLEA AGREEMENT PROCEDURE.
                            (1) In General. The attorney for the government and the
                         attorney for the defendant or the defendant when acting pro
                         se may engage in discussions with a view toward reaching
                         an agreement tnat, upon ~.u~: ~:ntenng or a piea ot gu11ty or
                         -nln ,..,. .. t ..... .-1 ...... tn A. ... hA.rvPn offense or to a lesser or re-


                       lated offense, the attorney for the government will do any
                       of the following:

                            (A) move for dismissal of other charges; or

                           (B) make a recommendation, or agree not to oppose the
                         defendant's request, for a particular sentence, with the
                         understanding that such recommendation or request shall
                         not be binding upon the court: or

                           (C) agree that a specific sentence is the appropriate
                         disposition of the case.

                   The court shall not participate in any such discussions.

                          (2) Notice of Such Agreement. If a plea agreement has been
                       reached by the parties, the court shall, on the record, re-
                       quire the disclosure of the agreement in open court or, on
                       a showing of good cause, in camera, at the time the plea is
                       offered. If the agreement is of the type specified in subdivi-
                       sion (e)(l)(A) or (C), the court may accept or reject the
                       agreement, or may defer its decision as to the acceptance
                       or rejection until there has been an opportunity to consider
                       the presentence report. If the agreement is of the type speci-
                       fied in subdivision (e)(l)(B), the court shall advise the de-
                       fendant that if the court does not accept the recommenda-
                       tion or request the defendant nevertheless has no right to
                       withdraw the plea.

                         (3) Acceptance of a Plea Agreement. If the court accepts
                      the plea agreement, the court shall inform the defendant
                      that it will embody in the judgment and sentence the dispo-
                      sition provided for in the plea agreement.

                        ( 4) Rejection of a Plea Agreement. If the court rejects the
                      plea agreement, the court shall, on the record, inform the
                      parties of this fact, advise the defendant personally in open
                      court or, on a showing of good cause, in camera, that the
                      court is not bound by the plea agreement, afford the defen-
                      dant the opportunity to then withdraw the plea,.and advise
                      the defendant that if the defendant persists in a guilty plea                            A-52

                                                                                             ----
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                   or plea of nolo contendere the disposition of the case may
                   be less favorable to the defendant than that contemplated
                   by the plea agreement.
                    (5) Time of P~a Agreement Procedure. Except for good
                  cause shown, notification to the court of the existence of a
                  plea agreement shall be given at the arraignment or at such
                  other time, prior to trial, as may be fixed by the court.
                    (6) Inadmissibility of Pleas, P~a Discussions, and &lated
                  Statements. Except as otherwise provided in this paragraph,
                  evidence of the following is not, in any civil or criminal pro-
                  ceeding, admissible against the defendant who made the
                  plea or was a participant in the plea discussions:
                       (A) a plea of guilty which was later withdrawn;

                      (B) a plea of nolo contendere;

                      (C) any statement made in the course of any proceed-
                    ings under this rule regarding either of the foregoing
                    pleas; or

                       (D) any statement made in the course of plea discus-
                    sions with an attorney for the government which do not
                    result in a plea of guilty or which result in a plea of guilty
                    later withdrawn.
                     However, such a statement is admissible (i) in any pro-
                  ceeding wherein another statement made in the ·course of
                  the same plea or plea discussions has been introduced and
                  the statement ought in fairness be considered contempora-
                  neously with it, or (ii) in a criminal proceeding for perjury
                  or false statement if the statement was made by the defen-
                  dant under oath, on the record, and in the presence of coun-
                  sel.
                (f) DETERMINING AccuRACY OF PLEA. Notwithstanding the ac-
              ceptance of a plea of guilty, the court should not enter a judg-
              ment upon such plea without making such inquiry as shall satis-
              fy it that there is a factual basis for the plea.
              . (g) REC~RD OF PROCEEDINGS. A verbatim record of the proceed-
             mgs at which the defendant enters a plea shall be made and if
             there is ~ plea o~ g_uilt! or nolo contendere, the record shall  in-
             clu~e, w:th~ut linutat10n, the court's advice to the defendant,
             the mquuy mto the voluntariness of the plea including any plea
             agreement, and the inquiry into the accuracy of a guilty plea.

              ~h) HARM~ ERROR. Any variance fxom. the procedures ·re-
            quu-~d by this rule which does not affect substantial rights shall
            be disregarded.




                                                                                                     A-53



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                                The Constitution of the United States




                                           k\1E:"iDME~"T          XIV
                                                    Section 1
                            All persons born or naturalized in the United States, anc1
                         suc)e::t to the jurisdie":ion thereof, are c:uzens of the United
                        States and of the State wherein thev restce. No State sh.a.il
                         ~ake or enforce any iaw which shall acr.cge the privileges
                        or immunities of c:tiz::-:s of the Unitec States; nor shall any
                        State de;:mve any per-son of life, ';be:-:::. cr property, with·
                        C'Jt due process of law: nor d~ny ro any person within its
                        jul"lsdiction the equai protection oi the !aws.
                                                    Section 2
                                Representatives shall be apportione:: among the several
                        St~tes according :o the:r respecttve :11.:.:-:::er-s. counting the
                        ~.~o· noie number of per-sons in each Stat:. :xcluding Indians
                        ::ot :axed. But whe:: :he right to vote at any election for the
                        .:.1o1c: oi elec:ors ior ?rest dent anc v i:: ?resident oi the
                        t.: ntted States. Representatives in Cong.::ss. the Executive
                        anc Judicial offic::-s oi a State. or the mernbers of the
                        L:;:,ian:;c: th~:euz·. ts ..:.:::t~d !0 any oi :::: ~a!~ :nhloitants
                        oi such State. be:ng twenty-one years oi age. and cit izens of
                        :!1e United States. or in any way abl"ld&e~. except for partic-
                        i;:auon in rebe!lion. or other C':ime. tte :as is of !'e;)resenta-
                        :ton therein snail be reduced in the ;:r:-,ortion which the
                        n~.:.:-::ber of such male 6tizens s.bail ocr :o the whole num-
                        be:- oi male citizens twenty-one years oi age in sue:: State.
                                                   Seaion .3
                            No person shall be a Senator or Re;r:sentative in Con-
                        g:-:ss. or eiector oi P:-esident and Vice ?~ident. or hold
                        any office. civil or military, unde:- t!:e United States. or
                        under any State. who. having previously :.aken an oatil. as a
                        rne:::1ber of Congress. or as an orlic:r ci :he United States,
                        or as a member oi any State iegisiar-J:-:. or as an executive
                        or ;udic:al orlice:- of any State. to suppor. :he Constitution
                        oi :he United States. shall have enga&eC: in insurre::tion or
                        re::ellion against the same. or give!'l aJC or comfort to the
                        ene:::1ies thereor: But Congress may by 1 vote of two-thirds
                        oi each bouse. r=:nove sucll disacility.
                                                   Section 4
                            The validity of the public dcot oi the United SLates,
                        authorized by law, including debts inC".lr:"ed for payment or
                        ;:~ensions and bounties for servi~ in S'l.!':)~ressing insurrec-
                        ::on or rebellion. shall not be questioned. But neither the
                        United States nor any State shall assume or pay any debt or
                        obiigat•on incurred in aid of insur:"ec:ion or rebellion
                        apinst the United States. or any claim for the loss or eman-
                        c::pation of any siave: but all sue~ de::~ obligations anc1
                        ci;ums sball be lleid illegal and void.
                                                   Section S
                           The Congress shall have power- to e:-:iorc:. by appropri·
                        ate legislation, tile provisions of this ar:::!e.
                        :-:ISi'ORY:    Proposed 1866, Adopted i 368




                                                                                                               A-54



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                              The Constitution of the United States




                          :::.c:ssive bail shall not ·be required.. nor excessive fines
                      it:tposed. nor crue! and unusual punisiloe::u in11ic:ed.
                      HISIOR Y: Proposed 1i89, . ~dopted 1i91




                                                                                                             A-55



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                            The Constitution of £he United States




                                              A.Lv!E~"D!.\IE:'IT      ¥1
                             . In ail criminal pros~.:tions. :he accused shall e::joy tl:e
                            nght to a sp=dy and public :rial. ~y an impartial jury of :he
                            State·~nd-distri~ete:n •• re ... ~me ~tt411 .tave oc::t .. om-
                            mitted. whic:t district shall have bee:t previouslv ascer-
                            tained by law, and tO be info~:::! Oi the :lature and C:lUSe
                            of the acc:JSation; to be coni;onted with the witnesses
                            against him; to have compulsory proc::ss for obtaining wit-
                            nesses in his favor, and to have the Assistance of Counsel
                            for his defence.
                            HISTORY:      ?reposed l i89 ..J..ciopte::! l i9!




                                                                                                         A-56



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                           The Constitution of the United States




                                        AME:'Ii'DMEr-..'T V
                          No penon shall be held to answer for a capital, or other-
                     wise infamous crime, unless on a pr:scntment or indict-
                      me~t oi a Grand Jury, except in cases ansu1g in the land or
                     naval forces, or in the militia. when in ac::uaJ service in
                     time of war or public danger, nor shall any person be sub-
                     jec:: for the same offence to be twice put in jeopardy of liie
                     or limb; nor shall be compelled in any criminal case to be a
                     witness against himself, nor be deprived of life. liberty, or
                     property, without due process oi law; nor shall private
                     property be taken for public use, without just
                     compensation.                     -
                     HISTORY:. Proposed 1789, Adopted 179!




                                                                                                                A-57



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                                       CONSTITUTION OF THE STATE OF OHIO
                                           ARTICLE I. BILL OF RIGHTS                      _,   ~




       0 CONST I Sec. 9 BAIL; CRUEL AND UNUSUAL PUNISHMENTS

           All persons shall be bailable by sufficient sureties, except for capital offences where the proof is
       evident, or the presumption great. Excessive bail shall not be required; nor excessive fines imposed; nor
       cruel and unusual punishments inflicted.




                                                                                                                   A-58


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                              CONSTITUTION OF THE STATE OF OHIO
                                  ARTICLE I. BILL OF RIGHTS


       0 CONST I Sec. 10 RIGHTS OF CRIMINAL DEFENDANTS

            Except in cases of impeachment, cases arising in the army and navy, or in the militia
        when in actual service in time of war or public danger, and cases involving offenses for
        which the penalty provided is less than imprisonment in the penitentiary, no person shall
        be held to answer for a capital, or otherwise infamous, crime, unless on presentment or
        indictment of a grand jury; and the number of persons necessary to constitute such
        grand jury and the number thereof necessary to concur in finding such indictment shall
       be determined by law. In any trial, in any court, the party accused shall be allowed to
       appear and defend in person and with counsel; to demand the nature and cause of the
       accusation against him, and to have a copy thereof; to meet the witnesses face to face,
       and to have compulsory process to procure the attendance of witnesses in his behalf,
       and a speedy public trial by an impartial jury of the county in which the offense is alleged
       to have been committed; but provision may be made by law for the taking of the
       deposition by the accused or by the state, to be used for or against the accused, of any
       witness whose attendance can not be had at the trial, always securing to the accused
       means and the opportunity to be present in person and wjth counsel at the taking of such
       deposition, and to examine the witness face to face as fully and in the same manner as if
       in court. No person shall be compelled, in ariy criminal case, to be a witness against
       himself; but his failure to testify may be considered by the court and jury and may be the
       subject of comment by counsel. No person shall be twice put in jeopardy for the same
       offense.




                                                                                                      A-59



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                              CONSTITUTION OF THE STATE OF OHIO
                                  ARTICLE I. BILL OF RIGHTS     .-'           ~




       0 CONST I Sec. 16 REDRESS FOR INJURY; DUE PROCESS

          All courts shall be open, and every person, for an injury done him in his land, goods,
       person, or reputation, shall have remedy by due course of law, and shall have justice
       administered without denial or delay. Suits may be brought against the state, in such
       courts and in such manner, as may be provided by law.




                                                                                                   A-60



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  OH CONST Art. I, Sec. 5, RIGHT OF TRIAL BY JURY

  ------------ Excerpt from page 216 follows ------------
  Const. Art. I, Sec. 5


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  CONSTITUTION OF THE STATE OF OHIO
  ARTICLE I. BILL OF RIGHTS

  Current with amendments received through 3-30-95


  ) CONST I Sec. 5 RIGHT OF TRIAL BY JURY

      The right of trial by jury shall be inviolate, except that, in civil
  cases, laws may be passed to authorize the rendering of a verdict by the
  concurrence of not less than three-fourths of the jury.




  RELATED TERMS




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                                                                                  A-61



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  OH CONST Art. II, Sec. 39, EXPERT TESTIMONY IN CRIMINAL CASES

  ------------ Excerpt from page 1668 follows ------------
  Const. Art. II, Sec. 39


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  CONSTITUTION OF THE STATE OF OHIO
  ARTICLE II. LEGISLATIVE

  Current with amendments received through 3-30-95


  0 CONST II Sec. 39 EXPERT TESTIMONY IN CRIMINAL CASES

      Laws may be passed for the regulation of the use of expert witnesses
  and expert testimony in criminal trials and proceedings.




  RELATED TERMS

  EXPERT WITNESSES



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  OH ST RCP Rule 7, PLEADINGS AND MOTIONS

  ------------ Excerpt from page 69748 follows ------------
  Civ. R. Rule 7


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  RULES OF CIVIL PROCEDURE
  TITLE III PLEADINGS AND MOTIONS

  Current with amendments received through 3-30-95


  CIV R 7 PLEADINGS AND MOTIONS

  (A)   Pleadings

      There shall be a complaint and an answer; a reply to a counterclaim
  denominated as such; an answer to a cross-claim, if the answer contains a
  cross-claim; a third-party complaint, if a person who was not an original
  party is summoned under the provisions of Rule 14; and a third-party
  answer, if a third-party complaint is served. No other pleading shall be
  allowed, except that the court may order a reply to an answer or a
  third-party answer.

  (B) Motions

       (1) An application to the court for an order shall be by motion which,
  unless made during a hearing or a trial, shall be made in writing. A
  motion, whether written or oral, shall state with particularity the
  grounds therefor, and shall set forth the relief or order sought. The
  requirement of writing is fulfilled if the motion is stated in a written
  notice of the hearing of the motion.

      (2) To expedite its business, the court may make provision by rule or
  order for the submission and determination of motions without oral hearing
  upon brief written statements of reasons in support and opposition.

       (3) The rules applicable to captions, signing, and other matters of
  form of pleading apply to all motions and other papers provided for by
  these rules.

        (4) All motions shall be signed in accordance with Rule 11.

  (C) Demurrers abolished

        Demurrers shall not be used.
                                                                                   A-63



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  OH ST RCP Rule 12, DEFENSES AND OBJECTIONS--WHEN AND HOW PRESENTED--BY
  PLEADING OR MOTION--MOTION FOR JUDGMENT ON THE PLEADINGS

  ------------ Excerpt from page 69854 follows ------------
  Civ. R. Rule 12


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  RULES OF CIVIL PROCEDURE
  TITLE III PLEADINGS AND MOTIONS

  Current with amendments received through 3-30-95


  CIV R 12 DEFENSES AND OBJECTIONS--WHEN AND HOW PRESENTED--BY PLEADING OR
  MOTION--MOTION FOR JUDGMENT ON THE PLEADINGS

  (A) When answer presented

      (1) Generally. The defendant shall serve his answer within
  twenty-eight days after service of the summons and complaint upon him; if
  service of notice has been made by publication, he shall serve his answer
  within twenty-eight days after the completion of service by publication.

      (2) Other responses and motions. A party served with a pleading
 stating a cross-claim against him shall serve an answer thereto within
 twenty-eight days after the service upon him. The plaintiff shall serve
 his reply to a counterclaim in the answer within twenty-eight days after
 service of the answer or, if a reply is ordered by the court, within
 twenty-eight days after service of the order, unless the order otherwise
 directs. The service of a motion permitted under this rule alters these
 periods of time as follows, unless a different time is fixed by order of
 the court: (a) if the court denies the motion, a reeponsive pleading,
 delayed because of service of the motion, shall be served within fourteen
 days after notice of the court's action; (b) if the court grants the
 motion, a responsive pleading, delayed because of service of the motion,
 shall be served within fourteen days after service of the pleading which
 complies with the court's order.

  (B) How presented

     Every defense, in law or fact, to a claim for relief ±n any pleading,
 whether a claim, counterclaim, cross-claim, or third-party claim, shall be
 asserted in the responsive pleading thereto if one is required, except
 that the following defenses may at the option of the pleader be made by
 motion: (1) lack of jurisdiction over the subject matter, (2) lack of
 jurisdiction over the person, (3) improper venue, (4) insufficiency of
 process, (5) insufficiency of service of process, (6) failure to state aA-64



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 claim upon which relief can be granted, (7) failure to join a party under
 Rule 19 or Rule 19.1. A motion making any of these defenses shall be made
 before pleading if a further pleading is permitted. No defense or
 ?bjection is waived by being joined with one or more other defenses or
 objections in a responsive pleading or motion. If a pleading sets forth a
 claim for relief to which the adverse party is not required to serve a
 Lesponsive pleading, he may assert at the trial any defense in law or fact
 :o that claim for relief. When a motion to dismiss for failure to state a
 claim upon which relief can be granted presents matters outside the
 ~leading and such matters are not excluded by the court, the motion shall
 be treated as a motion for summary judgment and disposed of as provided in
 Rule 56. Provided however, that the court shall consider only such matters
 ~utside the pleadings as are specifically enumerated in Rule 56. All
 parties shall be given reasonable opportunity to present all materials
 made pertinent to such a motion by Rule 56.


  ------------ Excerpt from page 69855 follows ------------
  (C) Motion for judgment on the pleadings

     After the pleadings are closed but within such time as not to delay
 the trial, any party may move for judgment on the pleadings.

  (D) Preliminary hearings

     The defenses specifically enumerated (1) to (7) in subdivision (B) of
 this rule, whether made in a pleading or by motion, and the motion for
 judgment mentioned in subdivision (C) of this rule shall be heard and
 determined before trial on application of any party.

  (E) Motion for definite statement

     If a pleading to which a responsive pleading is permitted is so vague
 or ambiguous that a party cannot reasonably be required to frame a
 responsive pleading, he may move for a definite statement before
 interposing his responsive pleading. The motion _shall point out the
 defects complained of and the details desired. If the motion is granted
 and the order bf the court is not obeyed within fourteen days after notice
 of the order or within such other time as the court may fix, the court may
 strike the pleading to which the motion was directed or make such order as
 it deems just.

 (F) Motion to strike

     Upon motion made by a party before responding to a pleading, or if no
 responsive pleading is permitted by these rules, upon motion made by a
 party within twenty-eight days after the service of the pleading upon him
 or upon the court's own initiative at any time, the court may order     A-65


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  stricken from any pleading any insufficient claim or defense or any
  redundant, immaterial, impertinent or scandalous matter.

  (G) Consolidation of defenses and objections

      A party who makes a motion under this rule must join with it the other
  notions herein provided for and then available to him. If a party makes a
  notion under this rule and does not include therein all defenses and
  objections then available to him which this rule permits to be raised by
  notion, he shall not thereafter assert by motion or responsive pleading,
  any of the defenses or objections so omitted, except as provided in
  subdivision (H) of this rule.

  (H) Waiver of defenses and objections

         (1) A defense of lack of jurisdiction over the person, improper venue,
  insufficiency of process, or insufficiency of service of process is waived
   (A) if omitted from a motion in the circumstances described in subdivision
   (G) , or (B) if it is neither made by motion under this rule nor included
  in a responsive pleading or an amendment thereof permitted by Rule 15(A)
  to be made as a matter of course.


 ------------ Excerpt from page 69856 follows ------------
      (2) A defense of failure to state a claim upon which relief can be
 granted, a defense of failure to join a party indispensable under Rule 19,
 and an objection of failure to state a legal defense to a claim may be
 made in any pleading permitted or ordered under Rule 7(A), or by motion
 for judgment on the pleadings, or at the trial on the merits.

     (3) Whenever it appears by suggestion of the parties or otherwise that
 the court lacks jurisdiction of the subject matter, the court shall
 dismiss the action.




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  OH ST RCP Rule 56, SUMMARY JUDGMENT

  ------------ Excerpt from page 70691 follows ------------
  Civ. R. Rule 56


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  RULES OF CIVIL PROCEDURE
  TITLE VII JUDGMENT

  Current with amendments received through 3-30-95


  CIV R 56 SUMMARY JUDGMENT

  (A) For party seeking affirmative relief

     A party seeking to recover upon a claim, counterclaim, or cross-claim
 or to obtain a declaratory judgment may, at any time after the expiration
 of the time permitted under these rules for a responsive motion or
 pleading by the adverse party, or after service of a · motion for summary
 judgment by the adverse party, move with or without supporting affidavits
 for a summary judgment in his favor ·upon all or·any part thereof. If the
 action has been set for pretrial or trial, a motion for summary judgment
 may be made only with leave of court.

  (B) For defending party

     A party against whom a claim, counterclaim, or cross-claim is asserted
 or a declaratory judgment is sought may at any time, move with or without
 supporting affidavits for a summary judgment in his favor as to all or any
 part thereof. If the action has been set for pretrial or trial, a motion
 for summary judgment may be made only with leave of court.

  (C) Motion and proceedings thereon

     The motion shall be served at least fourteen days before the time
 fixed for hearing. The adverse party prior to the day of hearing may serve
 and file opposing affidavits. Summary judgment shall be rendered forthwith
 if the p l eading, depositions, answers to interrogatories, written
 admissions, affidavits, transcripts of evidence in the pending case, and
 written stipulations of fact, if any, timely filed in the ~ction, show
 that there is no genuine issue as to any material fact and that the moving
 party is entitled t~ judgment as a matter of law. No evidence or
 stipulation may be considered except as stated in this rule. A summary
 judgment shall not be rendered unless it appears from such evidence or
 stipulation and only therefrom, that reasonable minds can come to but one
 conclusion and that conclusion is adverse to the party against whom the A-6?



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      Should it appear to the satisfaction of the court at any time that any
  of the affidavits presented pursuant to this rule are presented in bad
  faith or solely for the purpose of delay, the court shall forthwith order
  the party employing them to pay to the other party the amount of the
  reasonable expenses which the filing of the affidavits caused him to
  incur, including reasonable attorney's fees, and any offending party or
  ~ttorney may be adjudged guilty of contempt.




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  OH ST RCRP Rule 16, DISCOVERY AND INSPECTION

  ---~-------- Excerpt from page 71564 follows ------------
  Crim. R. Rule 16


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  RULES OF CRIMINAL PROCEDURE

  Current with amendments received through 3-30-95


  CRIM R 16 DISCOVERY AND INSPECTION


  <Note: See also following proposed rule and Publisher's Note below. >

  (A) Demand for discovery

      Upon written request each party shall forthwith provide the discovery
  herein allowed. Motions for discovery shall certify that demand for
  discovery has been made and the discovery has not been provided.

  (B) Disclosure of evidence by the prosecuting attorney

      (1) Information subject to disclosure. (a) Statement of defendant or
 co-defendant. Upon motion of the defendant, the court shall order the
 prosecuting attorney to permit the defendant to inspect and copy or
 photograph any of the following which are available to, or within the
 possession, custody, or control of the state, the existence of which is
 known or by the exercise of due diligence may become known to the
 prosecuting attorney:

     (i) Relevant written or recorded statements made by the defendant or
 co-defendant, or copies thereof;

      (ii) Written summaries of any oral statement, or copies thereof, made
 by the defendant or co-defendant to a prosecuting attorney or any law
 enforcement officer;

     (iii) Recorded testimony of the defendant or co-defendant before a
 grand jury.

     (b) Defendant's prior record. Upon motion of the defendant the court
 shall order the prosecuting attorney to furnish defendant a copy of
 defendant's prior criminal record, which is available to or within the
 possession, custody or control of the state.

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       (c) Documents and tangible objects. Upon motion of the defendant the
  court shall order the prosecuting attorney to permit the defendant to
  inspect and copy or photograph books, papers, documents, photographs,
  tangible objects, buildings or places, or copies or portions thereof,
  available to or within the possession, custody or control of the state,
  and which are material to the preparation of his defense, or are intended
  for use by the prosecuting attorney as evidence at the trial, or were
  obtained from or belong to the defendant.

      (d) Reports of examination and tests. Upon motion of the defendant the
  court shall order the prosecuting attorney to permit the defendant to
  inspect and copy or photograph any results or reports of physical or
  mental examinations, and of scientific tests or experiments, made in
  connection with the particular case, or copies thereof, available to or
  within the possession, custody or contro~ of the state, the existence of
  which is known or by the exercise of due diligence may become known to the
  prosecuting attorney.


 ------------ Excerpt from page 71565 follows ------------
      (e) Witness names and addresses; record. Upon motion of the defendant,
 the court shall order the prosecuting attorney to furnish to the defendant
 a written list of the names and addresses of all witnesses whom the
 prosecuting attorney intends to call at trial, together with any record of
 prior felony convictions of any such witness, which record is within the
 knowledge of the prosecuting attorney. Names and addresses of witnesses
 shall not be subject to disclosure if the prosecuting attorney certifies
 to the court that to do so may subject the witness or others to physical
 or substantial economic harm or coercion. Where a motion for discovery of
 the names and addresses of witnesses has been made by a defendant, the
 prosecuting attorney may move the court to perpetuate the testimony of
 such witnesses in a hearing before the court, in which hearing the
 defendant shall have the right of cross-examination. A record of the
 witness' testimony shall be made and shall be admissible at trial as part
 of the state's case in chief, in the event the witness has become
 unavailable through no fault of the state.

      (f) Disclosure of evidence favorable to defendant. Upon motion of the
 defendant before trial the court shall order the prosecuting attorney to
 disclose to counsel for the defendant all evidence, known or which may
 become known to the prosecuting attorney, favorable to the defendant and
 material either to guilt or punishment. The certification and the
 perpetuation provisions of subsection (B) (1) (e) apply to this subsection.

      (g) In camera inspection of witness' statement. Upon completion of a
 witness' direct examination at trial, the court on motion of the defendant
 shall conduct an in camera inspection of the witness' written or recorded
 statement with the defense attorney and prosecuting attorney present andA_
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  participating, to determine the existence of inconsistencies, if any,
  between the testimony of such witness and the prior statement.

      If the court determines that inconsistencies exist, the statement
  shall be given to the defense attorney for use in cross-examination of the
  witness as to the inconsistencies.

       If the court determines that inconsistencies do not exist the
  statement shall not be given to the defense attorney and he shall not be
  permitted to cross-examine or comment thereon.

      Whenever the defense attorney is not given the entire statement, it
  shall be preserved in the records of the court to be made available to the
  appellate court in the event of an appeal.


  ---- - ------- Excerpt from page 71566 follows ------------
       (2) Information not subject to disclosure. Except as provided in
  subsections (B) (1) (a), (b), (d), (f), and (g), this rule does not
  authorize the discovery or inspection of reports, memoranda, or other
  internal documents made by the prosecuting attorney or his agents in
  connection with the investigation or prosecution of the case, or of
  statements made by witnesses or prospective witnesses to state agents.

       (3) Grand jury -transcripts. The discovery or inspection of recorded
  proceedings of a grand jury shall be governed by Rule 6(E) and subsection
  (B) (1) (a) of this rule.

      (4) Witness list; no comment. The fact that a witness' name is on a
  list furnished under subsections (B) (1) (b) and (f), and that such witness
  is not called shall not be commented upon at the trial.

  (C) Disclosure of evidence by the defendant

      (1) Information subject to disclosure. (a) Documents and tangible
 objects. If on request or motion the defendant obtains discovery under
 subsection (B) (1) (c), the court shall, upon motion of the prosecuting
 attorney order the defendant to permit the prosecuting attorney to inspect
 and copy or photograph books, papers, documents, photographs, tangible
 objects, or cop i es or portions thereof, available to or within the
 possession, custody or control of the defendant and which the defendant
 intends to introduce in evidence at the trial .

     (b) Reports of examinations and tests. If ori request or motion the
 defendant obtains discovery under subsection {B) {1) (d), the court shall,
 upon motion of the prosecuting attorney, order the defendant to permit the
 prosecuting attorney to inspect and copy or photograph any results or
 reports of physical or mental examinations and of scientific tests or      A-72



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  experiments made in connection with the particular case, or copies
  thereof, available to or within the possession or control of the
  defendant, and which the defendant intends to introduce in evidence at the
  trial, or which were prepared by a witness whom the defendant intends to
  call at the trial, when such results or reports relate to his testimony.

       (c) Witness names and addresses. If on request or motion the defendant
  obtains discovery under subsection (B) (1) (e), the court shall, upon motion
  of the prosecuting attorney, order the defendant to furnish the
  prosecuting attorney a list of the names and addresses of the witnesses he
  intends to call at the trial. Where a motion for discovery of the names
  and addresses of witnesses has been made by the prosecuting attorney, the
  defendant may move the court to perpetuate the testimony of such witnesses
  in a hearing before the court in which hearing the pros~cuting attorney
  shall have the right of cross-examination. A record of the witness'
  testimony shall be made and shall be admissible at trial as part of the
  defendant's case in chief in the event the witness has become unavailable
  through no fault of the defendant.


 ------------ Excerpt from page 71567 follows ------------
      (d) In camera inspection of witness' statement. Upon completion of the
 direct examination, at trial, of a witness other than the defendant, the
 court on motion of the prosecuting attorney shall conduct an in camera
 inspection of the witness' written or recorded statement obtained by the
 defense attorney or his agents with the defense attorney and prosecuting
 attorney present and participating, to determine the existence of
 inconsistencies, if any, between the testimony of such witness and the
 prior statement.

     If the court determines that inconsistencies exist the statement shall
 be given to the prosecuting attorney for use in cross-examination of the
 witness as to the inconsistencies.

      If the court determines that inconsistencies do not exist the
 statement shall not be given to the prosecuting attorney, and he shall not
 be permitted to cross-examine or comment thereon.

     Whenever the prosecuting attorney is not given the entire statement it
 shall be preserved in the records of the court to be made available to the
 appellate court in the event of an appeal.

      (2) Information not subject to disclosure. Except as provided in
 subsections (C) (1) (b) and (d), this rule does not authorize the discovery
 or inspection of reports, memoranda, or other internal documents made by
 the defense attorney or his agents in connection with the investigation or
 defense of the case, or of statements made by witnesses or prospective
 witnesses to the defense attorney or his agents.                          A-73



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       (3) Witness list; no comment. The fact that a witness' name is on a
  list furnished under subsection (C) (1) (c), and that the witness is not
  called shall not be commented upon at the trial.

  (D) Continuing duty to disclose

      If, subsequent to compliance with a request or order pursuant to this
  rule, and prior to or during trial, a party discovers additional matter
  which would have been subject to discovery or inspection .under the
  Jriginal request or order, he shall promptly make such matter available
  for discovery or inspection, or notify the other party or his attorney or
  the court of the existence of the additional matter, in order to allow the
  ~ourt to modify its previous order, or to allow the other party to · make an
  appropriate request for additional discovery or inspection.

  (E) Regulation of discovery

      (1) Protective orders. Upon a sufficient showing the court may at any
 time order that the discovery or inspection be denied, restricted or
 deferred, or make such other order as is appropriate. Upon motion by a
 party the court may permit a party to make such showing, or part of such
 showing, in the form of a written statement to be inspected by the judge
 alone. If the court enters an order granting relief following such a
 showing, the entire text of the party's statement shall be sealed and
 preserved in the records of the court to be made available to the
 appellate court in the event of an appeal.


 ------------ Excerpt from page 71568 follows ------------
     (2) Time, place and manner of discovery and inspection. An order of
 the court granting relief under this rule shall specify the time, place
 and manner of making the discovery and inspection permitted, and may
 prescribe such terms and conditions as are just.

      (3) Failure to comply. If at any time during the course of the
 proceedings it is brought to the attention of the court that a party has
 failed to comply with this rule or with an order issued pursuant to this
 rule, the court may order such party to permit the discovery or
 inspection, grant a continuance, or prohibit the party from introducing in
 evidence the material not disclosed, or it may make such other order as it
 deems just under the circumstances.

  (F)   T~me   of motions

     A defendant shall make his motion for discovery within twenty-one days
 after arraignment or seven days before the date of trial, whichever is
 earlier, or at such reasonable time later as the court may permit. The
                                                                         A-74



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  prosecuting attorney shall make his motion for discovery within seven days
  after defendant obtains discovery or three days before trial, whichever is
  earlier. The motion shall include all relief sought under this rule. A
  subsequent motion may be made only upon showing of cause why such motion
  would be in the interest of justice.




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  8H ST RCRP Rule 23, TRIAL BY JURY OR BY THE COURT

  ------------ Excerpt from page 71658 follows ------------
  Crim. R. Rule 23


  3ALDWIN'S OHIO REVISED CODE ANNOTATED
  RULES OF CRIMINAL PROCEDURE

  :urrent with amendments received through 3-30-95


  2RIM R 23 TRIAL BY JURY OR BY THE COURT

  (A) Trial by jury

       In serious offense cases the defendant before commencement of the
  trial may knowingly, intelligently and voluntarily waive in writing his
  right to trial by jury. Such waiver may also be made during trial with the
  approval of the court and the consent of the prosecuting attorney. In
  petty offense cases, where there is a right of jury trial, the defendant
  shall be tried by the court unless he demands a jury trial. Such demand
  must be in writing and filed with the clerk of court not less than ten
  days prior to the date set for trial, or on or before the third day
  following receipt of notice of the date set for trial, whichever is later.
  Failure to demand a jury trial as provided in this subdivision is a
  complete waiver of the right thereto.

  (B) Number of jurors

      In felony cases juries shall consist of twelve.

      In misdemeanor cases juries shall consist of eight.

     If a detendant is charged with a felony and with a misdemeanor or, if
 a felony and a misdemeanor involving different defendants are joined for
 trial, the jury shall consist of twelve.

  (C) Trial without a jury

      In a case tried without a jury the court shall make a general finding.




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  OH ST REV Rule 404, CHARACTER EVIDENCE NOT ADMISSIBLE TO PROVE CONDUCT;
  EXCEPTIONS; OTHER CRIMES

  ------------ Excerpt from page 72694 follows ------------
  Evid. R. Rule 404


  3ALDWIN'S OHIO REVISED CODE ANNOTATED
  OHIO RULES OF EVIDENCE
  ~TICLE IV RELEVANCY AND ITS LIMITS


  Current with amendments received through 3-30-95


  EVID R 404 CHARACTER EVIDENCE NOT ADMISSIBLE TO PROVE CONDUCT; EXCEPTIONS;
  JTHER CRIMES

  (A) Character evidence generally

      Evidence of a person's character or a trait of his character is not
  admissible for the purpose of proving that he acted in conformity
  therewith on a particular occasion, subject to ~he following exceptions:

     (1) Character of accused. Evidence of a pertinent trait of his
 character offered by an accused, or by the prosecution to rebut the same
 is admissible; however, in prosecutions for rape, gross sexual imposition,
 and prostitution, the exceptions provided by statute enacted by the
 General Assembly are applicable.

      (2) Character of victim. Evidence of a pertinent trait of character of
 the victim of the crime offered by an accused, or by the prosecution to
 rebut the same, or evidence of a character trait of peacefulness of the
 victim offered by the prosecution in a homicide case to rebut evidence
 that the victim was the first aggressor is admissible; however, in
 prosecutions for rape, gross sexual imposition, and prostitution, the
 exceptions provided by statute enacted by the General Assembly are
 applicable.

      (3) Character of witness. Evidence of the character of a witness on
 the issue of credibility is admissible as provided in Rules 607, 608, and
 609.

  (B) Other crimes, wrongs or acts

     Evidence of other crimes, wrongs, or acts is not admissible to prove
 the character of a person in order to show that he acted in conformity
 therewith. It may, however, be admissible for other purposes, such as
 proof of motive, opportunity, intent, preparation, plan, knowledge,      A-77


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  identity, or absence of mistake or accident.




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                           BALDWIN'S OHIO REVISED CODE ANNOTATED
                                 TITLE XXIX CRIMES-PROCEDURE
                              CHAPTER 2901 GENERAL PROVISIONS
                                       GENERAL PROVISIONS
                          Current with amendments received through 1-1-95

       2901.01 DEFINITIONS

                 As used in the Revised Code:
                 (A) "Force" means any violence, compulsion, or constraint physically exerted by
        any means upon or against a person or thing.
                 (B) "Deadly force" means any force which carries a substantial risk that it will
        proximately result in the death of any person.
                (C) "Physical harm to persons" means any injury, illness, or other physiological
        impairment, regardless of its gravity or duration.
                (D) "Physical harm to property" means any tangible or intangible damage to
       property which, in any degree, results in loss to its value or interferes with its use or
       enjoyment. "Physical harm to property" does not include wear and tear occasioned by
       normal use.
                (E) "Serious physical harm to persons" means any of the following:
                (1) Any mental illness or condition of such gravity as would normally require
       hospitalization or prolonged psychiatric treatment;
                (2) Any physical harm which carries a substantial risk of death;
                (3) Any physical harm which involves some permanent incapacity, whether partial
       or total, or which involves some temporary, substantial incapacity;
                (4) Any physical harm which involves some permanent disfigurement, or which
       involves some temporary, serious disfigurement;
                (5) Any physical harm which involves acute pain of such duration as to result in
      substantial suffering, or which involves any degree of prolonged or intractable pain.
               (F) "Serious physical harm to property" means any physical harm to property which
      does either of the following:
               (1) Results in substantial loss to the value of the property, or requires a substantial
      amount of time, effort, or money to repair or replace;
               (2) Temporarily prevents the use or enjoyment of the property, or substantially
      interferes with its use or enjoyment for an extended period of time.
               (G) "Risk" means a significant possibility, as contrasted with a remote possibility,
      that a certain result may occur or that certain circumstances may exist.
               (H) "Substantial risk" means a strong possibility, as contrasted with a remote or
      significant possibility, that a certain result may occur or that certain circumstances may
      exist.
               (I) "Offense of violence" means any of the following:
               (1) A violation of sections 2903.01,2903.02, 2903.03, 2903.04,2903.11,2903.12,
      2903.13, 2903.21, 2903.22, 2905.01, 2905.02, 2905.11, 2907.02, 2907.03, 2907.12,
      2909.02, 2909.03, 2909.04, 2909.05, 2911.01, 2911.02, 2911.11, 2911.12, 2917.01,


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        2917.02,2917.03,2917.31,2919.25,2921.03,2921.34,2921.35,2923.12, and 2923.13
        of the Revised Code;
                   (2) A violation of an existing or former municipal ordinance or law of this or any
        other state or the United States, substantially equivalent to any section listed in division
        (I)( 1) of this section;
                  (3) An offense, other than a traffic offense, under an existing or former municipal
        ordinance or law of this or any other state or the United States, committed purposely or
        knowingly, and involving physical harm to persons or a risk of serious physical harm to
        persons;
                  (4) A conspiracy or attempt to commit, or complicity in committing, any offense
        under division (1)(1 ), (2), or (3) of this section.
                  (J)(1) "Property" means any property, real or personal, tangible or intangible, and
        any interest or license in such property. "Property" includes, but is not limited to, cable
        television service, computer data, computer software, financial instruments associated
       with computers, and other documents associated with computers, or copies of the
        documents, whether in machine or human readable form. "Financial instruments
       associated with computers" include, but are not limited to, checks, drafts, warrants,
        money orders, notes of indebtedness, certificates of deposit, letters of credit, bills of credit
       or debit cards, financial transaction authorization mechanisms, marketable securities, or
       any computer system representations of any of them.
                  (2) As used in this division and division (M) of this section, "cable television
       service," "computer," "computer software," "computer system," "computer network," and
       "data" have the same meaning as in section 2913.01 of the Revised Code.
                 (K) "Law enforcement officer'' means any of the following:
                 (1) A sheriff, deputy sheriff, constable, police officer of a township or joint township
       police district, marshal, deputy marshal, municipal police officer, member of a police force
       employed by a metropolitan housing authority under division (D) of section 3735.31 of the
       Revised Code, or state highway patrol trooper;
                 (2) An officer, agent, or employee of the state or any of its agencies,
       instrumentalities, or political subdivisions, upon whom, by statute, a duty to conserve the
       peace or to enforce all or certain laws is imposed and the authority to arrest violators is
       conferred, within the limits of such statutory duty and authority;
                 (3) A mayor, in his capacity as chief conservator of the peace within his municipal
       corporation;
                 (4) A member of an auxiliary police force organized by county, township, or
       municipal law enforcement authorities, within the scope of such member's appointment or
       commission;
                 (5) A person lawfully called pursuant to section 311.07 of the Revised Code to aid
       a sheriff in keeping the peace, for the purposes and during the time when such person is
       called;                                                                      .
                 (6) A person appointed by a mayor pursuant to section 737.01 of the Revised
       Code as a special patrolman or officer during riot or emergency, for the purposes and
       during the time when such person is appointed;                                       ·

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                (7) A member of the organized militia of this state or the armed forces of the United
        States, lawfully called to duty to aid civil authorities in keeping the peace or protect
        against domestic violence;
               (8) A prosecuting attorney, assistant prosecuting attorney, secret service officer, or
        municipal prosecutor;
               (9) An Ohio veterans' home policeman appointed under section 5907.02 of the
        Revised Code.
               (L) "Privilege" means an immunity, license, or right conferred by law, or bestowed
        by express or implied grant, or arising out of status, position, office, or relationship, or
        growing out of necessity.
               (M) "Contraband" means any property described in the following categories:
               (1) Property that in and of itself is unlawful for a person to acquire or possess;
               (2) Property that is not in and of itself unlawful for a person to acquire or possess,
        but that has been determined by a court of this state, in accordance with law, to be
       contraband because of its use in an unlawful activity or manner, of its nature, or of the
       circumstances of the PE3rson who acquires or possesses it;
               (3) Property that is specifically stated to be contraband by a section of the Revised
       Code or by an ordinance, regulation, or resolution;
               (4) Property that is forfeitable pursuant to a section of the Revised Code, or an
       ordinance, regulation, or resolution, including, but not limited to, forfeitable firearms,
       dangerous ordnance, and obscene materials;
               (5) Any controlled substance, as defined in section 3719.01 of the Revised Code,
       or any device, paraphernalia, money as defined in section 1301.01 of the Revised Code,
       or other means of exchange that has been, is being, or is intended to be used in an
       attempt or conspiracy to violate, or in a violation of, Chapter 2925. or 3719. of the Revised
       Code;
              (6) Any gambling device, paraphernalia, money as defined in section 1301.01 of
       the Revised Code, or other means of exchange that has been, is being, or is intended to
       be used in an attempt or conspiracy to violate, or in the violation of, Chapter 2915. of the
       Revised Code;
              (7) Any equipment, machine, device, apparatus, vehicle, vessel, container, liquid,
       or substance that has been, is being, or is intended to be used in an attempt or
      conspiracy to violate, or in the violation of, any law of this state relating to alcohol or
      tobacco;
              (8) Any personal property that has been, is being, or is intended to be used in an
      attempt or conspiracy to commit, or in the _commission of, any offense or in the
      transportation of the fruits of any offense;
              (9) Any property that is acquired through the sale or other transfer of contraband or
      through the proceeds of contraband, other than by a court or a law enforcement agency
      acting within the scope of its duties;                                         .
              (10) Any computer, computer system, computer network, or computer software
      that is used in a conspiracy to commit, an attempt to commit, or in the commission of any
      offense, if the owner of the computer, computer system, computer network, or computer
      software is convicted of or pleads guilty to the offense in which it is used.


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               (N) A person is "not guilty by reason of insanity" relative to a charge of an offense
       only if he proves, in the manner specified in section 2901.05 of the Revised Code, that at
       the time of the commission of the offense, he did not know, as a result of a severe mental
       disease or defect, the wrongfulness of his acts.

       (1991 S 144, eff. 8-8-91; 1991 H 77; 1990 S 24; 1988 H 708, Sec. 1)




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                                                TITLE XXIX CRIMES-PROCEDURE
                                              CHAPTER 2901 GENERAL PROVISIONS
                                                     GENERAL PROVISIONS


       2901.05 PRESUMPTION OF INNOCENCE; PROOF OF OFFENSE; OF AFFIRMATIVE DEFENSE; AS
       TO EACH; REASONABLE DOUBT

             (A) Every person accused of an offense is presumed innocent until proven guilty beyond a reasonable
        doubt, and the burden of proof for all elements of the offense is upon the prosecution. The burden of going
        forward with the evidence of an affirmative defense, and the burden of proof, by a preponderance of the
       evidence, for an affirmative defense, is upon the accused.
             (B) As part of its charge to the jury in a criminal case, the court shall read the definitions of "reasonable
       doubt'' and "proof beyond a reasonable doubt." contained in division {D) of this section.
             (C) As used in this section, an "affirmative defense" is either of the following:
             (1) A defense expressly designated as affirmative;
             (2) A defense involving an excuse or justification peculiarly within the knowledge of the accused, on
       which he can fairly be required to adduce supporting evidence.
             (D) "Reasonable doubt'' is present when the jurors, after they have carefully considered and compared
       all the evidence, cannot say they are firmly convinced of the truth of the charge. It is a doubt based on
       reason and common sense. Reasonable doubt is not mere possible doubt, because everything relating to
       human affairs or depending on moral evidence is open to some possible or imaginary doubt. "Proof beyond
       a reasonable doubt" is proof of such character that an ordinary person would be willing to rely and act upon
       it in the most important of his own affairs.

       HISTORY: 1978 H 1168, eff. 11-1-78
                1972 H 511




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  OH ST Sec. 2923.12, CARRYING CONCEALED WEAPONS

  ------------ Excerpt from page 34449 follows ------------
  R.C. Sec. 2923.12


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  TITLE XXIX CRIMES--PROCEDURE
  CHAPTER 2923 CONSPIRACY, ATTEMPT, AND COMPLICITY; WEAPONS CONTROL
  NEAPONS CONTROL

  Current with amendments received through 3-30-95


  2923.12 CARRYING CONCEALED WEAPONS

      (A) No person shall knowingly carry or have, concealed on his person
  or concealed ready at hand, any deadly weapon or dangerous ordnance.

       (B) This section does not apply to officers, agents, or employees of
  this or any other state or the United States, or to law enforcement
  officers, authorized to carry concealed weapons or dangerous ordnance, and
  acting within the scope of their duties.

     ' {C) It is an affirmative defense to a charge under this section of
  carrying or having control of a weapon other than dangerous ordnance, that
  the actor was not otherwise prohibited by law from having the weapon, and
  that any of the following apply:

      (1) The weapon was carried or kept ready at hand by the actor for
 defensive purposes, while he was engaged in or was going to or from his
 lawful business or occupation, which business or occupation was of such
 character or was necessarily carried on in such manner or at such a time
 or place as to render the actor particularly susceptible to criminal
 attack, such as would justify a prudent man in going armed.

      (2) The weapon was carried or kept ready at hand by the actor for
 defensive purposes, while he was engaged in a lawful activity, and had
 reasonable cause to fear a criminal attack upon himself or a member of his
 family, or upon his home, such as would justify a prudent man in going
 armed.

     (3) The weapon was carried or kept ready at hand by the actor for any
 lawful purpose and while in his own home.

      (4) The weapon was being transported in a motor vehicle for any lawful
 purpose, and was not on the actor's person, and, if the weapon was a
 firearm, was carried in compliance with the applicable requirements of    A-84



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  division (C) of section 2923.16 of the Revised Code.

       (D) Whoever violates this section is guilty of carrying concealed
  weapons, a misdemeanor of the first degree. If the offender previously has
  been convicted of a violation of this section or of any offense of
  violence, if the weapon involved is a firearm and the violation of this
  section is committed at premises for which a D permit has been issued
  under Chapter 4303. of the Revised Code, if the weapon involved is a
  firearm which is either loaded or for which the offender has ammunition
  ready at hand, or if the weapon involved is dangerous ordnance, then
  carrying concealed weapons is a felony of the third degree. If the offense
  is committed aboard an aircraft, or with purpose to carry a concealed
  weapon aboard an aircraft, regardless of the weapon involved, carrying
  concealed weapons is a felony of the second degree.


  ------------ Excerpt from page 34450 follows ------------




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  OH ST Sec. 2923.13/ HAVING WEAPONS WHILE UNDER DISABILITY

  ------------ Excerpt from page 34472 follows ------------
  R.C. Sec. 2923.13


  BALDWIN'S OHIO REVISED CODE ANNOTATED
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  CHAPTER 2923 CONSPIRACY/ ATTEMPT/ AND COMPLICITY; WEAPONS CONTROL
  WEAPONS CONTROL

  Current with amendments received through 3-30-95


  2923.13 HAVING WEAPONS WHILE UNDER DISABILITY

      (A) Unless relieved from disability as provided in section 2923.14 of
  the Revised Code 1 no person shall knowingly acquire/ have/ carry/ or use
  any firearm or dangerous ordnance/ if any of the following apply:

       (1) Such person is a fugitive from justice;

       (2) Such person is under indictment for or has been convicted of any
  felony of violence/ or has been adjudged a juvenile delinquent for
  commission of any such felony;

       (3) Such person is under indictment for or has been convicted of any
  offense involving the illegal possession/ use 1 sale/ administration/
  distribution/ or trafficking in any drug of abuse/ or has been adjudged a
  juvenile delinquent for commission of any such offense;

       (4) Such person is drug dependent or in danger of drug dependence/ or
  is a chronic alcoholic;

      (5) Such person is under adjudication of mental incompetence.

     (B) Whoever violates this section is guilty of having weapons while
 under disability/ a felony of the fourth degree.




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                                             TITLE XXIX CRIMES-PROCEDURE
                                         CHAPTER 2929 PENALTIES AND SENTENCING
                                                 PENALTIES FOR MURDER


        2929.021 SPECIFICATIONS OF AGGRAVATING CIRCUMSTANCE; CLERK TO NOTIFY SUPREME
        COURT OF CERTAIN FACTS

             (A) If an indictment or a count in an indictment charges the defendant with aggravated murder and
        contains one or more specifications of aggravating circumstances listed in division (A) of section 2929.04 of
        the Revised Code, the clerk of the court in which the indictment is filed, within fifteen days after the day on
       which it is filed, shall file a notice with the supreme court indicating that the indictment was filed. The notice
        shall be in the form prescribed by the clerk of the supreme court and shall contain, for each charge of
        aggravated murder with a specification, at least the following information pertaining to the charge:
            ( 1) The name of the person charged in the indictment or count in the indictment with aggravated murder
                 with a specification;
            (2) The docket number or numbers of the case or cases arising out of the charge, if available;
            (3) The court in which the case or cases will be heard;
            (4) The date on which the indictment was filed.
            (B) If an indictment or a count in an indictment charges the defendant with aggravated murder and
       contains one or more specifications of aggravating circumstances listed in division (A) of section 2929.04 of
       the Revised Code ·and if the defendant pleads guilty or no contest to any offense in the case or if the
       indictment or any count in the indictment is dismissed, the clerk of the court in which the plea is entered or
       the indictment or count is dismissed shall file a notice with the supreme court indicating what action was
       taken in the case. The notice shall be filed within fifteen days after the plea is entered or the indictment or
       count is dismissed, shall be in the form prescribed by the clerk of the supreme court, and shall contain at
       least the following information:
            (1) The name of the person who entered the guilty or no contest plea or who is named in the indictment
       or count that is dismissed;
            (2) The docket numbers of the cases in which the guilty or no contest plea is entered or in which the
       indictment or count is dismissed;
            (3) The sentence imposed on the offender in each case.

       HISTORY: 1981 S 1, eff. 10-19-81




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                                   TITLE XXIX CRIMES-PROCEDURE
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       2929.022 ELECTIONS OF DEFENDANT AS TO CERTAIN TRIAL PROCEDURES

              (A) If an indictment or count in an indictment charging a defendant with aggravated
        murder contains a specification of the aggravating circumstance of a prior conviction
        listed in division (A)(5) of section 2929.04 of the Revised Code, the defendant may elect
        to have the panel of three judges, if he waives trial by jury, or the trial judge, if he is tried
        by jury, determine the existence of that aggravating circumstance at the sentencing
        hearing held pursuant to divisions (C) and (D) of section 2929.03 of the Revised Code.
             (1) If the defendant does not elect to have the existence of the aggravating
        circumstance determined at the sentencing hearing, the defendant shall be tried on the
        charge of aggravated murder, on the specification of the aggravating circumstance of a
        prior conviction listed in division (A)(5) of section 2929.04 of the Revised Code, and on
       any other specifications of an aggravating circumstance listed in division (A) of section
       2929.04 of the Revised Code in a single trial as in any other criminal case in which a
       person is charged with aggravated murder and specifications.
             (2) If the defendant does elect to have the existence of the aggravating circumstance
       of a prior conviction listed in division (A)(5) of section 2929.04 of the Revised Code
       determined at the sentencing hearing, then, following a verdict of guilty of the charge of
       aggravated murder, the panel of three judges or the trial judge shall:
             (a) Hold a sentencing hearing pursuant to division (8) of this section, unless required
       to do otherwise under division (A)(2)(b) of this section;
             (b) If the offender raises the matter of age at trial pursuant to section 2929.023 of the
       Revised Code and is not found at trial to have been eighteen years of age or older at the
       time of the commission of the offense, conduct a hearing to determine if the specification
       of the aggravating circumstance of a prior conviction listed in division (A)(5) of section
       2929.04 of the Revised Code is proven beyond a reasonable doubt. After conducting the
       hearing, the panel or judge shall proceed as follows:
            (i) If that aggravating circumstance is proven beyond a reasonable doubt or if the
       defendant at trial was convicted of any other specification of an aggravating
       circumstance, the panel or judge shall impose sentence according to division (E) of
       section 2929.03 of the Revised Code;
            (ii) If that aggravating circumstance is not proven beyond a reasonable doubt and the
      defendant at trial was not convicted of · any other specification of an aggravating
      circumstance, the panel or judge shall impose sentence of life imprisonment with parole
      eligibility after serving twenty years of imprisonment on the offender.
            (8) At the sentencing hearing, the panel of judges, if the defendant was tried by a
      panel of three judges, or the trial judge, if the defendant was tried by- jury, shall, when
      required pursuant to division (A)(2) of this section, first determine if the specification of
      the aggravating circumstance of a prior conviction listed in division (A)(5) of section
      2929.04 of the Revised Code is proven beyond a reasonable doubt. If the panel of
      judges or the trial judge determines that the specification of the aggravating

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        circumstance of a prior conviction listed in division (A)(5) of section 2929.04 of the
        Revised Code is proven beyond a reasonable doubt or if they do not determine that the
        specification is proven beyond a reasonable doubt but the defendant at trial was
        convicted of a specification of any other aggravating circumstance listed in division (A) of
       section 2929.04 of the Revised Code, the panel of judges or the trial judge and trial jury
       shall impose sentence on the offender pursuant to division (D) of section 2929.03 and
       section 2929.04 of the Revised Code. If the panel of judges or the trial judge does not
       determine that the specification of the aggravating circumstance of a prior conviction
       listed in division (A)(S) of section 2929.04 of the Revised Code is proven beyond a
       reasonable doubt and the defendant at trial was not convicted of any other specification
       of an aggravating circumstance listed in division (A) of section 2929.04 of the Revised
       Code, the panel of judges or the trial judge shall terminate the sentencing hearing and
       impose a sentence of life imprisonment with parole eligibility after serving twenty years of
       imprisonment on the offender.

       HISTORY: 1981 S 1, eff.10-19-81




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                                            TITLE XXIX CRIMES-PROCEDURE
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       2929.024 INDIGENCY; SERVICES OF INVESTIGATION; EXPERTS; PAYMENT

            If the court determines that the defendant is indigent and that investigation services, experts, or other
       services are reasonably necessary for the proper representation of a defendant charged with aggravated
       murder at trial or at the sentencing hearing, the court shall authorize the defendant's counsel to obtain the
       necessary services for the defendant, and shall order that payment of the fees and expenses for the
       necessary services be made in the same manner that payment for appointed counsel is made pursuant to
       Chapter 120. of the Revised Code. If the court determines that the necessary services had to be obtained
       prior to court authorization for payment of the fees and expenses for the necessary services, the court may,
       after the services have been obtained, authorize the defendant's counsel to obtain the necessary services
       and order that payment of the fees and expenses for the necessary services be made as provided in this
       section.

       HISTORY: 1981 S 1, eff. 10-19-81




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        2929.03 IMPOSING SENTENCE FOR A CAPITAL OFFENSE; PROCEDURES; PROOF
        OF RELEVANT FACTORS; ALTERNATIVE SENTENCES

             (A) If the indictment or count in the indictment charging aggravated murder does not
        contain one or more specifications of aggravating circumstances listed in division (A) of
       section 2929.04 of the Revised Code, then, following a verdict of guilty of the charge of
        aggravated murder, the trial court shall impose a sentence of life imprisonment with parole
        eligibility after serving twenty years of imprisonment on the offender.
             (8) If the indictment or count in the indictment charging aggravated murder contains one
        or more specifications of aggravating circumstances listed in division (A) of section 2929.04
        of the Revised Code, the verdict shall separately state whether the accused is found guilty
        or not guilty of the principal charge and, if guilty of the principal charge, whether the
        offender was eighteen years of age or older at the time of the commission of the offense, if
        the matter of age was raised by the offender pursuant to section 2929.023 of the Revised
        Code, and whether the offender is guilty or not guilty of each specification. The jury shall be
        instructed on its duties in this regard, which shall include an instruction that a specification
        shall be proved beyond a reasonable doubt in order to support a guilty verdict on the
        specification, but such instruction shall not mention the penalty which may be the
        consequence of a guilty or not guilty verdict on any charge or specification.
            (C)(1) If the indictment or count in the indictment charging aggravated murder contains
        one or more specifications of aggravating circumstances listed in division (A) of section
        2929.04 of the Revised Code, then, following a verdict of guilty of the charge but not guilty
        of each of the specifications, and regardless of whether the offender raised the matter of
        age pursuant to section 2929.023 of the Revised Code, the trial court shall impose a
        sentence of life imprisonment with parole eligibility after serving twenty years of
       imprisonment on the offender.
            (2) If the indictment or count in the indictment contains one or more specifications of
       aggravating circumstances listed in division (A) of section 2929.04 of the Revised Code,
       and if the offender is found guilty of both the charge and one or more of the specifications,
       the penalty to be imposed on the offender shall be death, life imprisonment with parole
       eligibility after serving twenty full years of imprisonment, or life imprisonment with parole
       eligibility after serving thirty full years of imprisonment, shall be determined pursuant to
       divisions (D) and (E) of this section, and shall be determined by one of the following:
           (a) By the panel of three judges that tried the offender upon his waiver of the right to trial
       by jury;
           (b) By the trial jury and the trial judge, if the offender was tried by jury.
           (D)(1) Death may not be imposed as a penalty for aggravated murder if the offender
       raised the matter of age at trial pursuant to section 2929.023 of the Revised Code and was
       not found at trial to have been eighteen years of age or older at the time of the commission
       of the offense. When death may be imposed as a penalty for aggravated murder, the court
       shall proceed under this division. When death may be imposed as a penalty, the court,
       upon the request of the defendant, shall require a pre-sentence investigation to be made
       and, upon the request of the defendant, shall require a mental examination to be made, and
       shall require reports of the investigation and of any mental examination submitted to the
       court, pursuant to section 2947.06 of the Revised Code. No statement made or informatio,..-91
       provided by a defendant in a mental examination or proceeding conducted pursuant to this

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          division shall be disclosed to any person, except as provided in this division, or be used in
          evidence against the defendant on the issue of guilt in any retrial. A pre-sentence
          investigation or mental examination shall not be made except upon request of the
          defendant. Copies of any reports prepared under this division shall be furnished to the
          court, to the trial jury if the offender was tried by a jury, to the prosecutor, and to the
          offender or his counsel for use under this division. The court, and the trial jury if the offender
         was tried by a jury, shall consider any report prepared pursuant to this division and
         furnished to it and any evidence raised at trial that is relevant to the aggravating
         circumstances the offender was found guilty of committing or to any factors in mitigation of
         the imposition of the sentence of death, shall hear testimony and other evidence that is
         relevant to the nature and circumstances of the aggravating circumstances the offender
         was found guilty of committing, the mitigating factors set forth in division (B) of section
         2929.04 of the Revised Code, and any other factors in mitigation of the imposition of the
         sentence of death, and shall hear the statement, if any, of the offender, and the arguments,
         if any, of counsel for the defense and prosecution, that are relevant to the penalty that
         should be imposed on the offender. The defendant shall be given great latitude in the
         presentation of evidence of the mitigating factors set forth in division (B) of section 2929.04
         of the Revised Code and of any other factors in mitigation of the imposition of the sentence
         of death. If the offender chooses to make a statement, he is subject to cross-examination
         only if he consents to make the statement under oath or affirmation.
              The defendant shall have the burden of going forward with the evidence of any factors in
         mitigation of the imposition of the sentence of death. The prosecution shall have the burden
         of proving, by proof beyond a reasonable doubt, that the aggravating circumstances the
         defendant was found guilty of committing are sufficient to outweigh the factors in mitigation
         of the imposition of the sentence of death.
              (2) Upon consideration of the relevant evidence raised at trial, the testimony, other
        evidence, statement of the offender, arguments of counsel, and, if applicable, the reports
        submitted pursuant to division (0)(1) of this section, the trial jury, if the offender was tried by
        a jury, shall determine whether the aggravating circumstances the offender was found guilty
        of committing are sufficient to outweigh the mitigating factors present in the case. If the trial
        jury unanimously finds, by proof beyond a reasonable doubt, that the aggravating
        circumstances the offender was found guilty of committing outweigh the mitigating factors,
        the trial jury shall recommend to the court that the sentence of death be imposed on the
        offender. Absent such a finding, the jury shall recommend that the offender be sentenced to
        life imprisonment with parole eligibility after serving twenty full years of imprisonment or to
        life imprisonment with parole eligibility after serving thirty full years of imprisonment.
             If the trial jury recommends that the offender be sentenced to life imprisonment with
        parole eligibility after serving twenty full years of imprisonment or to life imprisonment with
        parole eligibility after serving thirty full years of imprisonment, the court shall impose the
        sentence recommended by the jury upon the offender. If the trial jury recommends that the
        sentence of death be imposed upon the offender, the court shall proceed to impose
       sentence pursuant to division (0)(3) of this section.
             (3) Upon consideration of the relevant evidence raised at trial, the testimony, other
       evidence, statement of the offender, arguments of counsel, and, if applicable, the reports
       submitted to the court pursuant to division (0)(1) of this section, if, after receiving pursuant
       to division (0)(2) of this section the trial jury's recommendation that the sentence of death
       be imposed, the court finds, by proof beyond a reasonable doubt, or if the panel of three
       judges unanimously finds, that the aggravating circumstances the offender was found guilty
       of committing outweigh the mitigating factors, it shall impose sentence of death on thEA-92



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         offender. Absent such a finding by the court or panel, the court or the panel shall impose
         one of the following sentences on the offender:
             (a) Life imprisonment with parole eligibility after serving twenty full years of
         imprisonment;
             (b) Life imprisonment with parole eligibility after serving thirty full years of imprisonment.
             (E) If the offender raised the matter of age at trial pursuant to section 2929.023 of the
         Revised Code, was convicted of aggravated murder and one or more specifications of an
        aggravating circumstance listed in division (A) of section 2929.04 of the Revised Code, and
        was not found at trial to have been eighteen years of age or older at the time of the
        commission of the offense, the court or the panel of three judges shall not impose a
        sentence of death on the offender. Instead, the court or panel shall impose one of the
        following sentences on the offender:
             (1) Life imprisonment with parole eligibility after serving twenty full year of imprisonment;
             (2) Life imprisonment with parole eligibility after serving thirty full years of imprisonment.
             (F) The court or the panel of three judges, when it imposes sentence of death, shall
        state in a separate opinion its specific findings as to the existence of any of the mitigating
        factors set forth in division (B) of section 2929.04 of the Revised Code, the existence of any
        other mitigating factors, the aggravating circumstances the offender was found guilty of
        committing, and the reasons why the aggravating circumstances the offender was found
        guilty of committing were sufficient to outweigh the mitigating factors. The court or panel,
       when it imposes life imprisonment under division (D) of this section, shall state in a separate
        opinion its specific findings of which of the mitigating factors set forth in division (8) of
        section 2929.04 of the Revised Code it found to exist, what other mitigating factors it found
       to exist, what aggravating circumstances the offender was found guilty of committing, and
       why it could not find that these aggravating circumstances were sufficient to outweigh the
       mitigating factors . The court or panel shall file the opinion required to be prepared by this
       division with the clerk of the appropriate court of appeals and with the clerk of the supreme
       court within fifteen day after the court or panel imposes sentence. The judgment in a case
       in which a sentencing hearing is held pursuant to this section is not final until the opinion is
       filed.
            (G) Whenever the court or a panel of three judges imposes sentence of death, the clerk
       of the court in which the judgment is rendered shall deliver the entire record in the case to
       the appellate court.




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                               TITLE XXIX CRIMES--PROCEDURE
                           CHAPTER 2929 PENAL TIES AND SENTENCING
                                   PENALTIES FOR MURDER

       2929.04 CRITERIA FOR IMPOSING DEATH OR IMPRISONMENT FOR A CAPITAL
       OFFENSE

              (A) Imposition of the death penalty for aggravated murder is precluded, unless one or
         more of the following is specified in the indictment or count in the indictment pursuant to
        section 2941.14 of the Revised Code and proved beyond a reasonable doubt:
             (1) The offense was the assassination of the president of the United States or person
        in line of succession to the presidency, or of the governor or lieutenant governor of this
        state, or of the president-elect or vice president-elect of the United States, or of the
        governor-elect or lieutenant governor-elect of this state, or of a candidate for any of the
        foregoing offices. For purposes of this division, a person is a candidate if he has been
        nominated for election according to law, or if he has filed a petition or petitions according
        to law to have his name placed on the ballot in a primary or general election, or if he
        campaigns as a write-in candidate in a primary or general election.
             (2) The offense was committed for hire.
             (3) The offense was committed for the purpose of escaping detection, apprehension,
        trial, or punishment for another offense committed by the offender.
             (4) The offense was committed while the offender was a prisoner in a detention
        facility as defined in section 2921.01 of the Revised Code.
             (5) Prior to the offense at bar, the offender was convicted of an offense an essential
       element of which was the purposeful killing of or attempt to kill another, or the offense at
        bar was part of a course of conduct involving the purposeful killing of or attempt to kill
       two or more persons by the offender.
             (6) The victim of the offense was a peace officer, as defined in section 2935.01 of the
        Revised Code, whom the offender had reasonable cause to know or knew to be such,
       and either the victim, at the time of the commission of the offense, was engaged in his
       duties, or it was the offender's specific purpose to kill a peace officer.
            (7) The offense was committed while the offender was committing, attempting to
       commit, or fleeing immediately after committing or attempting to commit kidnapping,
       rape, aggravated arson, aggravated robbery, or aggravated burglary, and either the
       offender was the principal offender in the commission of the aggravated murder or, if not
       the principal offender, committed the aggravated murder with prior calculation and
       design.
            (8) The victim of the aggravated murder was a witness to an offense who was
       purposely killed to prevent his testimony in any criminal proceeding and the aggravated
       murder was not committed during the commission, attempted commission, or flight
       immediately after the commission or attempted commission of the offense to which the
       victim was a witness, or the victim of the aggravated murder was a witness to an offense
       and was purposely killed in retaliation for his testimony in any criminal proceeding.
            (B) If one or more of the aggravating circumstances listed in division (A) of this
       section is specified in the indictment or count in the indictment and proved beyond a

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        reasonable doubt, and if the offender did not raise the matter of age pursuant to section
        2929.023 of the Revised Code or if the offender, after raising the matter of age, was
        found at trial to have been eighteen years of age or older at the time of the commission
        of the offense, the court, trial jury, or panel of three judges shalf consider, and weigh
        against the aggravating circumstances proved beyond a reasonable doubt, the nature
        and circumstances of the offense, the history, character, and background of the offender,
        and all of the following factors:
            (1) Whether the victim of the offense induced or facilitated it;
            (2) Whether it is unlikely that the offense would have been committed, but for the fact
        that the offender was under duress, coercion, or strong provocation;
            (3) Whether, at the time of committing the offense, the offender, because of a mental
        disease or defect, lacked substantial capacity to appreciate the criminality of his conduct
       or to conform his conduct to the requirements of the law;
            (4) The youth of the offender;
            (5) The offender's lack of a significant history of prior criminal convictions and
       delinquency adjudications;
            (6) If the offender was a participant in the offense but not the principal offender, the
       degree of the offender's participation in the offense and the degree of the offender's
       participation in the acts that led to the death of the victim;
            (7) Any other factors that are relevant to the issue of whether the offender should be
       sentenced to death.
            (C) The defendant shall be given great latitude in the presentation of evidence of the
       factors listed in division (B) of this section and of any other factors in mitigation of the
       imposition of the sentence of death.
           The existence of any of the mitigating factors listed in division (B) of this section does
       not preclude the imposition of a sentence of death on the offender, but shall be weighed
       pursuant to divisions (0)(2) and (3) of section 2929.03 of the Revised Code by the trial
       court, trial jury, or the panel of three judges against the aggravating circumstances the
       offender was found guilty of committing.




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                              TITLE XXIX CRIMES-PROCEDURE
                          CHAPTER 29?Q DCt.IAI TIC'~ A .. U''\ I:.'!"' ..,TENCING
                                      PE
                                           d~~·I,~,n.f5"
        2929.05 APPEALS; PROCEDU
             (A) Whenever sentence of '                                1t to sections 2929.03 and
        2929.04 of the Revised Code, tl
                    •                     I
                                           1-'ff, -                    e supreme court shall upon
        appeal rev1ew the sentence of dt                               they review the other issues
        in the case. The court of appea                                ;hall review the judgment in
        the case and the sentence of death imposed by the court or panel of three judges in the
        same manner that they review other criminal cases, except that they shall review and
        independently weigh all of the facts and other evidence disclosed in the record in the
        case and consider the offense and the offender to determine whether the aggravating
        circumstances the offender was found guilty of committing outweigh the mitigating
       factors in the case, and whether the sentence of death is appropriate. In determining
       whether the sentence of death is appropriate, the court of appeals and the supreme
       court shall consider whether the sentence is excessive or disproportionate to the
       penalty imposed in similar cases . They shall also review all of the facts and other
       evidence to determine if the evidence supports the finding of the aggravating
       circumstances the trial jury or the panel of three judges found the offender guilty of
       committing, and shall determine whether the sentencing court properly weighed the
       aggravating circumstances the ·offender was found guilty of committing and the
       mitigating factors. The court of appeals or the supreme court shall affirm a sentence of
       death only if the particular court is persuaded from the record that the aggravating
       circumstances the offender was found guilty of committing outweigh the mitigating
       factors present in the case and that the sentence of death is the appropriate sentence
       in the case.
            Any court of appeals that reviews a case in which the sentence of death is imposed
       shall file a separate opinion as to its findings in the case with the clerk of the supreme
       court. The opinion shall be filed within fifteen days after the court issues its opinion and
       shall contain whatever information is required by the clerk of the supreme court.
            (B) The court of appeals and the supreme court shall give priority over all other
       cases to the review of judgments i~ which the sentence of death is imposed, and,
       except as otherwise provided in this section, shall conduct the review in accordance
      with the Appellate Rules.
           (C) Whenever sentence of death is imposed pursuant to section 2929.022 or
      2929.03 of the Revised Code, the court of common pleas that sentenced the offender
      shall, upon motion of the offender and after conducting a hearing on the motion, vacate
      the sentence if all of the following apply:
           (1) The offender alleges in the motion and presents evidence at the hearing that he
      was not eighteen years of age or older at the time of the commission of the aggravated
      murder for which he was sentenced;
           (2) The offender did not present evidence at trial pursuant to section 2929.023 of the
      Revised Code that he was not eighteen years of age or older at ·the time of the
      commission of the aggravated murder for which he was sentenced;
           (3) The motion was filed at any time after the sentence was imposed in the case and
      prior to execution of the sentence;
           (4) At the hearing conducted on the motion, the prosecution does not prove beyond
      a reasonable doubt that the offender was eighteen years of age or older at the time of
      the commission of the aggravated murder for which he was sentenced.                             A-96



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  OH ST Sec. 2945.05, DEFENDANT MAY WAIVE JURY TRIAL

  ------------ Excerpt from page 35900 follows ------------
  R.C. Sec. 2945.05


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  TITLE XXIX CRIMES--PROCEDURE
  CHAPTER 2945 TRIAL
  TRIAL BY COURT

  Current with amendments received through 3-30-95


  2945.05 DEFENDANT MAY WAIVE JURY TRIAL

      In all criminal cases pending in courts of record in this state, the
 defendant may waive a trial by jury and be tried by the court without a
 jury. Such waiver by a defendant, shall be in writing, signed by the
 defendant, and filed in said cause and made a part of the record thereof.
 It shall be entitled in the court and cause, and in substance as follows:
 "I           , defendant in the above cause, hereby voluntarily waive and
 relinquish my right to a trial by jury, and elect to be tried by a Judge
 of the Court in which the said cause may be pending. I fully understand
 that under the laws of this state, I have a constitutional right to a
 trial by jury. "

     Such waiver of trial by jury must be made in open court after the
 defendant has been arraigned and has had opportunity to consult with
 counsel. Such waiver may be withdrawn by the defendant at any time before
 the commencement of the trial.




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                          BALDWIN'S OHIO REVISED CODE ANNOTATED
                               TITLE XXIX CRIMES-PROCEDURE
                                      CHAPTER 2945 TRIAL      .
                                           PROOF
                         Cu"ent with amendments received through 1-1-95

       2945.59 PROOF OF DEFENDANrS MOTIVE

               In any criminal case in which the defendant's motive or intent, the absence of
       mistake or accident on his part, or the defendant's scheme, plan, or system in doing an
       act is material, any acts of the defendant which tend to show his motive or intent, the
       absence of mistake or accident on his part, or the defendant's scheme, plan, or system in
       doing the act in question may be proved, whether they are contemporaneous with or prior
       or subsequent thereto, notwithstanding that such proof may show or tend to show the
       commission of another crime by the defendant.

       (1953 H 1, eff. 10-1-53; GC 13444-19)




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  OH ST Sec. 2953.21, PETITION FOR POSTCONVICTION RELIEF

  ------------ Excerpt from page 36623 follows ------------
  R.C. Sec. 2953.21


  BALDWIN'S OHIO REVISED CODE ANNOTATED
  TITLE XXIX CRIMES--PROCEDURE
  CHAPTER 2953 APPEALS; OTHER POSTCONVICTION REMEDIES
  POSTCONVICTION REMEDIES

  Current with amendments received through 3-30-95


  2953.21 PETITION FOR POSTCONVICTION RELIEF

       (A) Any person convicted of a criminal offense or adjudged delinquent
  claiming that there was such a denial or infringement of his rights as to
  render the judgment void or voidable under the Ohio Constitution or the
  Constitution of the United States, may file a petition at any time in the
  court which imposed sentence, stating the grounds for relief relied upon,
  and asking the court to vacate or set aside the judgment or sentence or to
  grant other appropriate relief. The petitioner may file such supporting
  affidavit and other documentary evidence as will support his claim for
  relief.

      (B) The clerk of the court in which the petition is filed shall docket
 the petition and bring it promptly to the attention of such court. A copy
 of the petition need not be served by the petitioner on the prosecuting
 attorney. The clerk of the court in which the petition is filed
 immediately shall forward a copy of the petition to the prosecuting
 attorney of that county.

      (C) Before granting a hearing, the court shall determine whether there
 are substantive grounds for relief. In making such a determination, the
 court shall consider, in addition to the petition and supporting
 affidavits, all the files and records pertaining to the proceedings
 against the petitioner, including, but not limited to, the indictment, the
 court's journal entries, the journalized records of the clerk of the
 court, and the court reporter's transcript. Such court reporter's
 transcript, if ordered and certified by the court, shall be taxed as court
 costs. If the court dismisses the petition, it shall make ~nd file
 findings of fact and conclusions of law with respect to such dismissal.

     (D) Within ten days after the docketing of the petition, or within
 such further time as the court may fix for good cause shown, the
 prosecuting attorney shall respond by answer or motion. Within twenty days
 from the date the issues are made up, either party may move for summary A-99



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  judgment. The right to such judgment shall appear on the face of the
  record.

       (E) Unless the petition and the files and records     of the case show the
  petitioner is not entitled to relief, the court shall      proceed to a prompt
  ~earing on the issues, hold the hearing, and make and      file written
  findings of fact and conclusions of law upon entering      judgment.


  ------------ Excerpt from page 36624 follows ------------
       (F) At any time before the answer or motion is filed, the petitioner
  may amend his petition with or without leave or prejudice to the
  proceedings. The petitioner may amend his petition with leave of court at
  any time thereafter.

       (G) If the court finds grounds for granting relief, it shall enter a
  judgment that vacates and sets aside the judgment in question, and, in the
  case of a prisoner in custody, shall discharge or resentence him or grant
  a new trial as may appear appropriate. The court also may make
  supplementary orders to the relief granted, concerning such matters as
  rearraignment, retrial, custody, and bail.

      (H) Upon the filing of a petition pursuant to this section by a
 prisoner in a state correctional institution who has received the death
 penalty, the court may stay execution of the judgment challenged by the
 petition.




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                                          TITLE XXIX CRIMES-PROCEDURE
                              CHAPTER 2953 APPEALS; OTHER POSTCONVICTION REMEDIES
                                            POSTCONVICTION REMEDIES


       2953.23 SECOND OR SUCCESSIVE PETITIONS; ORDER; APPEAL

           (A) Vv'hether a hearing is or is not held, the court may, in its discretion and for good cause shown,
       entertain a second petition or successive petitions for similar relief on behalf of the petitioner based upon
       the same facts or on newly discovered evidence.

          (B) An order awarding or denying relief sought in a petition filed pursuant to section 2953.21 of the
       Revised Code is a final judgment and may be appealed pursuant to Chapter 2953. of the Revised Code.

       HISTORY: 132 v H 742, eft. 12-9-67




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